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                     12
                                               UNITED STATES DISTRICT COURT
                     13

                     14                      CENTRAL DISTRICT OF CALIFORNIA
                     15    FRANCINE SHULMAN; IRON                     Case No. 2:19-CV-05413
                           ANGEL, LLC; 3F, INC.,
                     16
                                                                      COMPLAINT FOR VIOLATION
                     17
                                        Plaintiffs,
                            v.                                        OF RICO, RICO CONSPIRACY,
                     18                                               FRAUD, NEGLIGENT
                           TODD KAPLAN; MEDICAL                       MISREPRESENTATION,
                     19    INVESTOR HOLDINGS LLC dba                  BREACH OF CONTRACT,
                           VERTICAL COMPANIES;
                     20    VERTICAL WELLNESS, INC.;                   BREACH OF IMPLIED
                           CHARLES HOUGHTON; MATT                     COVENANT OF GOOD FAITH
                     21    KAPLAN; DREW MILBURN;                      AND FAIR DEALING,
                           COURTNEY DORNE; SMOKE                      VIOLATION OF CALIFORNIA
                     22    WALLIN; ROBERT SCOTT
                           KAPLAN aka ROBERT SCOTT;                   BUSINESS & PROFESSSIONS
                     23    ELYSE KAPLAN; JEFF SILVER;                 CODE §§ 17200 & 17500,
                     24    IRON ANGEL II, LLC; NCAMBA9,               VIOLATION OF THE LANHAM
                           INC., and DOES 1 through 10,               ACT, COMMON-LAW UNFAIR
                     25    inclusive,                                 COMPETITION, INTENTIONAL
                                        Defendants.
                     26                                               INTERFERENCE WITH
                                                                      CONTRACTUAL RELATIONS,
                     27                                               INTENTIONAL INTERFERENCE
                     28                                               WITH PROSPECTIVE

                           COMPLAINT                                                     CASE NO. 2:19-CV-05413
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                      1                                          ECONOMIC ADVANTAGE,
                      2
                                                                 INTENTIONAL INFLICTION OF
                                                                 EMOTIONAL DISTRESS, ELDER
                      3                                          FINANCIAL ABUSE,
                      4
                                                                 ASSISTANCE OF ELDER
                                                                 FINANCIAL ABUSE, BREACH OF
                      5                                          FIDUCIARY DUTY BY
                      6                                          ATTORNEY, MALICIOUS
                                                                 PROSECUTION, RESCISSION,
                      7                                          AND CONSTRUCTIVE TRUST
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                                                                 JURY TRIAL DEMANDED
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                           COMPLAINT                                             iv                              CASE NO. 2:19-CV-05413
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                      1           Plaintiffs Francine Shulman, individually and as Trustee of the Shulman
                      2   Family Trust Dated December 24, 2001, Iron Angel, LLC, and 3F, Inc. file this
                      3   Complaint against Defendants Todd Kaplan, Medical Investor Holdings LLC dba
                      4   Vertical Companies (“Vertical”), Vertical Wellness, Inc., Charles Houghton, Matt
                      5   Kaplan, Drew Milburn, Courtney Dorne, Smoke Wallin, Robert Scott Kaplan,
                      6   Elyse Kaplan, Jeff Silver, Iron Angel II, LLC, and NCAMBA9, Inc., and allege as
                      7   follows:
                      8                                I.     INTRODUCTION
                      9           1.    Defendant Todd Kaplan and his enterprise defrauded Plaintiff
                     10   Francine Shulman and her companies out of their interest in a cannabis cultivation
                     11   operation that Defendants admit would have been one of the “largest in the world
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                     12   in 2019” (Exhibit A hereto).1 Ms. Shulman’s damages, without considering
                     13   exemplary and punitive damages, run into the tens of millions of dollars. While the
                     14   scope and extent of the fraud inflicted on Ms. Shulman is far greater, her
                     15   experience fits neatly into a larger pattern of fraud that Defendants have visited on
                     16   many other victims.
                     17           2.    Ms. Shulman has been a farmer in Santa Barbara County for over
                     18   twenty years. In 1996, she purchased Apple Creek Ranch—a 50-acre apple
                     19   orchard in in the Santa Rita Hills wine appellation. It was there that she studied
                     20   and mastered organic farming practices, and her business grew rapidly as a result.
                     21   She expanded the orchard to produce fifteen apple varieties and other high-quality,
                     22   unique organic fruits and vegetables. Ms. Shulman’s customers—including dozens
                     23   of restaurants and patrons at numerous farmer’s markets—lauded her
                     24   comprehensive farming knowledge and ability to grow unusual and challenging
                     25   varieties. Over time, her business expanded to include the cultivation of gourds,
                     26   which Ms. Shulman—described by one newspaper as an “artistic force”—hand-
                     27   painted, lacquered, and sold internationally. Beginning in 2011, she further
                     28
                          1
                              Exhibit A is an excerpt from Defendants’ website as of May 2019.
                           COMPLAINT                                 1                     CASE NO. 2:19-CV-05413
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                      1   developed Apple Creek Ranch into a wedding venue and event space in addition to
                      2   a working farm.
                      3         3.     Through her hard work and dedication to ethical, sustainable business
                      4   practices, Ms. Shulman forged deep relationships with her neighbors and the
                      5   broader agricultural community—a community that is often skeptical of outsiders.
                      6   She fostered and maintained valuable relationships with customers, suppliers, and
                      7   other business owners. These relationships were based on trust, and they proved
                      8   invaluable over the years to her farming business.
                      9         4.     In the Santa Rita Hills and adjacent communities, Ms. Shulman—
                     10   “Frannie” to her family and friends—was far more than a talented farmer. She was
                     11   a respected leader revered for her kindness and generosity. She mentored young
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                     12   women; she provided safe and positive jobs to local teenagers and hard-to-employ
                     13   individuals; she brought Southern California school children to her farm to dirty
                     14   their hands and learn farming techniques; she donated thousands of pounds of
                     15   apples and produce to local schools and shelters; and over the years, she provided
                     16   hundreds of meals to those in need. Now 66 years old, a mother and grandmother,
                     17   Ms. Shulman has spent 20 years boosting the community around her, giving more
                     18   and taking less, sacrificing so others could succeed. She found tranquility in this—
                     19   a peaceful respite from personal tragedies she has experienced over the years,
                     20   including the sudden loss of one of her three sons.
                     21         5.     But nowhere did she envision that tranquility more than on a
                     22   stunning, rugged property not far from Apple Creek Ranch in Santa Rita Hills, a
                     23   property ideal for multiple uses, including cultivation. Ms. Shulman saw the “for
                     24   sale” sign at 5930 Santa Rosa Road, Lompoc, California, while riding past on her
                     25   beloved Harley Davidson, nicknamed “Iron Angel,” in early 2014. She arranged to
                     26   lease the 1,100-acre property and ultimately purchased it in December 2014 with
                     27   the goal of cultivating produce and medical cannabis and ultimately building a
                     28   wellness retreat. She named the property after her motorcycle. Iron Angel Ranch

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                      1   was perfectly situated for a farming operation requiring security, located far from
                      2   any major highway, accessible by one road, through a single gate, with the
                      3   cultivable acreage located in the most private and secure area of the property.
                      4   After purchasing the ranch, Ms. Shulman invested in critical infrastructure—
                      5   including a well, irrigation, power, and roads—and began farming organic produce
                      6   and cannabis, always ensuring compliance with State and County medical
                      7   cannabis laws and regulations. In 2017, Ms. Shulman’s grow generated almost
                      8   $3,000,000 in revenue cultivating on just four acres.
                      9         6.     Just as Ms. Shulman was perfecting her knowledge of cannabis
                     10   cultivation in the Santa Rita Hills appellation, favorable changes in the law
                     11   dramatically changed the value of her business. The County of Santa Barbara
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                     12   passed regulations in January 2016 favoring local farmers like Ms. Shulman, who
                     13   had existing medical cannabis grows. And in November 2016, California voters
                     14   approved Proposition 64, the Adult Use of Marijuana Act, permitting the sale of
                     15   cannabis for recreational use as of January 1, 2018. These changes fundamentally
                     16   altered the cannabis business and positioned farmers like Ms. Shulman to
                     17   transform modest, albeit highly generative, cannabis grows into large-scale
                     18   cannabis cultivation, manufacturing and processing operations.
                     19         7.     Ms. Shulman saw the enormous potential and positioned herself to
                     20   expand onto adjacent properties with even greater cultivable acreage than on Iron
                     21   Angel. By July 2017, she had leased a property at 5000 Santa Rosa Road, Lompoc,
                     22   California, from Divine Mercy, Inc., a tax-exempt religious organization operated
                     23   by Sister Jean Marie Kirby (the property is referred to as “Sisters”). Sisters had
                     24   more than five-times the cultivable acreage of Iron Angel with an option for
                     25   further expansion. She was also in discussions with neighbors Russell (“Rusty”)
                     26   and Susan Lugli, who had sold her Iron Angel, to buy 6500 Santa Rosa Road
                     27   (known as “Wellsprings”). Iron Angel was once part of Wellsprings and together
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                        1   had been a 1,500-acre ranch with by far the most cultivable acreage on
                        2   Wellsprings.
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                       10         8.       With Iron Angel already in operation, Sisters under lease, and a
                       11   purchase agreement on Wellsprings, Ms. Shulman’s foresight placed her in a most
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                       12   unlikely position—once an Apple farmer, now on the ground floor of an
                       13   agricultural revolution in California, situated on some of the most desirable land
                       14   for cannabis cultivation in the middle of Santa Barbara County, which, like no
                       15   other agricultural county in the State, understood the transformative power of the
                       16   cannabis business on its communities. And this was all happening in her backyard,
                       17   near the very fields where she had perfected her farming skills, in the place where
                       18   she was known and trusted, and in the community where she had built a valuable
                       19   network of business connections.
                       20         9.       By Spring 2017, Ms. Shulman recognized that she needed a business
                       21   partner, someone with the capital to invest in her business to achieve its full
                       22   potential and someone with even greater industry experience and knowledge to
                       23   help guide her through the changing regulatory landscape. She was exceptionally
                       24   well-positioned to attract such a partner, and if she were able to find the right one,
                       25   the sky was the limit. But Ms. Shulman was also uniquely vulnerable. She was in
                       26   control of land that could produce tens of millions of dollars in crops in a short
                       27   amount of time, in a burgeoning industry that was attracting investors of all types,
                       28   legitimate and otherwise. And Ms. Shulman’s past business dealings had been far

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                        1   more modest, built largely on trust. For these reasons, in June 2017, poised atop
                        2   this century’s version of a Sutter’s Mill, Ms. Shulman really was a sitting duck.
                        3         10.    That month, Ms. Shulman was introduced to Defendant Todd Kaplan.
                        4   Instantly aware of the value of her assets, fully attuned to her vulnerabilities,
                        5   already determined to strike it rich in cannabis at anyone’s expense, and desperate
                        6   for a picturesque centerpiece for marketing materials used to steer funds to his
                        7   own enterprise, Kaplan was the worst thing that could have happened to
                        8   Ms. Shulman. For Kaplan’s part, he saw Iron Angel, Sisters, and Wellsprings as
                        9   the ultimate source for Vertical’s aspirations of a “global” supply chain.
                       10         11.    Preliminarily, Kaplan is an admitted felon. A federal grand jury
                       11   indicted him for health care fraud, conspiracy to commit money laundering, illegal
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                       12   kickbacks, and attempts to evade taxes. He pleaded guilty in 2007 to the tax
                       13   charge. Fortunately for Kaplan, the government did not pursue the other 133
                       14   counts against him after the court suppressed evidence from the search of Kaplan’s
                       15   business, finding that the warrant was vague and overbroad. The government
                       16   described his plea agreement as “extremely generous.”
                       17         12.    But Ms. Shulman was not so lucky. She quickly became a victim of a
                       18   fraudulent scheme, perpetrated by Kaplan and the other members of his enterprise,
                       19   to steal Ms. Shulman’s business and take for itself millions of dollars in profits, to
                       20   oust her from her property, and to steal money and property from her and her
                       21   family. Like many con artists working their mark, Kaplan exhibited a cloying
                       22   charm in the beginning. He and other members of his enterprise repeatedly told
                       23   Ms. Shulman she was “family,” lavishing her with praise and gratitude in glowing
                       24   terms, such as thanking her for letting them be part of her “dream.” But then when
                       25   she was viewed as standing in the way of Kaplan’s illegal goals—indeed, when
                       26   she so much as stood her ground under the contracts in place—Kaplan turned on a
                       27   dime, becoming the raging “tyrant” and “bully” known so well to those who have
                       28   worked with him. Kaplan screamed—literally, screamed, as loud as a person could

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                        1   scream—at Ms. Shulman on numerous occasions, and he and other Defendants
                        2   oscillated from calling Ms. Shulman “family” and saying how much they “loved”
                        3   her to calling her a “fucking bitch,” an “old lady who should stay behind her
                        4   fence,” “lazy,” and “stupid,” among many other horrendous epithets.
                        5         13.    Kaplan and his crew threatened and intimidated Ms. Shulman,
                        6   inflicting emotional pain and suffering on her. Kaplan threatened to “bury” her in
                        7   litigation if she had the nerve to fight back. Indeed, Ms. Shulman had been warned
                        8   of the consequences of not agreeing to Kaplan’s demands. In 2019, after the
                        9   business relationship was terminated, Kaplan and other Defendants violated the
                       10   terms of a temporary restraining order for the specific purpose of harassing and
                       11   intimidating Ms. Shulman on her own property, menacingly parking a car outside
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                       12   of her house all night with two men in it. When their lawyer explained to them that
                       13   they were not permitted to park a car on the property, they moved the car even
                       14   closer to the house; and they did this night after night. In another illustrative
                       15   moment, following a court conference in May 2019, Kaplan and his brother,
                       16   Robert Scott Kaplan, intimidatingly followed Ms. Shulman on the highway,
                       17   cutting in and out of traffic to stay next to her car, ultimately forcing her off the
                       18   road to avoid an accident; and then when she did exit, Kaplan revealed exactly
                       19   who he is by making an obscene gesture at Ms. Shulman from the passenger seat
                       20   of Robert’s jeep.
                       21         14.    Kaplan and Defendants defrauded Ms. Shulman from day one. To
                       22   state just a few examples, Kaplan lied about his criminal history, telling her and
                       23   others that he was innocent of the charges—a claim he makes publicly on his
                       24   website. He concealed from Ms. Shulman that, in fact, he had sworn under oath to
                       25   a federal judge in open court that he was guilty of the felony he pleaded to (or he
                       26   concealed that he had perjured himself in court that day to get the “generous” plea
                       27   deal). Either way, he lied about it. Kaplan represented that his company managed a
                       28   cannabis dispensary in Studio City and that it was one of the places where he

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                        1   would be distributing her products, concealing from her that in fact he had been
                        2   locked out of the dispensary and sued by its owner for fraud and breach of
                        3   contract. The owner of the dispensary alleged that Kaplan had attempted to
                        4   execute on a secret plan to take over ownership of the small business. Kaplan also
                        5   misrepresented the status of a cannabis facility his company had in Needles,
                        6   California, on the Arizona border, representing that it was a state-of-the art facility
                        7   with significant production taking place at the time. In fact, the facility was in
                        8   shambles and continued to be in shambles during the parties’ business dealings.
                        9         15.    Kaplan and other Defendants would ultimately lie to investors and
                       10   others, claiming they owned Iron Angel and Wellsprings, prominently featuring
                       11   the properties in their marketing materials—even after they had been evicted. They
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                       12   used the term “Santa Rita” to refer to Iron Angel and Wellsprings, and,
                       13   misrepresenting their interests in these 1,500 acres, they claim to have raised at
                       14   least $65 million in investment funds. Astoundingly, as of June 2019, Vertical’s
                       15   website prominently featured pictures of “The Ranch,” described as “1,500 Acres”
                       16   of “Large Scale Cultivation” in “Santa Barbara County Wine Country.” Of course,
                       17   Defendants had long ago been evicted from the property represented to the world
                       18   as their own. The picture of “The Ranch” shows the substantial cultivation
                       19   operations on Wellsprings that Ms. Shulman was entitled to, but which Defenants
                       20   had already harvested, dissasembled, and removed from the property.
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                        1         16.   At the time of filing of this Complaint, Defendants had begun to
                        2   expand the fraudulent use the photograph of the Wellsprings operation, which was
                        3   already defunct as the result of their wrongful conduct. The below image appears
                        4   on the website for Vertical CR (Costa Rica):
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                       16         17.   In negotiating the business deal to operate a cannabis cultivation with
                       17   Ms. Shulman on Iron Angel, Sisters, and Wellsprings, Kaplan and members of his
                       18   enterprise outright misrepresented their experience in the cannabis business and
                       19   their ability to fund operations—two of the most essential terms of the
                       20   arrangement to Ms. Shulman. Almost immediately after inking the deal, Kaplan
                       21   worked with Defendant Charles Houghton, in-house counsel for Kaplan’s
                       22   business, to devise and implement a plan to defraud Ms. Shulman out of her land
                       23   and her business. Houghton also acted as legal adviser to Ms. Shulman, pretending
                       24   to have her best interest in mind. In fact, working with Kaplan, Houghton conned
                       25   Ms. Shulman into signing a “lease” on Iron Angel, saying it was “not important”
                       26   and solely for regulatory purposes. Then, following through on threats to “bury”
                       27   Ms. Shulman in litigation, Kaplan sued Ms. Shulman, arguing that the lease meant
                       28   Kaplan’s enterprise could oust Ms. Shulman from her own land. Houghton also

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                        1   assisted Kaplan to illegally manipulate the regulatory system to steal from
                        2   Ms. Shulman the legal rights to run her business. The pattern of illegal
                        3   racketeering activity goes well beyond these examples and are set forth in detail in
                        4   this Complaint.
                        5         18.    That this is the conduct of an illegal racketeering enterprise is clear
                        6   not only from the pattern of activity directed at Ms. Shulman, but also by
                        7   strikingly similar conduct by Kaplan and his enterprise directed at other victims,
                        8   both here in California and as far away as Costa Rica, as set forth herein. As just
                        9   one example, Kaplan, Houghton, and other Defendants engaged in the same
                       10   unlawful behavior with Mr. and Mrs. Lugli, owners of Wellsprings, employing the
                       11   same tactics—referring to them as family, cajoling them into signing a supposedly
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                       12   “unimportant” contract, later threatening to bury them in litigation (ultimately
                       13   filing a $30 million claim against them), and lying to them about the status of
                       14   Kaplan’s cannabis business. But most striking of all is the pattern of elder abuse
                       15   by Kaplan and Houghton. Rusty and Susan Lugli, like Ms. Shulman, are seniors;
                       16   Mr. Lugli is in his eighties and Mrs. Lugli in her late seventies. Mr. and Mrs. Lugli
                       17   are also burn victims, having been seriously injured and permanently disfigured in
                       18   a fire years ago. Kaplan had been hounding them to sign the “unimportant”
                       19   contract that would later form the basis for his $30 million claim against them, and
                       20   finally got the signatures he so desperately wanted—by tracking them on a visit to
                       21   Cedar Sinai Burn Center in Los Angeles where they go regularly for treatments to
                       22   their wounds.
                       23         19.    There isn’t much Kaplan wouldn’t do to enrich himself at the expense
                       24   of others, which explains why his own son calls him “the greediest person in the
                       25   world.”
                       26

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                        1                                    II.    PARTIES
                        2         A.     Plaintiffs
                        3         20.    Plaintiff Francine Shulman is an individual and, at all relevant times,
                        4   a resident of the County of Santa Barbara.
                        5         21.    Plaintiff Iron Angel, LLC is a California Limited Liability Company
                        6   with its principal place of business in Lompoc, California. Iron Angel, LLC is
                        7   owned and operated by Ms. Shulman and has been registered with the California
                        8   Secretary of State since January 10, 2018.
                        9         22.    Plaintiff 3F, Inc. is a California nonprofit mutual benefit corporation
                       10   with its principal place of business in Lompoc, California. 3F, Inc. is owned and
                       11   operated by Ms. Shulman and has been registered with the California Secretary of
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                       12   State since May 26, 2016.
                       13         B.     Defendants
                       14         23.    Defendant Todd Kaplan is an individual residing in Los Angeles
                       15   County, California. At all relevant times, Kaplan was doing business in California,
                       16   including in the County of Santa Barbara. Kaplan is the founder and CEO of
                       17   Defendant Vertical, owner of Defendants NCAMBA9, Inc. and Iron Angel II,
                       18   LLC. At all relevant times, Kaplan was acting as the agent or employee of those
                       19   entities and acting within the scope of his agency or employment.
                       20         24.    Defendant Medical Investor Holdings LLC, dba Vertical Companies
                       21   (“Vertical”) is a California limited liability company that is majority owned and
                       22   controlled by and through Defendant Kaplan, its CEO and founder. Vertical was
                       23   registered with the California Secretary of State on June 22, 2016.
                       24         25.    Vertical Wellness, Inc. is a Delaware corporation with its principal
                       25   place of business in Los Angeles County, California. Vertical Wellness was
                       26   incorporated in the State of Delaware on January 11, 2019, and it was registered
                       27   with the California Secretary of State on March 11, 2019.
                       28


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                        1         26.    Defendant Charles Houghton was at all times relevant herein an
                        2   individual residing in California. Houghton is an attorney licensed to practice in
                        3   Colorado. He is a regulatory advisor to Vertical and was, at all times relevant,
                        4   counsel to Vertical. Houghton returned to his home state of Colorado in 2018 and
                        5   continues to advise Kaplan and Vertical.
                        6         27.    Defendant Matthew Kaplan is an individual residing in Los Angeles
                        7   County. He is the son of Todd Kaplan and Director of Operations at Vertical. At
                        8   all relevant times, he was acting as the agent or employee of Vertical and acting
                        9   within the scope of his agency or employment.
                       10         28.    Defendant Drew Milburn is an individual residing in Los Angeles
                       11   County. He is Chief Operating Officer of Vertical and at all relevant times was
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                       12   acting as the agent or employee of Vertical and acting within the scope of his
                       13   agency or employment.
                       14         29.    Courtney Dorne is an individual residing in Los Angeles County. She
                       15   is the President, Vertical Brands and, at all relevant times, was acting as the agent
                       16   or employee of Vertical and acting within the scope of her agency or employment.
                       17         30.    Defendant Smoke Wallin is an individual residing in Los Angeles
                       18   County. He is President of Vertical and President and CEO of Vertical Wellness
                       19   and, at all relevant times, was acting as the agent or employee of Vertical and
                       20   acting within the scope of his agency or employment.
                       21         31.    Defendant Robert Scott Kaplan (aka Robert Scott) is an individual
                       22   residing in Los Angeles County. He is the brother of Todd Kaplan, father of
                       23   Elyse Kaplan, and Chief Technology Officer of Vertical. At all relevant times, he
                       24   was acting as the agent or employee of Vertical and acting within the scope of his
                       25   agency or employment.
                       26         32.    Defendant Elyse Kaplan is an individual residing in Los Angeles
                       27   County and Corporate Counsel at Vertical. At all relevant times, she was acting as
                       28


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                        1   the agent or employee of Vertical and acting within the scope of her agency or
                        2   employment.
                        3         33.      Defendant Jeff Silver is an individual residing in Los Angeles County
                        4   and Vertical’s former Chief Financial Officer and now its strategic advisor. At all
                        5   relevant times, he was acting as the agent or employee of Vertical and acting
                        6   within the scope of his agency or employment.
                        7         34.      Defendant Iron Angel II, LLC, is, and was at all relevant times, a
                        8   California limited liability company owned and controlled by and through
                        9   Defendant Todd Kaplan. Iron Angel II, LLC, was registered with the California
                       10   Secretary of State on or about January 10, 2018.
                       11         35.      Defendant NCAMBA9, Inc. is a California nonprofit mutual benefit
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                       12   corporation owned and controlled by and through its President, Defendant
                       13   Todd Kaplan. Defendant Kaplan incorporated NCAMBA9 in August 2016.
                       14         36.      Plaintiffs do not know the true names and capacities, whether
                       15   individual, corporate, associate or otherwise, of defendants sued herein as Does 1
                       16   through 10, inclusive, and therefore sue these Defendants by such fictitious names.
                       17   Plaintiffs will amend this Complaint to allege the true names and capacities when
                       18   ascertained.
                       19         37.      Plaintiffs are informed and believe, and thereupon allege, that each of
                       20   the fictitiously named Defendants is responsible in some manner for the
                       21   occurrences and damages herein alleged, and that Plaintiffs’ injuries as herein
                       22   alleged were proximately caused by the actions and omissions of such fictitiously
                       23   named Defendants.
                       24         38.      Plaintiffs are informed and believe, and thereupon allege, that at all
                       25   times herein mentioned, each of the Defendants were the agents and employees of
                       26   each of the remaining Defendants, and, in doing the things hereinafter alleged,
                       27   were acting within the course and scope of such agency and employment.
                       28


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                        1                         III.   JURISDICTION AND VENUE
                        2          39.   This Court has jurisdiction over this matter pursuant to 28 U.S.C.
                        3   § 1331 (federal question jurisdiction), and 18 U.S.C. § 1964 (RICO), and 15
                        4   U.S.C. § 1125 (trademark infringement and false advertising), 28 U.S. Code
                        5   § 1338 (trademarks and unfair competition), and 28 U.S.C. § 1367 (supplemental
                        6   jurisdiction) conferring jurisdiction over state-law claims that are so related to
                        7   Plaintiffs’ federal law claims that they form part of the same case or controversy
                        8   under Article III of the United States Constitution.
                        9          40.   Defendants are subject to personal jurisdiction in the Central District
                       10   of California because most of them are residents of this District and because they
                       11   have committed torts and caused tortious injury in this District by acts committed
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                       12   both inside and outside this District. Defendants also regularly solicit business in
                       13   this District, and Defendants have engaged in a persistent course of conduct in this
                       14   District.
                       15          41.   Defendant Todd Kaplan is subject to personal jurisdiction in the
                       16   Central District of California because, (1) he currently works and resides, and at
                       17   all relevant times worked and resided, within the District, (2) he has purposely
                       18   availed himself of the benefits of California, (3) the controversy is related to and
                       19   arises out of his acts committed within the District, (4) his torts and acts caused
                       20   injury within this District, and (5) the assertion of personal jurisdiction over him
                       21   comports with fair play and substantial justice.
                       22          42.   Defendant Vertical is subject to personal jurisdiction in the Central
                       23   District of California because, (1) it is currently, and at all relevant times, was a
                       24   California limited liability corporation headquartered within the District, (2) it
                       25   purposely availed itself of the benefits of California, (3) the controversy is related
                       26   to and arises out of Vertical’s acts (4) Vertical’s torts and acts caused injury within
                       27   this District, and (5) the assertion of personal jurisdiction comports with fair play
                       28   and substantial justice.

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                        1         43.    Defendant Vertical Wellness, Inc. is subject to personal jurisdiction in
                        2   the Central District of California because (1) it is currently, and at all relevant
                        3   times, was headquartered within the District, (2) until on or about March 2019 it
                        4   was a division, or other unincorporated affiliate, of Defendant Vertical (3) it has
                        5   purposely availed itself of the benefits of California, (4) it has held or used funds
                        6   misappropriated from Plaintiffs within the District, and (5) the assertion of
                        7   personal jurisdiction comports with fair play and substantial justice.
                        8         44.    Defendant Charles Houghton is subject to personal jurisdiction in the
                        9   Central District of California because, (1) until on or about July 2018, he worked
                       10   and resided within the District employed as counsel to Defendant Vertical
                       11   (wherein Houghton executed, and filed with the California Secretary of State,
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                       12   documents to register Plaintiff Iron Angel, LLC, and Defendant Iron Angel II,
                       13   LLC, to conduct business in the State of California) and gave legal advice to
                       14   Kaplan’s businesses regarding California business practices, (2) he is currently
                       15   listed as Vertical’s Regulatory Advisor and thus continues to have contact with,
                       16   and continues to do business in, California in furtherance of Defendants’ ongoing
                       17   unlawful behavior (3) he has purposely availed himself of the benefits of
                       18   California, (4) the controversy is related to and arises out of his acts committed
                       19   within the District, including his intentional and negligent misrepresentations and
                       20   fraudulent concealments regarding the lease for Iron Angel Ranch; the assistance
                       21   he gave to Kaplan in appropriating Ms. Shulman’s property by inducing her
                       22   through legal advice holding himself out as Ms. Shulman’s attorney, inducing her
                       23   to sign the lease through fraud, giving Plaintiffs legal advice regarding their
                       24   business, the California licenses he alleged Plaintiffs needed to procure, and the
                       25   supporting documents he fraudulently induced Ms. Shulman to sign for county and
                       26   state licenses, (5) Houghton’s torts and acts caused injury within this District,
                       27   Houghton’s purported position as Ms. Shulman’s attorney when in actuality he had
                       28   a conflict of interest in his position as both attorney for Kaplan’s business and

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                        1   Ms. Shulman, and (5) the assertion of personal jurisdiction comports with fair
                        2   play and substantial justice.
                        3         45.    Defendant Matt Kaplan is subject to personal jurisdiction in the
                        4   Central District of California because, (1) he currently resides, and at all relevant
                        5   times resided, within the District, (2) he has purposely availed himself of the
                        6   benefits of California, (3) the controversy is related to and arises out of his acts
                        7   committed within the District, (4) his torts and acts caused injury within this
                        8   District, and (5) the assertion of personal jurisdiction over him comports with fair
                        9   play and substantial justice.
                       10         46.    Defendant Drew Milburn is subject to personal jurisdiction in the
                       11   Central District of California because, (1) he currently resides, and at all relevant
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                       12   times resided, within the District, (2) he has purposely availed himself of the
                       13   benefits of California, (3) the controversy is related to and arises out of his acts
                       14   committed within the District, (4) his torts and acts caused injury within this
                       15   District, and (5) the assertion of personal jurisdiction comports with fair play and
                       16   substantial justice.
                       17         47.    Defendant Courtney Dorne is subject to personal jurisdiction in the
                       18   Central District of California because, (1) she currently resides, and at all relevant
                       19   times resided, within the District, (2) she has purposely availed herself of the
                       20   benefits of California, (3) the controversy is related to and arises out of her acts
                       21   committed within the District, (4) her torts and acts caused injury within this
                       22   District, and (5) the assertion of personal jurisdiction comports with fair play and
                       23   substantial justice.
                       24         48.    Defendant Smoke Wallin is subject to personal jurisdiction in the
                       25   Central District of California because, (1) he currently resides, and at all relevant
                       26   times resided, within the District, (2) he has purposely availed himself of the
                       27   benefits of California, (3) the controversy is related to and arises out of his acts
                       28   committed within the District, (4) his torts and acts caused injury within this

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                        1   District, and (5) the assertion of personal jurisdiction comports with fair play and
                        2   substantial justice.
                        3          49.   Defendant Robert Scott is subject to personal jurisdiction in the
                        4   Central District of California because, (1) he currently resides, and at all relevant
                        5   times resided, within the District, (2) he has purposely availed himself of the
                        6   benefits of California, (3) the controversy is related to and arises out of his acts
                        7   committed within the District, (4) his torts and acts caused injury within this
                        8   District, and (5) the assertion of personal jurisdiction comports with fair play and
                        9   substantial justice.
                       10          50.   Defendant Elyse Kaplan is subject to personal jurisdiction in the
                       11   Central District of California because, (1) she currently resides, and at all relevant
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                       12   times resided, within the District, (2) she has purposely availed herself of the
                       13   benefits of California, (3) the controversy is related to and arises out of her acts
                       14   committed within the District, (4) her torts and acts caused injury within this
                       15   District, and (5) the assertion of personal jurisdiction comports with fair play and
                       16   substantial justice.
                       17          51.   Defendant Jeff Silver is subject to personal jurisdiction in the Central
                       18   District of California because, (1) he currently resides, and at all relevant times
                       19   resided, within the District, (2) he has purposely availed himself of the benefits of
                       20   California, (3) the controversy is related to and arises out of his acts committed
                       21   within the District, (4) his torts and acts caused injury within this District, and
                       22   (5) the assertion of personal jurisdiction comports with fair play and substantial
                       23   justice.
                       24          52.   Defendant Iron Angel II, LLC is subject to personal jurisdiction in the
                       25   Central District of California because (1) it is currently, and at all relevant times,
                       26   was a California limited liability corporation headquartered within the District,
                       27   (2) it has purposely availed itself of the benefits of California, (3) the controversy
                       28   is related to and arises out of Iron Angel II’s acts (4) Iron Angel II’s torts and acts

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                        1   caused injury within this District, and (5) the assertion of personal jurisdiction
                        2   comports with fair play and substantial justice.
                        3            53.   Defendant NCAMBA9, Inc. is subject to personal jurisdiction in the
                        4   Central District of California because (1) it is currently, and at all relevant times,
                        5   was a California non-profit mutual benefit corporation headquartered within the
                        6   District, (2) it has purposely availed itself of the benefits of California, (3) the
                        7   controversy is related to and arises out of Vertical’s acts (4) Vertical’s torts and
                        8   acts caused injury within this District, and (5) the assertion of personal jurisdiction
                        9   comports with fair play and substantial justice.
                       10            54.   Venue for this action is proper in this District pursuant to 28 U.S.C.
                       11   §§ 1391 and 18 U.S.C. §1965, because a significant portion of the Defendants’
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                       12   unlawful activities have occurred in this District, Defendant Vertical maintains its
                       13   headquarters in this District, most of the individual Defendants work and reside in
                       14   this District, and the ends of justice require that Defendants be brought before this
                       15   Court.
                       16                            IV.   FACTUAL ALLEGATIONS
                       17            55.   In addition to the factual allegations made in the foregoing
                       18   Introduction, Plaintiffs allege the following.
                       19            A.    Ms. Shulman Accumulates Rights to Valuable Assets, Including
                                           Iron Angel, Sisters, and Wellsprings
                       20

                       21            56.   After operating a farm on Apple Creek Ranch since 1996,
                       22   Ms. Shulman turned her focus to Iron Angel, where she saw the possibility of
                       23   establishing a medical cannabis business. In March 2014, Ms. Shulman began
                       24   leasing Iron Angel from Rusty and Susan Lugli. At that time, she moved into the
                       25   house already built on the property. On December 1, 2014, Ms. Shulman
                       26   purchased Iron Angel from Mr. and Mrs. Lugli.2 Once on the property, she quickly
                       27
                            2
                       28     Her friends, Kim and Barbara Marienthal, hold a 30% interest in the land. Title to
                            the property is held by Kim L. Marienthal and Barbara M. Marienthal, Trustees of
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                        1   developed the necessary infrastructure for cultivation, including irrigation and
                        2   roads, and she prepared certain acreage on the property for cultivation. In
                        3   approximately August 2014, not long after moving onto the property, and pursuant
                        4   to the Compassionate Use Act of 1996, Ms. Shulman began to farm medical
                        5   cannabis. At the time, under California Health & Safety Code, patients and
                        6   caregivers were authorized to “collectively or cooperatively” cultivate medical
                        7   marijuana through organizations that facilitated the collaborative efforts of its
                        8   members. To comply with this legal requirement, Ms. Shulman formed and joined
                        9   collectives, including 3F, Inc. She also grew organic produce on Iron Angel,
                       10   including beans, corn, tomatoes, lettuce, beets, carrots, pumpkins, raspberries, and
                       11   hundreds of apple trees.
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                       12         57.    From the beginning, Ms. Shulman and her collectives complied with
                       13   all local and state laws and regulations. Ms. Shulman started with a one-acre grow
                       14   in 2014, which yielded approximately 2,000 pounds of cannabis and sold for about
                       15   $1,300 per pound. She reinvested and expanded her grow each year. Ms. Shulman
                       16   became more experienced farming on Iron Angel and choosing the most
                       17   productive and lucrative varieties for the property’s characteristics, dramatically
                       18   increasing her yield per acre each year. By 2017, she cultivated four acres on Iron
                       19   Angel and had installed the necessary infrastructure and hired the right people to
                       20   help run the operation. Under Ms. Shulman’s management, the 2017 plants were
                       21   huge. The first 5,000 pounds of cannabis cultivated left the ranch on October 11,
                       22   2017. Though cannabis prices can fluctuate wildly, Ms. Shulman’s crops garnered
                       23   approximately $650 per pound in 2017, bringing revenue to almost $3 million.
                       24         58.    In November 2016, the Adult Use of Marijuana Act passed. Under the
                       25   Act, beginning January 1, 2018, California residents were to be permitted to sell
                       26

                       27   the Kim L. Marienthal and Barbara M Marienthal 2003 Trust, under trust
                       28   instrument dated April 17, 2003; and Barry Shulman and Francine Shulman,
                            Trustees of the Shulman Family Trust, under trust dated December 24, 2001.
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                        1   marijuana for recreational use. When the Act passed, Ms. Shulman saw an
                        2   opportunity to substantially grow her business. To do that, she began exploring the
                        3   possibility of expanding onto adjoining properties that were even more favorable
                        4   for cannabis cultivation than Iron Angel, in part because they had more cultivable
                        5   acreage.
                        6         59.    On July 1, 2017, after two months of negotiations and before any
                        7   agreement with Kaplan, Ms. Shulman signed a deal with Divine Mercy, Inc., to
                        8   lease up to 40 acres of cultivable, neighboring land (referred to as “Sisters”).
                        9   Divine Mercy is a religious organization operated by President and Chief
                       10   Operating Officer, Sister Jean Marie Kirby. The lease authorized Ms. Shulman,
                       11   through her company Emerald Sky, to grow, cultivate, manufacture, market, and
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                       12   distribute agricultural products, including cannabis and derivative products, on and
                       13   from Sisters. Sisters’ terrain was flat and very conducive to farming, with much
                       14   more cultivable acreage than on Iron Angel.
                       15         60.    In September 2017, Ms. Shulman and Kaplan cultivated six acres on
                       16   Sisters. A second grow on approximately eight acres began in early 2018. In
                       17   June 2018, after two successful harvests, and at Kaplan’s insistence, Houghton
                       18   instructed Ms. Shulman to discontinue operations on Sisters. Matt Kaplan drafted
                       19   an email to CDFA to deactivate Ms. Shulman’s licenses, which prompted the
                       20   CDFA to question the deactivation. Houghton wrote: “Unless somebody has a
                       21   better suggestion, I would suggest that we inform CDFA that the reason for the
                       22   deactivation is that we are still planning how to use available financial resources,
                       23   and rather than commit to time and cost of applying for these licenses, we have
                       24   decided to forego these licenses until plans are finalized.” A portion of Sisters was
                       25   on a riverbed and thus could not be cultivated, but Sister Kirby had given the
                       26   parties the option of moving the grow to a different, useable part of the property.
                       27   Rather than invest the resources to continue harvesting on Sisters, as they were
                       28   required to do under the Cultivation Agreement, Defendants instead stripped

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                        1   Ms. Shulman of her rights to cultivate on the land. Houghton directed the
                        2   deactivation of Ms. Shulman’s licenses to operate, rendering Sisters unusable for
                        3   lawfully cultivating cannabis. Houghton also took over negotiations and
                        4   discussions regarding Ms. Shulman’s lease on Sisters. Kaplan made the decision to
                        5   abandon Sisters as part of the overall scheme to rid Ms. Shulman of her licenses,
                        6   move the business entirely to Wellsprings, and ultimately to take control of
                        7   Wellsprings and remove Ms. Shulman from the business entirely.
                        8         61.    Just after July 4, 2017, and shortly after she had signed the lease for
                        9   Sisters, Ms. Shulman was negotiating with Mr. and Mrs. Lugli—her neighbors and
                       10   friends who had sold Iron Angel to her—for the purchase of Wellsprings Ranch,
                       11   located at 6500 Santa Rosa Road, Buellton, California. Wellsprings is 402 acres
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                       12   and was once part of Iron Angel, together comprising an approximately 1,500-acre
                       13   ranch with most of the cultivable acreage on Wellsprings. Wellsprings has all the
                       14   same security advantages of Iron Angel—far from any major highway and
                       15   accessible by a single road—but it is flatter than Iron Angel and has a minimum of
                       16   100 cultivable acreage—about ten-times that of Iron Angel. Wellsprings was thus
                       17   a valuable asset that could support a large-scale commercial cannabis operation.
                       18         62.    By July 7, 2017, Ms. Shulman had reached an agreement in principal
                       19   with the Lugli’s to purchase the property subject to finalizing the terms of a sale in
                       20   a written agreement. Ms. Shulman and the Lugli Family Trust (“Lugli Trust”)
                       21   entered into a Purchase and Sale Agreement and Joint Escrow Instructions (the
                       22   “Wellsprings Purchase Agreement”), effective July 15, 2017, for the purchase
                       23   price of $7.5 million. The Wellsprings Purchase Agreement required Ms. Shulman
                       24   to make four installment payments towards the Purchase Price of Wellsprings
                       25   Ranch. The first installment was deemed a nonrefundable deposit, in the amount of
                       26   $50,000, due on July 15, 2017. The second installment in the amount of $500,000
                       27   was due and payable within thirty days after the execution of the Wellsprings
                       28   Purchase Agreement; the third installment in the amount of $500,000,00 was due

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                        1   within 90 days. The remaining balance of $6,450,000.00 was due on January 15,
                        2   2018—the close of escrow date. The first two payments were timely made.
                        3         63.    Determined to get her cannabis business up and running on
                        4   Wellsprings as early as possible, Ms. Shulman also negotiated a lease of
                        5   Wellsprings, so she could take immediate possession of the property and begin
                        6   preparing the fields for cultivation. On July 22, 2017, the Lugli Trust, on the one
                        7   hand, and Ms. Shulman and her company, Emerald Sky Agricultural Acquisition,
                        8   on the other, executed the Wellsprings Ranch Land Lease. The lease entitled
                        9   Ms. Shulman to use Wellsprings for farming operations. The lease payment was
                       10   due at the end of the leasing period, or January 15, 2018, and the parties agreed the
                       11   lease payment would be deducted from the purchase price for Wellsprings.
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                       12   Ms. Shulman quickly began work on Wellsprings—including plowing the fields
                       13   herself—and later moved into an existing residence on the property.
                       14         B.     Ms. Shulman, Looking for a Business Partner, Meets
                                         Todd Kaplan and Enters Cultivation Agreement and Branding
                       15                Agreement
                       16         64.    In June 2017, recognizing the potential for exponential growth,
                       17   Ms. Shulman began looking for an investor and business partner—one with the
                       18   funds needed to expand the business and the knowledge and experience to guide
                       19   the business through the changing and complex regulatory scheme for cannabis
                       20   operations in California. Ms. Shulman, her son Brandon Shulman, and their
                       21   attorney began a search for a suitable investor and partner. Brandon and their
                       22   attorney both identified interested investors. But, it was Defendant
                       23   Courtney Dorne—a trusted childhood friend of Ms. Shulman’s daughter-in-law
                       24   and a President at Vertical—who introduced Ms. Shulman to Todd Kaplan and
                       25   Defendants. While working hard to convince Ms. Shulman that she should trust
                       26   Kaplan and partner with him, Ms. Dorne leveraged her friendship with a member
                       27   of the Shulman family, writing that she “cherished” the relationship and would
                       28   take her friendship with Brandon’s wife “to the grave.” She promised to “navigate

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                        1   the waters together” with Ms. Shulman and led the Shulmans to believe that
                        2   Kaplan was, in her words, “an amazing man.”
                        3         65.    In June 2017, after several phone conversations with Brandon,
                        4   Ms. Dorne invited him and Ms. Shulman to meet Kaplan and other Defendants at
                        5   Vertical’s offices in Agoura Hills, California. Ms. Dorne misrepresented Vertical
                        6   as a “huge” cannabis company. She also misrepresented to Brandon that Vertical
                        7   was a financially stable company and that it had existing indoor cultivation, large-
                        8   scale manufacturing, many brand partners, and dispensaries. She touted that
                        9   Vertical had significant experience in the cannabis industry and had in-house
                       10   counsel with local regulatory expertise.
                       11         66.    On June 23, 2017, Ms. Shulman and Brandon drove to Agoura Hills,
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                       12   where Ms. Dorne introduced her to Kaplan, Mr. Silver, Robert Scott, Mr. Milburn,
                       13   Houghton, and Dr. Donald Davidson. During this meeting, Kaplan spent an hour
                       14   selling Vertical to Ms. Shulman and Brandon. Kaplan promoted his Needles,
                       15   California, facility as a “state-of-the-art” manufacturing facility—the crown jewel
                       16   of Vertical’s operations—extolling its ongoing, indoor cannabis production.
                       17   Kaplan ran down a list of 15 different brands with which Vertical claimed to have
                       18   partnered; he told Ms. Shulman about his partnerships with a dispensary and with
                       19   Dr. Donald Davidson; he talked about revenue streams and growth of the cannabis
                       20   industry; he promised to take Vertical global and lauded his multistate operations,
                       21   including those in Colorado and Arizona. Kaplan told Ms. Shulman that Vertical
                       22   hoped to bring her into the “family,” promoting the “Iron Angel” brand and
                       23   growing cannabis with her. Ms. Shulman was sold on Kaplan’s vision, but she
                       24   would ultimately learn that his promises were built on falsehoods. She would later
                       25   learn that Needles had little more than four walls and no competent help,
                       26   Vertical’s partnerships were fabricated, and there was no revenue stream.
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                        1         67.    At this meeting, Kaplan invited Ms. Shulman to look him up on the
                        2   Internet. He said he had had some trouble with the government, but it was the
                        3   government’s fault and he was not guilty.
                        4         68.    On June 26, 2017, Ms. Shulman and Brandon arranged to have
                        5   Ms. Dorne and Kaplan visit Iron Angel. Ms. Dorne claimed that Vertical was “in
                        6   the process” of purchasing a million square foot indoor grow space in Monterey,
                        7   California (a purchase that never actually happened, if in fact it was ever “in the
                        8   process”) and would thus be driving near Iron Angel. Ms. Dorne, Kaplan,
                        9   Houghton, Mr. Milburn, and Mr. Silver arrived at Iron Angel that day. They spent
                       10   two to three hours touring Iron Angel in Kubotas. Ms. Shulman told Kaplan she
                       11   was looking for a partner to invest in her business. Ms. Shulman was explicit with
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                       12   Kaplan that she was in the process of looking for other investors and that if she did
                       13   not enter into a contract with him and his company, she would pursue other
                       14   opportunities. Ms. Shulman was in fact pursuing other opportunities, including
                       15   obtaining financing from her son and from some of his friends and colleagues,
                       16   who are also physicians, as well as from other local contacts who had expressed
                       17   interest in the cannabis business.
                       18         69.    Drew Milburn and Mr. Scott also met with Ms. Shulman at Iron
                       19   Angel during the second week of July 2017. Ms. Shulman gave Mr. Milburn and
                       20   Mr. Scott a tour of Sisters. They discussed the proposed 50-50 split for all Santa
                       21   Barbara properties and any new business that developed, and Mr. Milburn
                       22   acknowledged that was the agreement Kaplan and Vertical wished to strike.
                       23   Regarding manufacturing on-site at Iron Angel, Mr. Milburn explained that Co2
                       24   equipment at the Needles facility (or then-stored ethanol extraction equipment)
                       25   would be shipped to Iron Angel and used for manufacturing on that property.
                       26   Mr. Milburn also stated that he was the “operations guy” and said he would live
                       27   near the property to manage cannabis operations from the beginning of the
                       28   contractual relationship. Mr. Milburn told Ms. Shulman that he and Robert Scott

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                        1   were looking for homes in the area where they could live. Mr. Milburn’s close
                        2   proximity to Iron Angel was important to Ms. Shulman and, as she told Kaplan,
                        3   one of the key ingredients to the business relationship.
                        4         70.    A few days later, around the third week in July 2017, Mr. Milburn
                        5   returned to visit Ms. Shulman, who gave him a tour of Wellsprings Ranch and
                        6   talked to him about her expansion plans. Mr. Milburn asked many questions
                        7   regarding the property and its potential and, by the end of the afternoon, he told
                        8   Ms. Shulman that he fully believed in her vision and would support the acquisition
                        9   of Wellsprings. Mr. Milburn returned to Vertical and gave Kaplan the “thumbs up”
                       10   on expanding the Iron Angel deal.
                       11         71.    Kaplan was highly motivated to close a deal with Ms. Shulman. He
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                       12   understood the inherent value of the properties she had secured rights to and the
                       13   potential for a large and highly profitable cannabis business on those properties.
                       14   Kaplan also knew that Ms. Shulman had an existing, thriving medical cannabis
                       15   farm, as well as extensive farming experience, local community contacts, and,
                       16   most importantly, the support of the County to continue her business operations.
                       17         72.    Kaplan was equally aware of Ms. Shulman’s vulnerabilities. He
                       18   believed she was unsophisticated, and he knew her prior business dealings had
                       19   been much smaller in scale. He was aware of vulnerabilities caused by her age, her
                       20   trusting nature, personal tragedies in her life, and her admitted unfamiliarity with
                       21   the details of the new cannabis regulatory scheme. Kaplan, utilizing tactics well-
                       22   known to psychologists who have studied con men, zeroed in on Ms. Shulman’s
                       23   desires and then laid an emotional foundation of trust by repeatedly displaying
                       24   empathy and developing a rapport with Ms. Shulman. He also knew that
                       25   Ms. Shulman had little ability to investigate Kaplan’s company, Vertical, the other
                       26   members of his enterprise, or his business history, including his past criminal
                       27   conduct and criminal indictments.
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                        1         73.    Recognizing the key attributes that were important to Ms. Shulman in
                        2   selecting a business partner—financing, operations, distribution, branding,
                        3   manufacturing, and regulatory expertise—Kaplan misrepresented his and his
                        4   company’s experience in the cannabis business and misrepresented the financial
                        5   status of his company and his ability to fund a cannabis operation. Kaplan claimed
                        6   that Defendants had extensive experience in cannabis cultivation and production in
                        7   California. He claimed they were experts in cannabis operations. He falsely
                        8   claimed expertise in cannabis laws and regulations in California and misled
                        9   Ms. Shulman into believing that Defendants could expertly guide the business
                       10   through regulatory and licensing procedures. With regard to available capital to
                       11   invest in the business, Kaplan assured Ms. Shulman that she would never have to
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                       12   worry about the finances. He stated that he had numerous investors lining up to
                       13   provide cash and that he had substantial personal resources that were also available
                       14   to the business. Early on in the relationship when Ms. Shulman expressed concern
                       15   about Kaplan’s financial resources, he told her that a group from Mexico City had
                       16   agreed to a $150 million investment. The money never arrived, despite Kaplan’s
                       17   repeated assurances that it was forthcoming. Kaplan told Ms. Shulman that the
                       18   money was stuck in the bank in Florida, that Kaplan could see the money in the
                       19   account but that the bank would not release it. Kaplan continued the ruse by telling
                       20   Ms. Shulman she would be “the first to know when the [funding] goes through”
                       21   and that “we’ll be able to do everything, once we get the money.” On May 4,
                       22   2018, Kaplan wrote to Ms. Shulman that “everyone keeps saying [the money] is
                       23   coming.” Of course, it never came.
                       24         74.    The general plan for the business provided that Vertical would pay
                       25   operational expenses and manage day-to-day operations in exchange for the use of
                       26   Ms. Shulman’s farmland, a share of crops existing at the time of the partnership
                       27   (with a defined split), contacts, and the ability to cultivate by piggybacking on
                       28   Ms. Shulman’s legal nonconforming use licenses. As confirmed by Kaplan, the

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                        1   parties would work “together” to obtain county and state licenses (under the new
                        2   regulations), launch brands based on Ms. Shulman’s Iron Angel name, and manage
                        3   the overall business operations. Vertical would also ensure on-site manufacturing,
                        4   including on-site extraction. Vertical and Ms. Shulman were to share net profits
                        5   from Iron Angel and Sisters equally. Kaplan also included a provision that gave
                        6   him an option to purchase 42.5% “tenant in common interest” in Iron Angel.
                        7         75.     From the beginning of the business, Kaplan told Ms. Shulman that
                        8   “Iron Angel” was to be one of Vertical’s top five brands, generating $8 million of
                        9   revenue in the first year. Kaplan told Ms. Shulman that would mean $4 million in
                       10   her pocket. On information and belief, Ms. Shulman signed a contract for branding
                       11   services, but Vertical retained the only copy. As part of the agreement, Kaplan
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                       12   falsely promised that Vertical would develop the Iron Angel brand for
                       13   Ms. Shulman and the business and that Vertical would bear the costs for doing so.
                       14   In exchange, Kaplan asked Ms. Shulman to be the spokesperson. In November
                       15   2017, Vertical arranged for a photo shoot of Ms. Shulman, sending her first for
                       16   professional hair and make-up work prior to the shoot. Later, Vertical also
                       17   commissioned a video showing Ms. Shulman riding her Harley Davidson, after
                       18   which the Iron Angel brand splashed across the screen. This video (pictured
                       19   below) remains on Vertical’s website, long after the parties’ business relationship
                       20   terminated.
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                       11         76.    In furtherance of Kaplan’s scheme, Defendants directed two Vertical
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                       12   employees to mislead Ms. Shulman into believing that branding efforts would
                       13   include, at least, (a) “seeding” insertions about Iron Angel into new product
                       14   reviews and podcasts focusing on women, seniors, and wellness; (b) creating a
                       15   website, promotional, social media and a media kit focused on Iron Angel;
                       16   (c) creating packaging for single pre-roll and vape pen; (d) creating promotional
                       17   items, such as tee shirts, caps, and stickers; and (e) developing the Iron Angel
                       18   logo. Vertical then engaged in a start-and-stop effort over several months,
                       19   prompting Ms. Shulman to make several inquiries into the status of her Iron Angel
                       20   brand creation. Vertical (through Defendant Smoke Wallin) led Ms. Shulman on
                       21   by sending vague assurances that he wanted to meet with Ms. Shulman, including
                       22   in an April 11, 2018, email message where Mr. Wallin told Ms. Shulman he would
                       23   “absolutely” have a “phone conversation about the branding of Iron Angel,” and
                       24   then later he wrote to her to “get [branding efforts] moving,” noting that “the team
                       25   [would send her] a full picture of the plan.” On September 4, 2018, Mr. Wallin
                       26   sent an email message letting Ms. Shulman know Vertical had “put together an
                       27   Iron Angel brand overview with a monthly timeline up to brand launch early 2019
                       28   and would love to walk [her] through it.” On October 12, 2018, Mr. Wallin sent a

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                        1   letter to Ms. Shulman, purporting also to be meant for all “Vertical Brand
                        2   Partners,” which promised dedicated staff for Ms. Shulman’s marketing efforts.
                        3   The “Brand Manager” also wrote, in November 2018, to confirm that he would
                        4   send Ms. Shulman “budgets, marketing strategy, and calendar/timeline.” Then, in
                        5   December 2018, dissatisfied with the lack of movement on the Iron Angel brand,
                        6   Ms. Shulman expressed to Mr. Wallin that she would engage a different agency to
                        7   help her develop her brand. Mr. Wallin insisted that such a move would be a
                        8   mistake and that Ms. Shulman should leave her brand in Vertical’s hands. But the
                        9   project did not progress as promised. By February 1, 2019, Ms. Shulman’s
                       10   frustration with the lack of attention to her branding efforts prompted her to email
                       11   Vertical to say, “It’s strange to not be hearing anything back from you. . . we’d
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                       12   really like an update on where we are with Iron Angel.” She received no response.
                       13         77.    With regard to cultivation, Ms. Shulman relied on Kaplan’s
                       14   misrepresentations of fact and fraudulent omissions, ultimately agreeing to work
                       15   with Kaplan, Vertical, and other Defendants. The parties negotiated a written
                       16   agreement to work together on cultivation operations on Iron Angel and Sisters.
                       17   Ms. Dorne helped broker the deal. But while telling the Shulmans she loved and
                       18   cherished them, she was working behind the scenes with Kaplan to ensure that the
                       19   Shulmans entered into a business arrangement on Kaplan’s terms. For example,
                       20   when a draft agreement did not give Kaplan any rights to ownership of the land at
                       21   Iron Angel, she sent the Shulmans an alarming message of “big problems” because
                       22   Kaplan was “unbelievably upset.” Taking advantage of their friendship and hiding
                       23   her true loyalty, Ms. Dorne successfully pressured Ms. Shulman into entering into
                       24   an agreement on Vertical’s terms.
                       25         78.    Ultimately, the parties entered into a Reciprocal Membership and
                       26   Cultivation Agreement (the “Cultivation Agreement”) (attached hereto as
                       27   Exhibit B). The Cultivation Agreement has a blank line for the specific date it was
                       28   “made and entered” in “July __, 2017”—i.e. the “Effective Date”—but Kaplan did

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                        1   not return the fully executed agreement until August 2, 2017, making that the
                        2   Effective Date. Kaplan signed the Cultivation Agreement on behalf of an entity
                        3   that he formed and for which he acted as CEO, NCAMBA9, but Kaplan, Vertical,
                        4   and other Defendants were the intended beneficiaries. NCAMBA9 was authorized
                        5   to use a management company to manage operations under the Cultivation
                        6   Agreement. NCAMBA9 immediately turned management over to Vertical and
                        7   Kaplan.
                        8         79.    Ms. Shulman signed the agreement as Trustee of The Shulman
                        9   Family Trust, The Kim L. Marienthal and Barbara N. Marienthal 2003 Trust, and
                       10   the collectives she formed—The Sweet Ambergris Collective, 3F, Inc., and
                       11   Emerald Sky, LLC. At the time the parties entered into the Cultivation Agreement,
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                       12   California permitted only nonprofit mutual benefit corporations or collectives to
                       13   cultivate cannabis for patients with prescriptions from their doctors (though that
                       14   would change in January 2018).
                       15         80.    After executing the Cultivation Agreement, Kaplan whispered in
                       16   Ms. Shulman’s ear that he never asks for permission to do something. He said, “I
                       17   just do it, and, if necessary, ask for forgiveness.” He told Ms. Shulman that he
                       18   pays little attention to what he signs. He would later live up to this warning.
                       19         81.    Pursuant to the Cultivation Agreement, NCAMBA9 was required to
                       20   manage Cultivation Operations, which included “all activities relating to the
                       21   cultivation of Cannabis on the Properties, the distribution of product to collective
                       22   members and the manufacture of products therefrom.” This included:
                       23         site planning and preparation; construction of permanent or
                       24         temporary structures of any sort and on-going maintenance
                       25         thereof; provision for utilities and water to the fields and
                       26         facilities used for cultivation; installation of utilities lines,
                       27         retention and management of all workers and labor necessary
                       28         for the cultivation . . . .

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                        1         82.    NCAMBA9 was required to ensure that Ms. Shulman was to “be
                        2   actively engaged in the Cultivation Operations” and that the parties would “use
                        3   good faith efforts to coordinate their respective activities to achieve the best
                        4   agricultural results practicable.” Separately, NCAMBA9 was required to use its
                        5   “Best Efforts to manage the Cultivation Operations in the most efficient and
                        6   effective manner possible under the circumstances.”
                        7         83.    According to the Cultivation Agreement, NCAMBA9 was “solely
                        8   responsible for timely paying all Operational Expenses with respect to the
                        9   Cultivation Operations.” Operational Expenses are “all costs stemming from or
                       10   relating to the Cultivation Operation,” including “the mortgage expense, property
                       11   taxes and assessments and insurance” for Iron Angel and Sisters. NCAMBA9 was
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                       12   also required to “keep and maintain detailed expense and accounting records of all
                       13   expenses and revenue stemming from its activities . . . [and then] provide the
                       14   collectives with a quarterly P&L and related financial information [on operations]
                       15   and make payments to the Collective quarterly . . . .”
                       16         84.    Except with respect to specific exceptions for crops already in the
                       17   ground, Ms. Shulman and NCAMBA9 agreed to split Net Income equally. Net
                       18   Income included gross revenue from sales of cannabis and cannabis derivatives
                       19   cultivated on Iron Angel and Sisters, less Operational Expenses. The parties
                       20   agreed that salaries and expenses for “Representatives” that NCAMBA9 “employs
                       21   or retains,” such as officers, directors, attorneys, and advisors, could not be
                       22   included in Net Income—meaning that NCAMBA9 could not deduct these
                       23   expenses as Operational Expenses.
                       24         85.    Before the ink had even dried on Kaplan’s signature on the
                       25   Cultivation Agreement, it became clear that he and Defendants had defrauded
                       26   Ms. Shulman. Despite repeated representations prior to signing the Agreement,
                       27   Kaplan and his company did not have the necessary resources to even begin
                       28   operations on Iron Angel and Sisters. Thus, even though she had entered the

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                        1   Agreement for the specific purpose of obtaining funding from a business partner,
                        2   Ms. Shulman had to continue to fund operations on the properties for several
                        3   months. Defendants thus forced Ms. Shulman to spend the remainder of her life
                        4   savings of approximately $320,000 to pay for operational expenses, including
                        5   cultivation supplies, insurance, equipment rentals, irrigation supplies, agricultural
                        6   labor costs, and lease payments at Sisters. Defendants agreed to pay Ms. Shulman
                        7   $10,000 a month to help reimburse her, but even that has never been fully paid. In
                        8   sum, within days after entering into a business contract with a supposedly
                        9   experienced and well-financed company, Ms. Shulman found herself defrauded of
                       10   her life savings, with only vague assurances that she might get paid back in the
                       11   years ahead. And unbeknownst to Ms. Shulman, Kaplan and Vertical were
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                       12   hurriedly seeking other sources of funding to make up the deficit, including from
                       13   Dr. Davidson.
                       14         86.    Nor were Defendants prepared to operate the business, as they had
                       15   promised to do. Mr. Milburn never moved to the properties to act as Operations
                       16   Manager, despite repeated promises, and no one else with any relevant experience
                       17   whatsoever showed up. Thus, Ms. Shulman and her son Brandon (a full-time
                       18   physician) had no choice but to step in and run operations on all three properties.
                       19   Brandon became the de facto Operations Manager. He managed expenses, placed
                       20   orders, worked with Houghton on licensing, negotiated contracts for farm labor
                       21   and cattle, worked with the County on compliance issues, and sourced materials.
                       22   Vertical offered little assistance by way of bringing two employees who had no
                       23   farm, agriculture, ranch, or flower grow experience. In fact, within two months,
                       24   one of the workers was fired because of his inexperience.
                       25         87.    Also, unbeknownst to Ms. Shulman, immediately after entering into
                       26   the Cultivation Agreement and the related agreement on Wellsprings described
                       27   below, on August 8, 2017, Kaplan borrowed $250,000 from Dr. Davidson to give
                       28   him some of the funds Kaplan needed to perform on the contracts with

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                        1   Ms. Shulman. Neither Kaplan nor any Defendant told Ms. Shulman that Kaplan
                        2   was borrowing money from third parties to fund operations on Iron Angel, Sisters,
                        3   and Wellsprings.
                        4         C.     The Parties Agree to the Same Business Arrangement for
                                         Cannabis Operations on Wellsprings, and Defendants Implement
                        5                the Most Damaging of their Fraudulent Schemes
                        6         88.    Although the written Cultivation Agreement applied only to Iron
                        7   Angel and Sisters, Kaplan and Vertical ultimately decided to partner with
                        8   Ms. Shulman to extend the cannabis business to Wellsprings. Accordingly, the
                        9   parties—Ms. Shulman, Todd Kaplan, Vertical, and the collectives—entered into
                       10   an oral contract on the same operational and financial terms as the Cultivation
                       11   Agreement—most importantly, that NCAMBA9/Vertical was responsible for
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                       12   managing cannabis operations, subject to Ms. Shulman’s active participation, and
                       13   that profits would be split 50/50, on the same terms as the profit split on the other
                       14   properties set forth in the Cultivation Agreement. The parties entered into this
                       15   contract (the “Wellsprings Agreement”) on July 21, 2017.
                       16         89.    Ms. Shulman was explicit with Kaplan that she intended to purchase
                       17   Wellsprings and conduct cannabis operations there regardless of whether he and
                       18   Defendants decided to enter into an arrangement on the same operational and
                       19   financial terms as the Cultivation Agreement. Ms. Shulman was in fact pursuing
                       20   other potential business partners, including those described above. And with the
                       21   Wellsprings Purchase Agreement and lease in place, she had time to find an
                       22   appropriate partner if Kaplan was not interested.
                       23         90.    Defendants’ true intentions were unknown to Ms. Shulman at the
                       24   time she entered into the Wellsprings Agreement, and they remained unknown to
                       25   her during most of the performance of the contract. Kaplan and Defendants were
                       26   aware that Wellsprings had by far the most cultivable acreage of the three
                       27   properties and the most ideal topography for both cultivation and cannabis
                       28   processing and distribution. They wanted Wellsprings for themselves, but it was

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                        1   Ms. Shulman who had the relationship with Mr. Lugli and it was Ms. Shulman
                        2   who had the Wellsprings Purchase Agreement and the lease. Ms. Shulman also
                        3   had the ability to find other investors if Kaplan declined. It was in these
                        4   circumstances that Kaplan and his enterprise hatched a plan to defraud
                        5   Ms. Shulman of her interests in Wellsprings. Defendants would enter into the
                        6   Wellsprings Agreement, agreeing to close on the sale, manage operations, and split
                        7   profits with Ms. Shulman, but Defendants would work on a parallel track to strip
                        8   Ms. Shulman of her rights. They would provide her with legal representation using
                        9   their own lawyer; they would negotiate directly with Mr. Lugli, cutting her
                       10   completely out; they would commence cannabis operations, producing millions of
                       11   dollars in revenue during the first harvest alone, but never paying Ms. Shulman a
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                       12   dime; they would negotiate separately with Mr. and Mrs. Lugli to invest in
                       13   Vertical; they would lie to investors and others about their true interest in
                       14   Wellsprings (which, jointly with Iron Angel, they called “Santa Rita”) and use the
                       15   property as the centerpiece of their color brochures to steer tens of millions of
                       16   dollars in investments into their enterprise, even after they had been evicted from
                       17   Wellsprings; they would delay and delay to provide sufficient time to harvest all
                       18   the cannabis; they would ultimately never close on the property; and then, in a
                       19   final act revealing the fraudulent intentions held during the entire relationship,
                       20   after failing to close on the deal for Wellsprings that would have made
                       21   Ms. Shulman an owner, they immediately returned to Mr. Lugli to make their own,
                       22   separate offer to purchase the property for themselves. Indeed, they made two such
                       23   offers. But by that point, Mr. Lugli had learned enough about Kaplan and
                       24   Vertical—and had been directly threatened by Kaplan—and thus said no.
                       25   Mr. Lugli’s attorney informed Mr. Kaplan that his efforts to unwind the original
                       26   offer by Ms. Shulman in order to make his own offer was illegal. True to form,
                       27   Kaplan then sued Mr. Lugli for $30 million.
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                        1         91.    Defendant Houghton was key to the implementation of the fraudulent
                        2   scheme perpetrated on Ms. Shulman to steal her interest in Wellsprings. On
                        3   July 19, 2017, Kaplan instructed Ms. Shulman to contact Houghton to discuss
                        4   Wellsprings and, specifically, to let Houghton know that she was not already
                        5   represented by counsel so that Houghton could serve as her legal adviser.
                        6   Ms. Shulman confirmed she was not represented, and from that point forward,
                        7   Houghton worked with Defendants to implement a fraudulent course of conduct to
                        8   wrest control of Wellsprings from Ms. Shulman and to take for Kaplan’s
                        9   enterprise the tens of millions of dollars in profits that were expected from
                       10   cannabis operations on Wellsprings—by far the most valuable and lucrative of the
                       11   three properties. Acting as attorney for both Kaplan and Ms. Shulman, Houghton
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                       12   deceived Ms. Shulman into believing he was looking out for her best interest—a
                       13   fraudulent act in clear breach of his fiduciary duties and one that he would employ
                       14   with Ms. Shulman and her family throughout their dealings with Defendants.
                       15         92.    After entering into the Wellsprings Agreement, Kaplan and Vertical
                       16   began managing operations on Wellsprings, but then quickly confessed that they
                       17   did not have the financial resources to close escrow by January 2018. Had
                       18   Ms. Shulman had a different business partner with the funds to close, she would
                       19   have been an owner of Wellsprings as of January 2018.
                       20         93.    Kaplan, who was not a party to the Wellsprings Purchase Agreement,
                       21   contacted Mr. Lugli directly, purportedly on behalf of Ms. Shulman and “the
                       22   team,” to seek a one-year extension of close of escrow. In an undated, typed letter
                       23   in mid-November 2017, Kaplan wrote to Mr. Lugli and noted that “it is in our
                       24   collective best interests to make this proposed change, for the benefit of all
                       25   involved.” As an incentive for extending escrow, and without notice to
                       26   Ms. Shulman or with her consent, Kaplan promised to pay Mr. and Mrs. Lugli, in
                       27   addition to the Wellsprings purchase price, “2 acres of projected cannabis profits
                       28   [from Wellsprings Ranch] during 2019, 2020, 2021,” which Kaplan estimated to

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                        1   be $6 million. Kaplan also negotiated an extension on Ms. Shulman’s Wellsprings
                        2   lease, extending it to coincide with the new close of escrow on January 15, 2019.
                        3   In other words, short of funds despite his express representations, Kaplan was
                        4   already giving away Ms. Shulman’s interest in the business to buy himself time
                        5   more to live up to the promises Defendants had made.
                        6         94.   These various arrangements were set forth in documents prepared by
                        7   Houghton for Ms. Shulman’s signature on November 20, 2017, including an
                        8   Amendment to Purchase and Sale Agreement and Joint Escrow Instructions
                        9   (“Wellsprings Purchase Agreement Amendment”), extending the close of escrow
                       10   until January 15, 2019, and a document titled “Agreement” providing that Mr. and
                       11   Mrs. Lugli would receive net income for two acres of cannabis grown on
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                       12   Wellsprings. Had Kaplan and Vertical been able to fund a timely close on the
                       13   property, the “Agreement” would never have been proposed.
                       14         95.   Also, on November 20, 2017, Kaplan, supported by Houghton,
                       15   defrauded Ms. Shulman into assigning her rights to Wellsprings to Kaplan without
                       16   any consideration, so that at close of escrow Kaplan would be a joint owner of the
                       17   property. Houghton, at Kaplan’s direction, drafted the agreements. Houghton then
                       18   presented the agreement to Ms. Shulman, causing her to sign away half of her
                       19   rights in Wellsprings. Houghton, affirming his representation of Ms. Shulman and
                       20   Kaplan’s business venture, sent the drafts to Mr. Lugli and noted that he had
                       21   copied his “clients” (Ms. Shulman and Brandon Shulman) on the email.
                       22         96.   Following execution of the November 20, 2017 agreements,
                       23   substantial operations on Wellsprings continued, with Ms. Shulman and Brandon
                       24   Shulman managing operations. They oversaw the cultivation of 16 acres of
                       25   cannabis on Wellsprings in 2018, with the first plants placed in the ground on
                       26   August 20, 2018. The harvest began in November 2018 and continued up until,
                       27   and even after, the date on which Defendants were evicted from the property.
                       28


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                        1         97.    Though Kaplan had promised to send an experienced grower to
                        2   manage Wellsprings operations, competent help never arrived. Instead, Kaplan
                        3   hired two young men who had run a small clone business in San Diego, but neither
                        4   of whom had any farming, agriculture or cannabis cultivation experience.
                        5   Mr. Milburn had promised repeatedly to join the team at Wellsprings as
                        6   Operations Manager, a promise Ms. Shulman had relied on in agreeing to partner
                        7   with Kaplan. Mr. Milburn made only a few sporadic visits and ultimately
                        8   announced he had been “recalled to manage Vertical’s strategic growth.” Kaplan
                        9   then sent his son, Matt, to manage Wellsprings, but Matt had no cannabis
                       10   experience and no farming or agricultural experience whatsoever. Instead of
                       11   managing operations, which he was never qualified to do, Matt spent his time
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                       12   implementing his father’s and Vertical’s plans to defraud Ms. Shulman and
                       13   potential investors in Vertical. Matt spent a significant amount of his time giving
                       14   tours to scores of investors around Wellsprings and Iron Angel, fraudulently
                       15   telling them that Vertical owned the property and the acres of cannabis growing on
                       16   them. When he was not giving tours, Matt used Ms. Shulman and Brandon to
                       17   educate him on the basics of cannabis and the farming industry and to introduce
                       18   him to the local community and Ms. Shulman’s vendors. Later, Ms. Shulman
                       19   caught Matt coordinating the illegal transport of cannabis off the property and
                       20   hiding product so Vertical could artificially lower production numbers and defraud
                       21   Ms. Shulman of her share of the profits. Initially, Matt feigned appreciation for
                       22   being welcome in Ms. Shulman’s family and business, but he showed his true
                       23   colors and intentions when he began to verbally abuse Ms. Shulman and her
                       24   family (including telling Ms. Shulman he hopes she rots on the Wellsprings
                       25   property, that she’s stupid, and that everyone dislikes her). Matt also took to
                       26   physically assaulting Ms. Shulman’s son, Randall Shulman and vandalizing
                       27   Ms. Shulman’s property. On information and belief, Defendants, including
                       28


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                        1   Matt Kaplan, caused and assisted in illegal “black market” sales of cannabis from
                        2   operations at Wellsprings, Iron Angel, and Sisters.
                        3         98.    Although Kaplan and Vertical made various deposit payments to the
                        4   Lugli Trust to stave off any eviction before they could entrench themselves on the
                        5   property and cultivate the valuable cannabis growing on 16 acres, Kaplan
                        6   ultimately failed to deliver the monies required to close on the property on
                        7   January 15, 2019, or on February 25, 2019, after the contractual cure period. After
                        8   failing to fund the closing that would have made Ms. Shulman an owner, Kaplan
                        9   returned—twice—to make offers to Mr. Lugli to purchase the property without
                       10   Ms. Shulman. Mr. Lugli rejected these offers, terminated the Wellsprings Purchase
                       11   Agreement, and evicted Kaplan and Defendants from the property.
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                       12         99.    A key reason Defendants paid the Lugli Trust just enough to remain
                       13   on the property until they could make their own offer to purchase Wellsprings
                       14   without Ms. Shulman was the importance of Wellsprings to Vertical’s marketing
                       15   and fundraising efforts. Once operations were underway and of more than 40 acres
                       16   of hoop houses had been set up on Wellsprings, Defendants photographed the
                       17   property. One of those photos (included as Exhibit A hereto) has been the
                       18   centerpiece of Vertical’s marketing and investment campaign ever since, and it has
                       19   been featured prominently on Vertical’s website and other social media—even
                       20   after Vertical’s rights to Wellsprings were terminated. And Kaplan’s marketing
                       21   campaign was not just photographic. He and Defendants frequently brought
                       22   potential investors to Wellsprings and Iron Angel to tour the properties, but he
                       23   never included Ms. Shulman in most of those meetings or discussions or even
                       24   notified her that such tours would occur or the purpose of those tours. During the
                       25   tours, Matt Kaplan and Smoke Wallin lied to potential investors, telling them that
                       26   Vertical owned the 1,500 acres that comprised Wellsprings and Iron Angel.
                       27         100. Defendants coined their own name for the collective properties,
                       28   misleadingly repackaging them for investors and potential business partners as

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                        1   “Santa Rita” or “The Ranch.” Their ability to portray to investors that they owned
                        2   the land and had all rights to the cannabis business was key to their fundraising
                        3   and their desire to go public and strike it rich. In fact, Vertical obtained tens of
                        4   millions of dollars in investments based on these misrepresentations about
                        5   Wellsprings and Iron Angel. On information and belief, Defendants never told
                        6   actual or potential investors about Ms. Shulman’s (a) ownership of Iron Angel,
                        7   (b) rights to Wellsprings, including the lease and purchase, or (c) right to 50
                        8   percent of net income on the properties. Vertical’s website and marketing
                        9   materials also contain numerous other misrepresentations to investors, including
                       10   identifying brands and partnerships to which Vertical had no rights.
                       11         101. During the course of performance of the Wellsprings Agreement,
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                       12   Kaplan worked hard to convince Mr. and Mrs. Lugli to invest in Vertical by
                       13   entering into a subscription agreement, which really amounted to making a loan to
                       14   Kaplan. Kaplan used familiar tactics, referring to the Luglis as “family” (as he did
                       15   Ms. Shulman) and offering them a “special investment opportunity” by
                       16   misrepresenting the true financial condition of Vertical. He convinced Mr. Lugli to
                       17   sign the subscription agreement, promising that Vertical would go public in 2019
                       18   and that Lugli would make a significant profit. In fact, Mr. Lugli later learned that
                       19   Kaplan had made substantial misrepresentations to lure him into making Kaplan a
                       20   loan via a subscription agreement. Mr. Lugli learned that Vertical was severely
                       21   undercapitalized and indebted and that all of its alleged “investors” were actually
                       22   lenders. Kaplan had hoped to entice Mr. Lugli to invest in Vertical so that Kaplan
                       23   could apply Mr. Lugli’s “investment” towards the purchase price of Wellsprings.
                       24   Mr. Lugli ultimately did not pay money to Vertical, having concluded that Kaplan
                       25   lied to him about the subscription agreement.
                       26         102. Kaplan’s failure to close on Wellsprings deprived Ms. Shulman of
                       27   ownership of a property that could only substantially increase in value given the
                       28   cannabis revolution taking place in Santa Barbara County. It also deprived

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                        1   Ms. Shulman of profits that were expected to be generated on the property in the
                        2   years ahead—future profits that Defendants had already calculated and reported to
                        3   its investors and potential investors. In an October 2018 interview, Matt Kaplan
                        4   announced that the 20 acres under cultivation at that time would grow five-fold by
                        5   Spring 2019; he also said Vertical was considering using the properties for cabins
                        6   or other accommodations for tourists. Vertical’s website as late as June 2019
                        7   boasted that “Vertical’s Santa Rita Hills Outdoor Grow will be one of the largest
                        8   in the world in 2019.” (Exhibit A hereto).
                        9         103. With regard to the cannabis cultivated on Wellsprings before
                       10   Defendants were evicted, Ms. Shulman has never been paid her 50 percent of the
                       11   net income due under the Wellsprings Agreement. Nor have Defendants ever
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                       12   followed through on other obligations, including: accounting for the costs of
                       13   operations and revenue on sales, bringing a competent operations manager to the
                       14   property to oversee cultivation activities (such as planning and preparation,
                       15   workforce management, legal product transport and distribution), obtaining
                       16   appropriate cultivation licenses from the County and State (such as land use
                       17   permits and cultivation licenses), working cooperatively with Ms. Shulman to
                       18   obtain such permits and licenses (and not fraudulently preventing her from
                       19   obtaining valid licenses), maintaining proper insurance coverage, using best efforts
                       20   to manage Cultivation Operations in the most efficient and effective manner,
                       21   actively engaging Ms. Shulman in the Cultivation Operations, using good faith
                       22   efforts to achieve the best agricultural results practicable (such as providing for
                       23   proper drying and processing facilities, maintaining proper temperatures in the
                       24   greenhouse to permit plants to flourish, caring for plants to avoid mold and pest
                       25   infestation, and properly addressing failed testing requirements), complying with
                       26   all laws and regulations associated with cultivating, processing, and selling
                       27   cannabis (such as legally transporting cannabis off the property in code-compliant
                       28   vehicles and distributing only to licensed entities).

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                        1         104. In addition, Kaplan misrepresented, in breach of the Agreement, that
                        2   Vertical had substantial experience and expertise with the laws and requirements
                        3   of cultivating cannabis in California and could and would perform all of its duties
                        4   and responsibilities in accordance with state and local laws; that it had sufficient
                        5   capital reserves to timely pay all Operational Expenses; that it had all licenses,
                        6   consents, and authorizations to perform its duties and obligations under the
                        7   Agreement. Vertical further failed to provide financial documents on a quarterly
                        8   basis, with detail of Operational Expenses. In fact, according to Mr. Silver,
                        9   Vertical prepared two sets of financial records, thereby breaching the Wellsprings
                       10   Agreement by failing to prepare financial reports and other documents without
                       11   untrue statements of material fact or omissions of material facts necessary to
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                       12   ensure such statements were not misleading.
                       13         D.     Defendants, Directed by Kaplan and Houghton, Execute on a
                                         Plan to Oust Ms. Shulman from Iron Angel
                       14

                       15         105. The Cultivation Agreement provided that Defendants were to conduct
                       16   cannabis operations, including cultivation and manufacturing, on the Iron Angel
                       17   property. But if the Agreement were terminated by either party, Defendants would
                       18   have no further rights to Iron Angel and Ms. Shulman would, of course, be free to
                       19   do whatever she wanted with her own property—including continuing to use that
                       20   property for cannabis cultivation. This, of course, was a big problem for Kaplan,
                       21   because it meant he would always have to split profits on Iron Angel with
                       22   Ms. Shulman. Defendants devised a plan to steal Iron Angel from Ms. Shulman
                       23   and take for their enterprise all of the profits from cannabis cultivation on the
                       24   property. Again, Houghton was key to this plan.
                       25         106. Houghton was acting as attorney for the business regarding licensing,
                       26   which meant he was providing legal advice to Kaplan and Vertical and to
                       27   Ms. Shulman and Brandon Shulman regarding cannabis regulatory requirements.
                       28   Houghton held himself out as attorney for the entire venture and he had

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                        1   specifically referred to Ms. Shulman and Brandon Shulman as his “clients.”
                        2   Indeed, Houghton exchanged hundreds, possibly thousands, of communications
                        3   with Ms. Shulman and Brandon Shulman concerning the Wellsprings property
                        4   purchase and regulatory requirements. The Shulmans relied on Houghton’s legal
                        5   advice and believed, wrongly, that Houghton was acting in their best interest. It
                        6   was in this context that Houghton approached the Shulmans on January 14, 2018,
                        7   telling them that they needed to sign an agreement to lease the Iron Angel property
                        8   to Iron Angel II, LLC—an entity Houghton had registered with the California
                        9   Secretary of State just four days earlier, naming Kaplan the sole manager. The
                       10   entity was purportedly set up to be the licensed cannabis operator, given changes
                       11   in the law that meant collectives were no longer necessary. With regard to the
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                       12   name, it was Kaplan’s idea to use Ms. Shulman’s trademark, “Iron Angel,” as the
                       13   name for the LLC as part of the overall “branding” for the business venture. In
                       14   reality, his intent was to steal it from Ms. Shulman, along with the goodwill she
                       15   had generated using the Iron Angel mark.
                       16         107. In a January 14, 2018, email from Houghton to Ms. Shulman and
                       17   Brandon Shulman, copying Kaplan and Defendants Drew Milburn, Jeff Silver, and
                       18   Robert Scott, Houghton said Ms. Shulman needed to sign the lease he attached
                       19   “for State licensing purposes,” specifically, “to show evidence of the right to
                       20   occupy the land by the Licensee [the operator].” In subsequent communications,
                       21   Houghton assured the Shulmans that the lease was just a formality and was solely
                       22   for licensing purposes, that the parties would not follow the terms of the lease, and
                       23   that the parties were still operating pursuant to the Cultivation Agreement. Based
                       24   on these representations and assurances and relying on Kaplan’s and Houghton’s
                       25   professed “expertise” in the regulatory arena—and, critically, believing that
                       26   Houghton represented their interests—the Shulmans directed that the Iron Angel
                       27   landowners sign the lease for licensing purposes only. The lease purports to have
                       28   an initial 10-year term, with three five-year automatic renewals.

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                        1         108. Defendants, and Houghton in particular, lied to the Shulmans about
                        2   the true purpose of the lease. In fact, the lease was not required for regulatory
                        3   purposes; the Cultivation Agreement easily would have sufficed to show the
                        4   operator’s right to occupy the land. The County required only that the cultivation
                        5   operator have evidence that the property owner is aware that it is cultivating
                        6   cannabis on the property; the Cultivation Agreement expressly acknowledged the
                        7   purpose of the agreement was for cannabis growth and cultivation. This was an
                        8   unmistakable breach of Houghton’s fiduciary obligations to Ms. Shulman, and
                        9   Houghton made the foregoing representations and omissions about the necessity of
                       10   the Iron Angel lease with the intent to defraud.
                       11         109. Defendants never intended the lease to have any legal effect with
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                       12   respect to the parties’ cultivation activities; indeed, Defendants never paid rent due
                       13   under the lease. The lease instead gave Kaplan and his enterprise the freedom to
                       14   breach the Cultivation Agreement with the assurance that, if Ms. Shulman fought
                       15   back in any way, they could assert the lease as the basis for their right to continue
                       16   operating a cannabis business on Iron Angel, to oust Ms. Shulman from the
                       17   property, and to take 100 percent, rather than 50 percent, of the profits.
                       18         110. Indeed, that is exactly what Defendants did. After suffering through
                       19   months of significant breaches of the Cultivation Agreement, as described below,
                       20   Ms. Shulman was finally convinced that Kaplan did not intend to make good on
                       21   his promises—even on the most fundamental promise of paying Ms. Shulman her
                       22   share of net income. She gave Kaplan and Defendants the opportunity to cure, and
                       23   when they failed adequately to respond (and Kaplan failed to close escrow on the
                       24   Wellsprings property), Ms. Shulman properly terminated the Cultivation
                       25   Agreement. With the termination of the agreement, the parties’ business
                       26   arrangement on Iron Angel was concluded and Ms. Shulman should have been
                       27   free to continue cultivation on Iron Angel. But Kaplan and Vertical, with the
                       28   support of Houghton and other Defendants, revealed their fraud by suing

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                        1   Ms. Shulman for possession of Iron Angel and claiming that they, not
                        2   Ms. Shulman, had the exclusive right to operate a cannabis business on Iron
                        3   Angel. They claimed that the lease gave them this right and that the terms of the
                        4   Cultivation Agreement did not matter. In other words, they attempted to use the
                        5   lease, which Houghton had represented to the Shulmans as unimportant and solely
                        6   to obtain licenses, as the vehicle to oust Ms. Shulman from her property, steal her
                        7   cannabis business, and take 100 percent, rather than just 50 percent, of all profits
                        8   going forward.
                        9         111. As described more fully below, Defendants’ willingness to proceed
                       10   on this fraudulent and malicious legal theory in court resulted in Ms. Shulman’s
                       11   ouster from the business on her property under the terms of a temporary
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                       12   restraining order. While back on the property, Defendants intentionally inflicted
                       13   emotional distress on Ms. Shulman and wreaked havoc on the cannabis cultivation
                       14   business, causing serious damage to the crops. During this process, Defendants
                       15   lied repeatedly about conditions on the property to the court in order to effectuate
                       16   their malicious prosecution of the theory that the lease somehow displaced the
                       17   Cultivation Agreement.
                       18         112. The lease was also unnecessary and made no practical sense, except
                       19   to defraud Ms. Shulman, because Kaplan had a contractual right to purchase Iron
                       20   Angel as a tenant in common. If Defendants wanted to protect some interest in the
                       21   Iron Angel property, Kaplan could have exercised that purchase option.
                       22         E.     Defendants Engage in Fraud to Exclude Ms. Shulman from
                                         Operator Licensing
                       23

                       24         113. The passage of the Adult Use of Marijuana Act set in motion the
                       25   establishment of a new regulatory and permitting regime, which operates at both
                       26   the county and state level. Santa Barbara County, unlike many other California
                       27   counties, embraced cultivation of recreational cannabis. That Ms. Shulman had
                       28   already been cultivating medical cannabis in Santa Barbara County under then-

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                        1   existing laws and regulations gave her a huge advantage and head-start, because
                        2   the County allowed those who had been cultivating in the County prior to
                        3   January 19, 2016, to continue to do so while their state annual licenses were being
                        4   processed. (See Santa Barbara Code of Ordinances, Section 35-1003(c)(2).) As a
                        5   result, continuing cultivation on Iron Angel, Sisters, and Wellsprings was allowed
                        6   for purposes of applying for the requisite permits and licenses to operate those
                        7   sites for recreational cannabis cultivation. This greatly appealed to Kaplan, who
                        8   needed to latch onto someone in Ms. Shulman’s position to take advantage of the
                        9   law to reap the enormous profits from cannabis cultivation in Santa Barbara
                       10   County.
                       11         114. Once he had entered into the Cultivation Agreement with
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                       12   Ms. Shulman, Kaplan fraudulently sought to replace her as the licensee. In
                       13   December 2017, Ms. Shulman had initiated the process to obtain the necessary
                       14   “Small Outdoor” and “Processor” licenses to operate on Iron Angel, Sisters, and
                       15   Wellsprings as commercial cannabis sites. Because Ms. Shulman had been
                       16   operating prior to January 19, 2016, the County, on December 22, 2017, issued
                       17   letters to the State Licensing Authority on Ms. Shulman’s behalf, grandfathering in
                       18   her nonconforming use on Iron Angel, Sisters, and Wellsprings pursuant to
                       19   Section 35-1003(c)(2).
                       20         115. After taking this first step, Ms. Shulman looked to Kaplan, Houghton,
                       21   and, later, Elyse Kaplan for their alleged regulatory experience to assist with
                       22   navigating State and County licensing requirements. Ms. Shulman gave the letters
                       23   from the County to Houghton to process. Despite having agreed that Kaplan, on
                       24   the one hand, and Ms. Shulman, on the other, would “work together to get Santa
                       25   Barbara County and State Licenses” and that they would hold licenses 50-50,
                       26   Kaplan and Houghton changed the deal. Houghton applied for the State operator
                       27   licenses for Kaplan’s LLC, Iron Angel II, only. Rather than use the County letters
                       28   Ms. Shulman obtained acknowledging her previous Legal Nonconforming Use,

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                        1   Kaplan and Houghton submitted false affidavits stating that they had been
                        2   operating continuously in Santa Barbara County since prior to January 19, 2016, in
                        3   order to obtain temporary licenses in the name of Kaplan’s LLC only.
                        4         116. Houghton failed to identify Ms. Shulman as an owner at all, even
                        5   though California law requires that a person with an aggregate ownership interest
                        6   of 20 percent or more in the business applying for a license must be registered
                        7   with the State as an owner of the business interest. After Houghton left Vertical to
                        8   return to Colorado, Elyse Kaplan carried his torch. Ms. Kaplan, however, had no
                        9   regulatory experience. Kaplan had promised Ms. Shulman that an experienced
                       10   attorney would assist with regulatory issues, and that was a key reason she agreed
                       11   to do business with Kaplan. Despite numerous requests about the status of
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                       12   licensing, Elyse failed to ensure that Ms. Shulman held a joint interest in the
                       13   operator licenses. When Ms. Shulman and Brandon sought clarification from Elyse
                       14   and information regarding the status, Elyse either ignored them completely or took
                       15   multiple weeks to respond.
                       16         117. This breach of the parties’ agreement and business objectives poses
                       17   many problems for Ms. Shulman. Houghton’s and Elyse’s refusal to include
                       18   Ms. Shulman as an owner on the applications for cultivation licenses has resulted
                       19   in Ms. Shulman’s inability to access any information related to any current and
                       20   expired licenses related to Iron Angel. Without access, Ms. Shulman is prevented
                       21   from continuing the licensing process and, importantly, remedying any issues that
                       22   have arisen due to Kaplan’s failure to timely renew the operator licenses, including
                       23   remedying Notices of Violation, completing County and State requirements
                       24   (including Fish & Wildlife and the Water Board), or ensuring all necessary permits
                       25   have been obtained. Without access and the ability to remedy the problems the
                       26   Kaplans created, Ms. Shulman’s ability to cultivate cannabis on her farm is
                       27   threatened.
                       28


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                        1         F.     Defendants’ Breaches of the Cultivation Agreement and
                                         Wellsprings Agreement Continue and Escalate
                        2

                        3         118. Defendants breached the Cultivation Agreement and the Wellsprings
                        4   Agreement from the moment they were entered into, as set forth above. While
                        5   Ms. Shulman continued to perform all of her obligations under the agreements—
                        6   and, indeed, while both Ms. Shulman and Brandon Shulman were forced to take
                        7   on significant additional responsibilities to make up for Vertical’s failures—
                        8   Defendants’ breaches continued and escalated.
                        9         119. Section 6 of the Cultivation Agreement required NCAMBA9 to share
                       10   equally the balance of the net income from the 2017 Iron Angel cultivation
                       11   activities (after deducting some revenue for a reserve and to make payments to
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                       12   identified third parties). Section 6 also required NCAMBA9 to pay the collectives
                       13   50 percent of the net income from post-2017 crops on each of the properties. Net
                       14   Income is defined in the Cultivation Agreement as “gross revenue from the sale of
                       15   cannabis or cannabis derivatives cultivated at the Property less Operational
                       16   Expense actually incurred . . . .” Operational Expenses include “costs stemming
                       17   from or relating to the Cultivation Operation on the Properties and the
                       18   performance of [Vertical’s cultivation] responsibilities,” but Vertical was solely
                       19   responsible for “salaries, expenses and charges for Representatives, officer,
                       20   director, managers, agents, attorneys, advisors, consultants which [Vertical]
                       21   employs or retains to operate as [Vertical] (other than agriculture workers who are
                       22   members of the Collective and then, only to the extent they are actually providing
                       23   services on the Properties.” Section 5.5 of the Cultivation Agreement required
                       24   Vertical “in the course of operations, [ ] provide financial documents to the
                       25   Collectives on a quarterly basis. The financial documents [were to] detail the
                       26   Operational Expenses that constitute the expenses of operation and revenue
                       27   received from operations.” The Wellsprings Agreement included these same
                       28   requirements.

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                        1         120. Vertical breached these and other express obligations. With
                        2   Jeff Silver’s oversight, endorsement, and substantial assistance as CFO, Vertical
                        3   violated virtually every term in the parties’ agreements related to business
                        4   finances. Mr. Silver failed timely to pay all Operational Expenses with respect to
                        5   the Cultivation Operations on Iron Angel, Sisters and Wellsprings. He failed to
                        6   provide to Ms. Shulman quarterly financial reports and intentionally
                        7   misrepresented (and thus failed also to provide) the Operational Expenses that
                        8   constitute the expenses of operation and revenue received from operations on the
                        9   properties. When asked about inappropriately billed “operational expenses,”
                       10   Mr. Silver ignored Brandon and Ms. Shulman and made none of the necessary
                       11   adjustments to expenses. The falsification of the financial statements was a breach
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                       12   of the express prohibition against untrue statements of material fact (or omissions
                       13   of them) in financial reports prepared by Vertical.
                       14         121. The Shulmans eventually learned why Mr. Silver was not making
                       15   necessary adjustments or keeping her informed as required under the contract:
                       16   Mr. Silver was keeping two sets of books for Vertical. Most, if not all, of the
                       17   revenue generated in 2017 and early 2018 was received in cash. Ms. Shulman
                       18   learned in early 2019 that Vertical had kept two sets of books in an effort to
                       19   underreport taxes for sales in 2017. Vertical operated on a cash-only basis in order
                       20   to avoid declaring revenue to the IRS. The Profit and Loss statement for 2017
                       21   showed revenue of $1,775,057. Kaplan reported to Ms. Shulman at the same time
                       22   that gross revenue was $2,704,368 from Iron Angel and $300,325 from Sisters, for
                       23   a total of $3,004,693. Brandon Shulman asked Mr. Silver to explain the
                       24   discrepancy in the financials, and Mr. Silver stated that because Vertical’s revenue
                       25   was all cash, Kaplan decided not to declare it all. In order to hide the actual
                       26   amount, Kaplan directed Silver to prepare two sets of financial records. Mr. Silver
                       27   thus admitted to Brandon Shulman that his bookkeeping efforts were designed to
                       28   defraud the tax authorities.

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                        1         122. In addition to manipulating and falsifying the company’s financial
                        2   records, Mr. Silver was the gatekeeper to Vertical’s payment of funds. In that role,
                        3   Mr. Silver failed timely to pay vendors, requiring Ms. Shulman or her son
                        4   repeatedly, and unsuccessfully, to contact Mr. Silver. Ms. Shulman received
                        5   countless phone calls and emails from these vendors about Vertical’s refusal to
                        6   pay them. On one occasion, a long-time vendor of Ms. Shulman’s, who had been
                        7   given the run-around by Vertical, felt compelled to show up at Vertical’s Agoura
                        8   Hills office to demand payment of $100,000 Vertical owed him. Ms. Shulman had
                        9   spent years developing relationships with these vendors, and Mr. Silver’s and
                       10   other Defendants’ actions were damaging those relationships. Mr. Silver also
                       11   failed or refused to reimburse Ms. Shulman for the operational expenses she had
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                       12   covered after the Cultivation Agreement had been signed.
                       13         123. One contractor, who Vertical owed $215,000, and who had not been
                       14   paid for several months after his work was complete, took out a mechanics’ lien on
                       15   Ms. Shulman’s property. Brandon Shulman frequently asked Kaplan, Mr. Milburn,
                       16   and Mr. Silver to stay on top of payments in order not to destroy the goodwill
                       17   Ms. Shulman had built up. Defendant Elyse Kaplan, as Vertical’s counsel, knew or
                       18   should have known that having a lien on the property would jeopardize the
                       19   licenses to cultivate on Iron Angel and Wellsprings. Yet, she failed to take steps to
                       20   ensure Vertical executives took actions to preserve the licenses.
                       21         124. In connection with Mr. Silver’s actions described above, Vertical
                       22   failed to pay the collectives their full share of the 2017 harvest, because it had
                       23   been recording impermissible expense deductions, such as compensation,
                       24   transportation and professional services for non-agricultural personnel (which
                       25   adversely affected the net income payable to the collectives). As a result of these
                       26   breaches alone, Defendants have damaged Ms. Shulman in excess of $650,000. On
                       27   January 24, 2019, Ms. Shulman’s counsel put Vertical on notice that its payment
                       28   of net profits for product sold was in arrears, adding that Vertical’s failure to

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                        1   timely compensate the collectives would result in default and potential termination
                        2   of the Cultivation Agreement.
                        3         125. Vertical’s breaches of the parties’ agreements continued through
                        4   2018. Because Vertical was unable to fund the operational expenses it agreed to
                        5   pay, Ms. Shulman loaned the business her life savings to support operations.
                        6   Vertical failed to make Ms. Shulman whole, as it was required to do. In addition,
                        7   Vertical harvested 22,000 pounds of cannabis from Wellsprings and never
                        8   compensated Ms. Shulman or provided any accounting whatsoever.
                        9         126. Vertical also failed to pay a variety of the operational expenses
                       10   “stemming from or relating to the Cultivation Operation on the Properties,”
                       11   including costs that Ms. Shulman incurred for “the mortgage, the real property
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                       12   taxes and . . . rent and real property taxes [Ms. Shulman] incurred under its lease
                       13   for [the Sisters’ Property].” These expenses also included payments to vendors
                       14   who provided valuable services to the business. As a result, on February 1, 2019,
                       15   Ms. Shulman’s attorney sent an Additional Notice of Default to Kaplan’s attorney.
                       16   Ms. Shulman demanded that Defendants’ breaches be remedied within 10 days, as
                       17   required by the Cultivation Agreement. Vertical did not comply with the Notice of
                       18   Default and remedy any of the identified breaches.
                       19         127. Despite the parties’ obligation to keep “Frannie Shulman . . . actively
                       20   engaged in the Cultivation Operations” and to “use good faith efforts to coordinate
                       21   their respective activities to achieve the best agricultural results practicable,”
                       22   Drew Milburn (Vertical’s Chief Operating Officer) and others at Vertical
                       23   eventually ceased communicating with Ms. Shulman. Though Mr. Milburn had at
                       24   all times coordinated product sales with Ms. Shulman, he abandoned that practice
                       25   without explanation or notice. On April 18, 2018, Mr. Milburn sought permission
                       26   to sell trim (essentially, the leaves from the cannabis plant) at $100 a pound to
                       27   Kaplan’s affiliate in Needles, California, but then Mr. Milburn sold the trim for
                       28   just $30 a pound. Thereafter, Mr. Milburn sold flower (the bud) to Kaplan’s

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                        1   Needles affiliate from both the remaining 2017 and 2018 harvests for just $150 per
                        2   pound (when market value was clearly $250 to $300 or more per pound) without
                        3   involving Ms. Shulman, as he was obligated to do. Mr. Milburn also sold product
                        4   to other distributors, without involving Ms. Shulman or disclosing the sales price.
                        5         128. When Ms. Shulman raised questions about Mr. Milburn’s failure to
                        6   obtain market value for the product, Mr. Milburn invited Ms. Shulman to talk to
                        7   distributors to determine what price she could get. Brandon Shulman then had two
                        8   licensed distributors inspect the product, both of whom were surprised at the
                        9   inefficient and apathetic manner in which Kaplan’s team was harvesting and
                       10   packaging product for sale. Both distributors said that Kaplan could have obtained
                       11   at least twice the price at which product was being sold to Kaplan’s Needles
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                       12   affiliate. The yield and price would have been even higher if Kaplan’s team had
                       13   harvested and packaged the product correctly.
                       14         129. Kaplan’s “inside sales” to an affiliate at prices well below market
                       15   value and its failure to harvest and package correctly are a breach of the
                       16   Cultivation Agreement and Wellsprings Agreement, which required Vertical to use
                       17   its “Best Efforts” to manage operations in the most efficient and effective manner
                       18   possible. Vertical had a duty to the collectives to use “good faith efforts to
                       19   coordinate their respective activities to achieve the best agricultural results
                       20   practicable.”
                       21         130. By early 2019, Kaplan refused to sell, despite a substantial market for
                       22   licensed product, approximately 7,500 pounds of remaining Iron Angel packaged
                       23   product. Kaplan and his team refused to sell the remaining product because they
                       24   were waiting for Vertical’s dysfunctional Needles facility to process what it
                       25   already purchased so it could then buy more. Indeed, Kaplan’s team informed
                       26   Ms. Shulman that the product waiting at Iron Angel and Wellsprings was
                       27   “assigned to or claimed by” Kaplan’s affiliate specifically for projects at the
                       28   Needles facility. When the time came, Kaplan sold cannabis harvested from Iron

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                        1   Angel and Wellsprings at significantly reduced rates so that Kaplan’s affiliates
                        2   could turn around and sell derivative products at a profit, thereby circumventing
                        3   his profit-sharing agreements with Ms. Shulman. All profits from these
                        4   transactions were diverted straight into Defendants’ pocket.
                        5         131. In fact, Defendants never intended to honor their obligations to
                        6   Ms. Shulman. Ms. Shulman (through the collectives) has never been paid a dime
                        7   for any harvested product since entering into the Cultivation Agreement and the
                        8   Wellsprings Agreement. Defendants never intended to maximize profits for
                        9   Ms. Shulman’s benefit. Instead, part of their fraudulent scheme was to leverage
                       10   Ms. Shulman’s assets and hard work to supply their own facility at Needles with
                       11   low-cost cannabis product, so they could turn around and make highly profitable
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                       12   sales further down the chain of distribution that would never benefit Ms. Shulman.
                       13   Significantly, Defendants never provided the necessary manufacturing facilities,
                       14   which was key to the Cultivation Agreement and the Wellsprings Agreement and
                       15   would have substantially increased revenue and profits.
                       16         G.     Defendants Attempt to Manipulate Ms. Shulman Into Voluntarily
                                         Forfeiting Her Rights
                       17

                       18         132. By late fall 2018, Kaplan and his cohorts had almost completely
                       19   ceased communicating with Ms. Shulman despite their obligations under the
                       20   contracts in place. Ms. Shulman and Brandon Shulman made repeated requests to
                       21   various Defendants on multiple issues but were ignored. Ms. Shulman repeatedly
                       22   asked to meet with Kaplan, but her requests went unacknowledged for months.
                       23         133. On November 28, 2018, Ms. Shulman managed to get Mr. Milburn’s
                       24   attention, after which she began to understand why Kaplan was ignoring her.
                       25   Mr. Milburn called Ms. Shulman in preparation of her November 30th meeting
                       26   with Kaplan, and he told her that Kaplan intended to offer her equity in the
                       27   “mothership” in exchange for Wellsprings. He told her this was a “generous offer”
                       28   and she should accept it. Mr. Milburn told Ms. Shulman that he did not want

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                        1   Brandon Shulman included in conversations about this “deal.” Of course,
                        2   Ms. Shulman did talk to her son and told Mr. Milburn that any conversations
                        3   regarding the business must include Brandon (because Ms. Shulman felt
                        4   intimidated by the way Mr. Milburn had been speaking to her). In response, and
                        5   completely justifying her hesitation, Mr. Milburn screamed “fuck you” at them
                        6   and hung up the phone.
                        7         134. Kaplan eventually summoned Ms. Shulman to his office in Agoura
                        8   Hills, allotting a single hour, to discuss the parties’ “financial arrangement.” On
                        9   November 30, 2018, Ms. Shulman and Brandon met Kaplan and Mr. Milburn in
                       10   the Agoura Hills office. Kaplan informed the Shulmans that Vertical needed to
                       11   raise more capital and thus Ms. Shulman would no longer be entitled to a 50-50
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                       12   profit split. This conversation coincided with the beginning of a massive harvest
                       13   on Wellsprings that Defendants knew would yield millions of dollars in profits.
                       14   With the intent to defraud Ms. Shulman, Kaplan proposed that, in exchange for
                       15   him obtaining full title to Wellsprings, Kaplan would give Ms. Shulman a one
                       16   percent equity interest in Vertical. Kaplan told Ms. Shulman that he decided that
                       17   Wellsprings was “not going to be a profit center” because he would “make sure”
                       18   that the price of products matched expenses. Kaplan used this threat to manipulate
                       19   prices and expenses on Wellsprings to try to force Ms. Shulman to give up her
                       20   rights in exchange for his “generous offer” of a one percent interest in the
                       21   company. In other words, as he had done so often with others, Kaplan attempted to
                       22   use the false promise of a valuable investment in Vertical to avoid his contractual
                       23   and financial obligations. During this same conversation, Kaplan told
                       24   Ms. Shulman he would “bury” her in litigation if she did not go along with his
                       25   plan. This threat mirrored similar threats Kaplan has made against others,
                       26   including Mr. and Mrs. Lugli.
                       27         135. On December 14, 2018, Kaplan attempted to bully Ms. Shulman with
                       28   a letter containing a “take it or leave it” proposition that bore no resemblance to

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                        1   the parties’ contractual relationship. Acknowledging and affirming his contractual
                        2   obligations—including his obligations under the Wellsprings Agreement pursuant
                        3   to which the parties had been performing but which had not been reduced to
                        4   writing, Kaplan admitted that his offer was “a change in the deal.” With the
                        5   Shulmans’ substantial contributions and hard work, the business had become
                        6   wildly successful, but Kaplan nonetheless wrote that that his continued
                        7   “investment would not make sense on [Wellsprings] if the Company had to split
                        8   the proceeds on all the incremental grow.” In other words, Kaplan wanted to keep
                        9   all of the profits for his enterprise and cut Ms. Shulman out of the deal.
                       10   Furthermore, his threats and assertions were made without providing Ms. Shulman
                       11   any information regarding finances or operations on the properties. Nor did Kaplan
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                       12   explain why Defendants had abandoned Sisters, why Defendants had failed to
                       13   install manufacturing facilities on the properties, or why Defendants had failed to
                       14   utilize, or even prepare to utilize, the full cultivable acreage on the properties.
                       15   Believing she had no alternatives, Ms. Shulman attempted to consider the options
                       16   Kaplan purported to offer, even though none of them resembled the original deal.
                       17         136. Even if Kaplan could not defraud Ms. Shulman into voluntarily
                       18   giving up her substantial rights to the business and the properties, Defendants
                       19   hoped to at least buy time—valuable time. The risk to Defendants was that their
                       20   breaches would catch up with them, causing Ms. Shulman or Mr. Lugli to
                       21   terminate Defendants’ rights under the various contracts in place before
                       22   Defendants could finish harvesting 16 acres of cannabis on Wellsprings. They
                       23   were desperate to stay on the properties for at least three reasons. First, they
                       24   needed occupancy and on-going operations to steer investors to Vertical. The
                       25   properties were essential to their plan to strike it rich with an IPO. It was essential
                       26   that they be able to bring investors to the properties and to use images of the
                       27   properties in their printed and online marketing. And it was essential that they lie
                       28   to investors that they owned the property and the business, when in fact they

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                        1   owned none of the properties and were contractually bound to a 50-50 profit split
                        2   with Ms. Shulman. Indeed, Defendants were not even leaseholders on the
                        3   properties, but were instead subject to contractual termination provisions. Second,
                        4   they needed to harvest the cannabis on Wellsprings, so they could sell it to their
                        5   own affiliate and take all of the profits. Third, they needed to entrench themselves
                        6   on Wellsprings to make it more likely that Mr. Lugli would sell Wellsprings to
                        7   Kaplan after Kaplan failed to close on the deal that would have made Ms. Shulman
                        8   an owner.
                        9         137. Kaplan was not alone in executing on this plan. At the time Kaplan
                       10   was making his “take it or leave it” offer, Robert Scott falsely assured
                       11   Ms. Shulman that she need not worry because “there is enough money to go
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                       12   around.” He assured Ms. Shulman that Vertical wished to reach an amicable
                       13   resolution. In addition, after months of silence regarding branding Iron Angel, on
                       14   November 26, 2018, Vertical’s branding manager, Kevin Henry, reached out to
                       15   Ms. Shulman to give her “a quick update.” But, just as quickly, he stopped
                       16   communicating. On February 2, 2019, a bewildered Ms. Shulman wrote: “It’s
                       17   strange to not be hearing anything back from you.”
                       18         138. Discussions directly with Kaplan ended on December 26, 2018. On
                       19   December 27, 2018, Smoke Wallin (then Vertical’s CEO) emailed Ms. Shulman
                       20   telling her he was the person authorized to negotiate a resolution on Vertical’s
                       21   behalf. He claimed to be disinterested, saying he was not “emotionally attached” to
                       22   anything that had already happened. In reality, he was working exclusively at
                       23   Kaplan’s direction. When nothing came of Mr. Wallin’s contrived efforts, he sent
                       24   Ms. Shulman the following text on January 4, 2019: “Ok, well I know
                       25   substantially where we are. Bottom line we will simply honor the original deal as
                       26   discussed. I’ll have Charles [Houghton] draw up an addendum to the agreement to
                       27   add Wellsprings and clarify some of the points we discussed. Keeping it simple
                       28   and let’s move on together.” Thus, Mr. Wallin, on behalf of Vertical and Kaplan,

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                        1   also acknowledged and affirmed the parties’ contractual agreements, including the
                        2   Wellsprings Agreement (i.e., “the original deal”).
                        3         139. On January 6, 2019, while waiting for the “addendum” Mr. Wallin
                        4   had referenced, Ms. Shulman demanded a meeting with Defendants to clarify the
                        5   roles of all participants going forward. There was no response. And despite
                        6   Mr. Wallin’s assurances that the parties would “move on together” under the
                        7   “original deal,” Defendants never followed through on the promise. In fact,
                        8   Mr. Wallin never intended to have Vertical “honor the original deal.” Instead, like
                        9   Kaplan and others, he used the “negotiations” to stall while Vertical continued to
                       10   harvest and sell more and more cannabis from Wellsprings. For example, in early
                       11   2019, Vertical sold 3,800 pounds of cannabis from Wellsprings. On January 19,
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                       12   2019, Ms. Shulman’s attorney requested an update from Houghton and
                       13   Defendants. Houghton delayed responding, and ultimately no answer was
                       14   provided.
                       15         H.     Defendants’ Actions Force Termination of Cultivation Agreement
                                         and Cause Loss of Wellsprings
                       16

                       17         140. Defendants’ actions and their failures to cure significant breaches
                       18   ultimately forced Ms. Shulman to exercise her right to terminate the Cultivation
                       19   Agreement, which meant terminating the parties’ business relationship on Iron
                       20   Angel. Defendants also forced Mr. Lugli to evict the parties from Wellsprings,
                       21   resulting in the loss to Ms. Shulman of cannabis operations on that property and
                       22   ownership of the property.
                       23         141. On January 9, 2019, Courtney Dorne showed up at Iron Angel
                       24   unannounced and told Ms. Shulman and Brandon Shulman that Kaplan would
                       25   “drag them through litigation” if Ms. Shulman did not agree to his demands. By
                       26   late January 2019, the tone of Defendants’ communications had changed even
                       27   more. On January 24, 2019, Vertical’s new attorney, Fred Gartside, told
                       28   Ms. Shulman that she had no ownership interest in Wellsprings and that, if she

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                        1   wanted any part of the business on Wellsprings, she was required to pay
                        2   $3,750,000 to “buy-in” to the “ownership group” for a 25 percent share in net
                        3   profits. This, of course, was completely divorced from the contractual obligations
                        4   already in place. Ms. Shulman’s attorney reminded Mr. Gartside and Vertical that
                        5   it was Ms. Shulman who brought the Wellsprings opportunity to them and that she
                        6   was entitled to 50 percent ownership. He also reminded Defendants that Kaplan
                        7   and Vertical remained in default of the contracts in place, which would be
                        8   terminated if the breaches were not cured. Mr. Gartside continued to “negotiate”
                        9   over contract terms that were already settled, accomplishing precisely what Kaplan
                       10   wanted: further delay while the crops on Wellsprings were harvested and while he
                       11   prepared to make a separate offer to Mr. Lugli to eliminate Ms. Shulman from the
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                       12   equation.
                       13         142. In late January, Ms. Shulman obtained financial information that
                       14   confirmed many of the suspected problems with Vertical’s bookkeeping. In
                       15   particular, Vertical had been maintaining two sets of financials (in order to avoid
                       16   tax consequences), had recorded improper deductions and expenses, and had
                       17   underreported net profit in order to deprive Ms. Shulman of her share in those
                       18   profits. Ms. Shulman’s attorney, again, put Vertical on notice of default and, on
                       19   February 1, 2019, demanded that Vertical pay to Ms. Shulman the net income due
                       20   pursuant to the parties’ agreements. Kaplan did not comply. Rather than remedy
                       21   the defaults, Kaplan refused to fund escrow on Wellsprings by the February 25,
                       22   2019 deadline, placing Ms. Shulman in default on the Wellsprings lease and
                       23   depriving her of ownership of the property.
                       24         143. On February 25, 2019, Ms. Shulman terminated the Cultivation
                       25   Agreement, thereby extinguishing the parties’ business relationship. On March 12,
                       26   2019, due to Kaplan’s failure to close on the property, Mr. Lugli evicted the
                       27   parties from Wellsprings. Vertical, however, refused to leave the property until
                       28   they had completed the harvest and removed the cannabis product. Astonishingly,

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                        1   Kaplan then approached Mr. Lugli—twice—to purchase Wellsprings directly from
                        2   him. Mr. Lugli rejected both offers, and his attorney noted that Kaplan’s efforts to
                        3   subvert Ms. Shulman’s offer in favor of his own was illegal.
                        4         I.      Kaplan Retaliates and Maliciously Files Suit Against
                                          Ms. Shulman, Following Through on Promise to “Bury” Her in
                        5                 Litigation
                        6         144. After Defendants caused the loss of Wellsprings, Ms. Shulman
                        7   returned to her permanent residence on Iron Angel and continued her cannabis
                        8   operation on the property that she had begun years before meeting Kaplan. But
                        9   true to Kaplan’s promise to “bury” Ms. Shulman in litigation, Kaplan quickly sued
                       10   Ms. Shulman in Superior Court in Santa Barbara. Through his entity, Iron Angel
                       11   II, LLC, Kaplan claimed—contrary to the express terms of the Cultivation
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                       12   Agreement—that he and Defendants had the exclusive right to occupy all of Iron
                       13   Angel and to operate a cannabis business on the property, ousting Ms. Shulman
                       14   from the property and her home and taking all the proceeds for Defendants’
                       15   enterprise.
                       16         145. Kaplan’s basis for this outrageous and wholly implausible claim was
                       17   that the Cultivation Agreement had been superseded by the lease that Houghton
                       18   and Kaplan had fraudulently obtained from Ms. Shulman for the supposed purpose
                       19   of obtaining licenses for cannabis cultivation. Kaplan sought emergency relief
                       20   from the court, arguing that Ms. Shulman should be kicked out of her house and
                       21   removed from the property altogether and that he and Defendants should be given
                       22   possession and the exclusive right to operate the business that had been governed
                       23   by the Cultivation Agreement. Kaplan and his attorneys attempted to hide the
                       24   Cultivation Agreement from the court, failing to inform the court that the
                       25   Cultivation Agreement was the basis for the parties’ business on Iron Angel and
                       26   governed the parties’ performance and obligations. They also failed to provide the
                       27   court any of the written communications with the Shulmans in which Houghton
                       28   had represented that the lease was solely for the purpose of obtaining licenses.

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                        1   Furthermore, in an attempt to cover up the fraud perpetrated with the lease, they
                        2   lied to the Court, saying that had always paid rent under the lease. In fact, they had
                        3   written only one check for “rent”—a check they tried to give Ms. Shulman on
                        4   March 7, 2019, immediately before suing her, knowing that if she accepted it, they
                        5   could at least claim to have paid rent once. She rejected the check, but they sued
                        6   anyway.
                        7         146. Kaplan and Defendants Charles Houghton, Elyse Kaplan, and Matt
                        8   Kaplan all submitted statements to the court in support of the case against Ms.
                        9   Shulman. Ms. Kaplan’s sworn statement misrepresents to the court the status and
                       10   efforts of Kaplan and Vertical regarding its licenses on Iron Angel and fails to
                       11   acknowledge the Cultivation Agreement or that Ms. Shulman is a rightful owner
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                       12   of any and all licenses on the property. Ms. Kaplan also acknowledges that she
                       13   contacted regulators with false accusations about the Shulmans and thus she aided
                       14   Vertical in its efforts to strip Ms. Shulman of the licenses necessary to operate her
                       15   cannabis business. She also misrepresented to the court she understood that
                       16   Brandon Shulman and Drew Simons (his lawyer) were taking steps to remedy
                       17   violations raised by regulators in a Notice of Violation, when in fact Ms. Kaplan
                       18   was fully aware that Brandon did not have the requisite access to remedy any
                       19   issues with regard to the notices. Ms. Kaplan made all of the statements to assist
                       20   the enterprise in stealing Ms. Shulman’s cannabis business. In aid of the
                       21   enterprise, Matt Kaplan told the court that he believed the Shulmans would use
                       22   physical force, including firearms, to keep him off the property after the
                       23   Cultivation Agreement was terminated, when in fact Mr. Kaplan knows that he
                       24   was politely handed the termination letter when he returned to Iron Angel and was
                       25   not threatened in any way. For his part, Todd Kaplan misrepresented the stated
                       26   purpose of the lease, omits any reference to the Cultivation Agreement, and
                       27   fabricated claims of “devastating” harm if he were not allowed to return to Iron
                       28   Angel.

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                        1         147. In early April 2019, the court gave Kaplan the right to enter
                        2   Iron Angel on certain terms and the exclusive right to operate the cannabis
                        3   business. Having received this temporary order from the court, Defendants
                        4   immediately returned to Iron Angel and began harassing and intimidating
                        5   Ms. Shulman at the doorstep of her house. For example, in violation of the court’s
                        6   order, which allowed only ingress and egress from the property, defendants parked
                        7   a car on the property every night with two men in it. On the first night, they
                        8   intimidatingly parked outside of Ms. Shulman’s house. When Kaplan’s lawyer told
                        9   them to leave because they were violating the court’s order, they refused to leave
                       10   and moved even closer to the house. In order to continue this intimidation, they
                       11   lied, claiming that the car was for security for their workers, even though the few
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                       12   workers assigned to the property were gone by 5:00 P.M. They repeated this lie not
                       13   only to Ms. Shulman, but also to the court.
                       14         148. Over time, Defendants increased the intimidation and harassment,
                       15   playing loud music at night, urinating on the property, turning the engine of the car
                       16   on and off to cause the dogs to bark repeatedly in the middle of the night. The sole
                       17   purpose of the “security” vehicle was to harass Ms. Shulman and to harm her in
                       18   whatever way they could.
                       19         149. The court’s order made Kaplan and Vertical solely responsible for the
                       20   care of all plants to ensure successful 2019 harvests on Iron Angel. Under
                       21   Kaplan’s management, however, Vertical failed to properly manage the harvest
                       22   and failed to obtain proper licenses to operate on Iron Angel. They also engaged in
                       23   multiple regulatory violations, including employing an underaged worker. And
                       24   they were cited, again, by the County of Santa Barbara for numerous violations on
                       25   the property.
                       26         150. Kaplan used the legal proceedings to cause damage to Ms. Shulman
                       27   and to create substantial chaos and harm to Ms. Shulman’s cannabis cultivation
                       28   operation on Iron Angel. For instance, Vertical failed to pay the most basic

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                        1   expenses on the property, such as comprehensive insurance and PG&E to ensure
                        2   electricity ran to the greenhouses. Vertical received Notices of Violation from the
                        3   California Water Board, which it ignored, which will result in substantial daily
                        4   fines. Vertical allowed all of the temporary licenses to operate on Iron Angel to
                        5   expire and otherwise failed to pursue licenses to ensure cultivation could continue
                        6   on the property. Defendants failed to prep the fields for planting, and they failed to
                        7   take care of young plants in the greenhouse; they also failed to make clones to
                        8   ensure a successful future harvest. Vertical left significant cannabis waste in totes
                        9   outside the greenhouses in violation of regulations associated with such waste. In
                       10   short, they caused significant damage to the 2019 cultivation season, imperiling
                       11   Ms. Shulman’s efforts at mitigating damages Defendants had caused under the
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                       12   Cultivation Agreement, as well as her efforts to reestablish the business for
                       13   successful harvests in future years.
                       14         151. Defendants imposed substantial attorneys’ fees and costs on
                       15   Ms. Shulman, only to abandon the property, leaving the business in shambles.
                       16   With no notice to Ms. Shulman, who had laid off a dozen or more workers when
                       17   Kaplan took over the business again, Kaplan suddenly decided to abandon the
                       18   property and voluntarily dissolve the court’s order. Defendants then left the
                       19   property, using the excuse that the business could not be salvaged because
                       20   Ms. Shulman had damaged all the plants. This, of course, was another lie, easily
                       21   disproven with photographic evidence.
                       22         152. Kaplan’s attorney then propounded extensive discovery on
                       23   Ms. Shulman and demanded numerous depositions, imposing additional fees and
                       24   costs on Ms. Shulman. Counsel for Ms. Shulman responded to discovery and
                       25   prepared to take and defend multiple depositions, including protracted efforts to
                       26   secure the deposition of Charles Houghton, who had successfully evaded service at
                       27   his home in Colorado for weeks. But then, with no explanation whatsoever,
                       28   Kaplan’s attorney announced that Kaplan was voluntarily dismissing his case. This

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                        1   announcement was coupled with a threat that Kaplan could bring his claims at
                        2   another time in another forum—in other words, that Kaplan could at any time
                        3   attempt once again to steal Ms. Shulman’s business and property using the lease.
                        4         153. On information and belief, Kaplan came to realize that by suing
                        5   Ms. Shulman in superior court to re-gain control over the cultivation business that
                        6   was established and governed by the Cultivation Agreement, he had made a
                        7   serious miscalculation. He had waived the provision in the Cultivation Agreement
                        8   requiring that disputes be mediated and arbitrated—which would allow
                        9   Ms. Shulman to pursue her claims against him in court, where a jury would decide
                       10   liability and damages. Kaplan was right about that.
                       11         J.     Defendants’ Conduct Caused Substantial Financial and Other
                                         Harm
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                       12

                       13         154. Defendants’ conduct has resulted in substantial financial and other
                       14   harm to Plaintiffs. For purely financial losses, Plaintiffs have been damaged in an
                       15   amount not less than $67 million (an amount that does not include the substantial
                       16   monetary damage Ms. Shulman sustained from the loss of her ownership interest
                       17   in Wellsprings and Defendants’ failure to develop and promote the Iron Angel
                       18   brand). Plaintiffs are also entitled to treble damages and punitive damages for
                       19   fraud, amounting to no less than $200 million.
                       20         155. Defendants have failed to pay any amounts due under for the
                       21   cultivation of cannabis on Iron Angel, Sisters, and Wellsprings. The few financial
                       22   documents that have been made available to Ms. Shulman indicate that Defendants
                       23   were improperly calculating profits from the 2017 Iron Angel and Sisters cannabis
                       24   harvests and sales. Defendants thus intended to defraud Ms. Shulman, dramatically
                       25   underestimating amounts due by making improper deductions from the gross
                       26   revenue for non-agricultural staff compensation and travel expenses, as well as
                       27   inflated costs for plants, soil, and landscape.
                       28


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                        1         156. Defendants also deprived Plaintiffs of profits due to them from Iron
                        2   Angel’s 2018 harvest. Vertical sold, without compensating Ms. Shulman, at least
                        3   3,800 pounds of cannabis that year. Then, due to Defendants’ breaches of the
                        4   Cultivation Agreement, Ms. Shulman was forced to sell the remaining 6,200
                        5   pounds of cannabis at greatly reduced prices. This was due largely to Vertical’s
                        6   complete mismanagement and operation failures, including the failure to store and
                        7   package the product correctly, causing it to mold. Defendants also harvested at
                        8   least 22,000 pounds of cannabis from Wellsprings in 2018 and have paid
                        9   Ms. Shulman nothing.
                       10         157. The financial harm for the 2017 and 2018 harvests on all properties is
                       11   multiplied due to Defendants’ failure to meet the contractual requirement of
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                       12   providing on-site manufacturing, which would have allowed for sales at much
                       13   higher prices. Defendants instead improperly sold product to their own affiliate at
                       14   greatly reduced prices, so the affiliate could manufacture the product for final sale,
                       15   fraudulently steering all profits to Defendants alone. For just the 2017 and 2018
                       16   harvests, Plaintiffs have been damages in an amount no less than $5 million.
                       17         158. Defendants’ actions described herein have also deprived Ms. Shulman
                       18   of future profits for cultivation on all three properties—amounts that Defendants
                       19   themselves have calculated for investors and thus are reasonably certain. These
                       20   damages are no less than $60 million, based on Defendants’ own plans and
                       21   projections. Wellsprings, for example, was to be one of the largest cannabis grows
                       22   in the world in 2019, and Ms. Shulman was entitled to 50 percent of those profits.
                       23   Among other statements, Vertical told its investors that it had made sales in excess
                       24   of $500,000 from Wellsprings in February 2019 and expected an additional
                       25   $10 million in outdoor flower sales—all for the 2018 harvest.
                       26         159. Defendants have caused other financial harm, including the failure to
                       27   pay Ms. Shulman for a loan she made to Kaplan; for money owed for living
                       28   expenses and other work done by Ms. Shulman; for money spent by Ms. Shulman

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                        1   for living quarters; for 50 percent of infrastructure and equipment removed from
                        2   Sisters, taken to Wellsprings, and then ultimately removed from Wellsprings and
                        3   not returned; for unpaid vendors; for damage to Ms. Shulman’s property on Iron
                        4   Angel; and for the damages caused to Ms. Shulman by Defendants’ malicious
                        5   prosecution, as alleged herein.
                        6         160. Defendants’ fraudulent conduct also deprived Ms. Shulman of her
                        7   ownership interest in Wellsprings, a property that, by Defendants’ own
                        8   admissions, was dramatically increasing in value.
                        9         161. Defendants’ failure to live up to their obligations to develop and
                       10   promote the Iron Angel brand has also resulted in monetary damages in the
                       11   millions of dollars.
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                       12         162. Defendants’ infliction of emotional distress on Ms. Shulman also
                       13   resulted in substantial harm. After months of referring to Ms. Shulman as “family”
                       14   and expressing hope for a long-term relationship, Kaplan and other Defendants
                       15   embarked on a campaign of emotional torture. They screamed profanities at her,
                       16   told her to “stay behind the fence like the old lady she is,” called her “stupid,”
                       17   “greedy” and a “loser,” and told her she “had not worked hard enough,” and did
                       18   “not deserve any of the business.” Defendants made veiled threats to Ms. Shulman
                       19   by arriving on her property in black masks, parking close to her home in the
                       20   middle of the night, causing other disturbances outside her home in the night, and
                       21   intimidating her while driving on the freeway. Kaplan threatened to bury her in
                       22   litigation if she failed to comply with his demands to allow Vertical to take over
                       23   the business. Defendants also sought to ruin Ms. Shulman financially and to ruin
                       24   the reputation she had spent years developing in the community. Defendants
                       25   robbed her of her share of profits, destroyed her home, tarnished her reputation in
                       26   the community, took her life savings, and left her living in a destroyed “house” on
                       27   Iron Angel with little more than four walls. Kaplan then kept his promise and sued
                       28   Ms. Shulman to obtain possession of Iron Angel. Defendants also engaged in

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                        1   vandalism of Ms. Shulman’s property and violated the terms of temporary
                        2   restraining order to harass and intimidate her.
                        3         163. Ms. Shulman’s distress has manifested itself in a variety of physical
                        4   and emotional ways, as set forth below.
                        5         K.     Ms. Shulman Is Not Defendants’ Only Victim
                        6         164. As Defendants have sought to muscle their way into the California
                        7   cannabis industry at several levels simultaneously, they have been desperate to
                        8   portray Vertical as a company with significant assets and relationships. Their
                        9   misrepresentations in support of that goal have victimized not only Ms. Shulman,
                       10   but many other parties.
                       11                                  Dr. Donald Davidson
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                       12         165. Dr. Davidson is a medical doctor who has been involved in the
                       13   medical cannabis field in California for many years. In 2017, Dr. Davidson met
                       14   Todd Kaplan at a meeting of a business networking organization known as the
                       15   Young Presidents Organization. Mr. Kaplan agreed, on behalf of Vertical, to be
                       16   part of a 50/50 joint venture into the “Dr. D” brand of cannabis products (CBD
                       17   oils, capsules, vape cartridges, etc.). Kaplan promised that Vertical could provide
                       18   state of the art manufacturing facilities, marketing/branding support, packaging, a
                       19   full-service sales team, and statewide distribution. Based on Kaplan’s promises,
                       20   Dr. Davidson not only forewent other opportunities, but loaned hundreds of
                       21   thousands of dollars to Kaplan and Vertical. Vertical prominently displayed the
                       22   “Dr. D” brand in its promotional materials and listed Dr. Davidson as part of its
                       23   leadership team as a Medical Advisor. Kaplan and Vertical, however, did not
                       24   follow through on any of their promises to Dr. Davidson, badly mismanaged the
                       25   project, and refused to supply financial or operational records to him. When
                       26   Dr. Davidson sought repayment of the loans he had made, Kaplan grew angry,
                       27   verbally abusive, and refused to repay the loans or to abide by the terms of their
                       28   contractual arrangement. Kaplan forced Dr. Davidson, under economic duress, to

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                        1   convert the loans into an equity investment in Vertical. In addition, on the morning
                        2   of the day this Complaint was filed, Kaplan called Dr. Davidson’s mother and
                        3   threatened her. Kaplan told Dr. Davidson’s 70-year-old mother that if she did not
                        4   make Dr. Davidson stop talking about Vertical, Kaplan would “bury” her in
                        5   litigation and “drain” Dr. Davidson’s inheritance. Kaplan also made threats to her
                        6   amounting to blackmail. Dr. Davidson’s parents had loaned approximately
                        7   $200,000 to Vertical, after which Kaplan bullied them, like so many others, into
                        8   signing a subscription agreement rather than repaying them.
                        9                                   Mr. and Mrs. Lugli
                       10         166. As noted above, Rusty and Susan Lugli are the elderly owners of the
                       11   Wellsprings property. Defendants not only defrauded Ms. Shulman out of her
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                       12   interest in Wellsprings, they also defrauded the Luglis. The Luglis have filed suit
                       13   in Santa Barbara Superior Court against Vertical and Kaplan, claiming fraud, elder
                       14   abuse, and other bases for relief. As the Luglis allege, Kaplan made material
                       15   misrepresentations and false promises to earn the Luglis’ trust and confused them
                       16   in an effort to induce Rusty Lugli into investing $2,000,000 in Vertical through a
                       17   subscription agreement. Defendants made misrepresentations as to the financial
                       18   health of Vertical. Kaplan made statements that they were “family,” that “he had
                       19   their best interest in mind,” and that he was giving them a better deal under the
                       20   subscription agreement because they were “friends and family.” The Luglis further
                       21   allege that Kaplan stated that the subscription agreement he wanted them to sign
                       22   was a mere formality and inconsequential. Kaplan led Mr. Lugli to believe that he
                       23   needed to sign the subscription agreement in order to receive the operating
                       24   agreement and financial disclosures that Kaplan had previously withheld. Kaplan
                       25   stated that after Mr. Lugli signed the subscription agreement the parties would
                       26   then be able to further negotiate a purchase price and enter into an “actual”
                       27   agreement.
                       28


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                        1                                       Calvin Frye
                        2         167. Calvin Frye is the owner of a cannabis dispensary in Studio City,
                        3   California, called “Cloneville.” Mr. Frye entered into an agreement with Kaplan
                        4   for Kaplan to manage the dispensary. Mr. Frye filed a lawsuit against Kaplan in
                        5   Los Angeles Superior Court claiming fraud, breach of contract, and other bases for
                        6   relief. According to Mr. Frye, Kaplan’s “ulterior motive in entering into the
                        7   agreement was to take over plaintiff’s valuable business.” Kaplan had fraudulently
                        8   concealed that he was a convicted felon, so he could not perform his obligations
                        9   related to licensing and regulatory requirements under the contract. Frye alleges
                       10   that after he learned of Kaplan’s inability to comply with the obligations of the
                       11   contract, he terminated the contract and soon learned of other breaches Kaplan
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                       12   committed while operating Frye’s cannabis distribution business, including
                       13   operating the business at illegal times and failing to pay Frye the portion of money
                       14   he is due pursuant to the terms of the contract.
                       15                                      Camie Cutter
                       16         168. Camie Cutter is trained as a commercial pilot. Rather than pursuing
                       17   her career as a pilot, she entered the cannabis industry after cannabis became legal
                       18   in Washington and Oregon. She developed expertise in all aspects of cannabis,
                       19   especially in manufacturing of edible cannabis products and isolates of cannabis
                       20   ingredients tetrahydrocannabinol (THC) and cannabidiol (CBD). She worked for
                       21   Vertical from March 2018 to October 2018 as a cannabis consultant and sales
                       22   person. Soon after joining, she realized that Vertical’s executive team did not have
                       23   nearly the expertise in cannabis that they had initially represented. She gave them
                       24   a “Cannabis 101” presentation to help bring them up to speed on the various
                       25   products that Vertical could bring to market. Eventually, she realized that Vertical
                       26   was not interested in getting product on the shelves, that, in fact, it was a “massive
                       27   fraud” based on “smoke and mirrors” and was solely interested in building up the
                       28   appearance of a sophisticated cannabis company in order to lure investors. After

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                        1   she left the company, Vertical refused to reimburse her for approximately $12,000
                        2   that it owed her for expenses she had incurred and approximately $10,000 that it
                        3   owed her in back pay unless she agreed to sign a non-disclosure and
                        4   non-disparagement agreement. She refused to sign and was never paid.
                        5   Representatives of Vertical threatened to bury her in litigation if she attempted to
                        6   legally seek repayment of the monies owed to her.
                        7                                 Other Brand Affiliates
                        8         169. Defendants have promoted Vertical’s supposed expertise in brands
                        9   and distribution in appearances before potential investors and the media. At
                       10   various times, Defendants have touted the company’s vast stable of brands (25-35
                       11   depending on the presentation) and its full distribution and sales capabilities. In
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                       12   fact, however, when these representations were made the company was
                       13   distributing no brands. Indeed, most of its “brands” are nothing more than
                       14   concepts.
                       15         170. To be sure, Defendants have entered into some arrangements with
                       16   companies that have existing cannabis brands. They secured those relationships,
                       17   however, through misrepresentation and have systematically taken advantage of
                       18   the founders of those brands. In these cases, the typical pattern was for Defendants
                       19   to invite the potential partner to the Vertical office which was designed to impart
                       20   an air of solidity and legitimacy. The office was curated with sports and music
                       21   memorabilia (which at least one former employee became convinced were fake).
                       22   To impart a sense of gravitas, prospective brand affiliates would invariably be
                       23   shown the office of former California State Senator Tony Strickland, who Vertical
                       24   lists as part of its leadership team, although according to former employees he
                       25   spent less than an hour each month at the offices. The office set aside for
                       26   Strickland was adorned with large U.S. and California flags and photos with
                       27   Strickland and prominent Republican politicians. Meanwhile, in the part of the
                       28   office that was not publicly facing, employees had to work on dirty folding tables

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                        1   and were given cheap computers that lacked even basic word processing or
                        2   spreadsheet software (if they were provided a computer at all).
                        3         171. Defendants would pitch themselves to potential brand affiliates as
                        4   established, experienced, sophisticated, well-staffed, well-financed vertically
                        5   integrated cannabis organization with significant assets and a significant track
                        6   record. They would then seek to dazzle the potential partner with an array of
                        7   promises including resources (which often didn’t exist), ambitious sales and
                        8   marketing plans, packaging ideas, events, expansion opportunities, etc. After
                        9   Defendants had lured the affiliate into signing up, things would then change. At
                       10   that point, Defendants had what they needed: a brand to add to the list, a logo to
                       11   add to their materials. The affiliate was then left to fend for themselves. Phone
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                       12   calls would not be returned, and the promised plans, funds, and support would not
                       13   materialize or would be severely “slow-rolled.” The affiliate’s dream of building a
                       14   thriving cannabis-related business would begin to die from starvation.
                       15         172. One employee who worked at Vertical in the branding department
                       16   and who regularly attended weekly senior leadership meetings in 2017 and 2018
                       17   ended up quitting because he had been consistently tasked with reassuring
                       18   increasingly agitated brand affiliates that their projects were progressing and under
                       19   control even though he knew from discussions with Defendants that Defendants
                       20   were not going to live up to their promises.
                       21                                          Investors
                       22         173. Defendants’ misrepresentations as to their interest in Iron Angel and
                       23   Wellsprings, the state of their manufacturing operations, their brands, their other
                       24   affiliations, their expertise, their licenses, their distribution network, and their
                       25   financial resources, are all designed to lure in potential investors. Defendants have
                       26   relied on the rapidly changing and expanding cannabis industry and frenzied pace
                       27   of investment (which some have likened to the dot-com craze of the late 1990s) to
                       28   avoid the type of detailed scrutiny that might otherwise expose their deception.

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                        1   Defendants care much more about padding to their investment presentation,
                        2   website, and press packet with purported assets, affiliations, and deals than putting
                        3   in the effort to actually advance the business or get products on shelves.
                        4   Defendants’ ultimate goal, it appears, is to cash out before the house of cards
                        5   comes tumbling down.
                        6                             V.     CLAIMS FOR RELIEF
                        7
                                                               COUNT I
                        8   Violation of the Federal Racketeer Influenced and Corrupt Organizations Act
                                                   (18 U.S.C. §§ 1962(c) and 1964(c))
                        9
                                (All Plaintiffs Against Todd Kaplan, Charles Houghton, and Vertical)
                       10

                       11         174. Plaintiffs repeat and reallege each of the allegations set forth in the
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                       12   preceding paragraphs and in Counts III, IV, and V.
                       13                     RICO Standing, Injury, and Proximate Cause
                       14         175. Each Plaintiff is a “person” as defined in 18 U.S.C. §1961(3) of
                       15   RICO as they are entities and individuals capable of holding a legal or beneficial
                       16   interest in property.
                       17         176. Each Defendant is a “person” as defined in 18 U.S.C. §1961(3) of
                       18   RICO as they are entities and individuals capable of holding a legal or beneficial
                       19   interest in property.
                       20         177. Plaintiffs sustained injury to their business or property by reason of
                       21   the acts and conduct of Defendants alleged in this Complaint, including
                       22   Defendants’ scheme to take over Ms. Shulman’s cannabis business, divert profits
                       23   belonging to Plaintiffs, wrest control of the Wellsprings opportunity from
                       24   Plaintiffs, induce Plaintiffs to forego the Sisters opportunity, misappropriate
                       25   Plaintiffs’ Iron Angel brand, and maliciously prosecute an unlawful detainer
                       26   action. Defendants knowingly and willfully excluded Plaintiffs from cannabis
                       27   operations and cut Plaintiffs off from profits and expected profits to which they
                       28   were rightfully entitled under the Cultivation Agreement and Wellsprings

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                        1   Agreement. Through a series of fraudulent statements and promises, Defendants
                        2   induced Plaintiffs to sign the Iron Angel lease that they alleged gave Defendants
                        3   sole right of possession of Iron Angel and to take numerous other actions for
                        4   Defendants’ benefit and to Plaintiffs’ detriment. As a result, Plaintiffs lost control
                        5   over their cannabis cultivation operation for a time at the Iron Angel Property, lost
                        6   the opportunity to purchase and cultivate cannabis on the Wellsprings Property,
                        7   among numerous and significant other injuries to their business and property
                        8   interests.
                        9          178. Plaintiffs suffered concrete financial and other damages, including in
                       10   the form of lost profits.
                       11          179. But for the conduct of Defendants alleged in this Complaint,
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                       12   Plaintiffs would not have been injured.
                       13          180. The losses suffered by Plaintiffs was proximately caused by
                       14   Defendants, as the fraudulent scheme and enterprise was a direct and substantial
                       15   factor in causing their injuries. As in Bridge v. Phoenix Bond & Indemnity Co.,
                       16   553 U.S. 639 (2008), the injuries suffered by Plaintiffs was “a foreseeable and
                       17   natural consequence of [Defendants’] scheme” to force Plaintiffs out of the
                       18   cannabis cultivation operations at Iron Angel, Wellsprings, and Sisters,
                       19   misappropriate Plaintiffs’ brand, and cut Plaintiffs off from the resulting profits—
                       20   all part of an ongoing pattern of mail and wire fraud. Moreover, while Defendants
                       21   have engaged in similar fraudulent schemes against similarly situated individuals
                       22   and small businesses, there are no victims beyond Plaintiffs who are more directly
                       23   injured by Defendants’ scheme and enterprise who can be counted on to seek
                       24   remedies under RICO.
                       25          181. The harm suffered by Plaintiffs amounts to compensable injury
                       26   caused by Defendants’ conduct of an enterprise through a pattern of racketeering.
                       27   Sedima, S.P.R.I. v. Imrex Co., 473 U.S. 479 (1985).
                       28          182. Plaintiffs were the target of the RICO scheme.

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                        1                       The Associated-in-Fact RICO Enterprise
                        2         183. The following persons associated in fact as an “enterprise” within the
                        3   meaning of 18 U.S.C. §1961(4) to defraud and steal from Ms. Shulman:
                        4   Todd Kaplan, Charles Houghton, Matt Kaplan, Drew Milburn, Courtney Dorne,
                        5   Smoke Wallin, Robert Scott, Elyse Kaplan, Jeff Silver, Vertical, Vertical
                        6   Wellness, Vertical CR (Costa Rica), Iron Angel II, LLC, and NCAMBA9. The
                        7   associated-in-fact enterprise is referred to as the “Kaplan Enterprise” and its
                        8   constituents are referred to as the “Enterprise Associates.”
                        9         184. The Kaplan Enterprise is separate and distinct from the persons that
                       10   constitute the enterprise and it is separate and apart from the pattern of
                       11   racketeering activity alleged.
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                       12         185. As alleged herein, the Enterprise Associates conducted the affairs of
                       13   the Kaplan Enterprise through a pattern of racketeering activity.
                       14         186. The Purpose of the Kaplan Enterprise. The Kaplan Enterprise is an
                       15   ongoing and continuing organization, formed for the common and shared purpose
                       16   of portraying to the world and potential investors what appears, through smoke
                       17   and mirrors, to be an established, experienced, sophisticated, well-staffed,
                       18   well-financed vertically integrated cannabis organization with significant assets
                       19   and a significant track record which, in fact, did not exist. The ultimate goal of the
                       20   Kaplan Enterprise is to dupe and take advantage of unsuspecting affiliates and
                       21   investors, before ultimately cashing out to leave its victims to sift through the
                       22   wreckage. The means and methods the Kaplan Enterprise used in pursuit of this
                       23   purpose included defrauding and otherwise taking unfair advantage of individuals,
                       24   land owners, potential investors, and existing small business owners in and out of
                       25   the cannabis industry. The Kaplan Enterprise regularly relied on threats,
                       26   intimidation, and duress to achieve its ends. The Kaplan Enterprise used fraudulent
                       27   methods to induce its victims to sign contracts in circumstances where the victim
                       28   was unaware of the Kaplan Enterprise’s true intentions. The Kaplan Enterprise

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                        1   relied on elder abuse and frequently targeted elderly and other vulnerable victims.
                        2   The Kaplan Enterprise also cut corners and violated laws and regulations in
                        3   numerous ways including by seeking to fraudulently conceal that cannabis product
                        4   that it claimed was safe actually contained ingredients not fit for human
                        5   consumption. The Kaplan Enterprise defrauded Ms. Shulman and other business
                        6   owners by luring them into business deals with misrepresentations, concealments,
                        7   and false promises, fraudulently inducing them to sign over property and rights to
                        8   profits, and converting the benefits arising out of the business operations for
                        9   Kaplan Enterprise’s sole benefit.
                       10         187. Instead of putting in the work to start its own cannabis cultivation
                       11   operation, the Kaplan Enterprise sought to take over Ms. Shulman’s business by
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                       12   defrauding her in order to gain the advantage she had in owning an
                       13   already-operating cannabis cultivation business, the contractual rights she had that
                       14   would allow for expansion, taking advantage of her skill, expertise, community
                       15   relationships, her priority position for licensing and regulatory requirements, and
                       16   avoiding the numerous and significant other start-up costs. The Kaplan Enterprise
                       17   sought to similarly advantage itself from defrauding other owners of
                       18   already-operating cannabis businesses at differing levels of the cannabis
                       19   distribution chain. In so doing, Defendants have defrauded Plaintiffs of tens of
                       20   millions of dollars that rightfully belong to Plaintiffs.
                       21         188. The Relationship Among, and Conspiracy Between, Separate and
                       22   Distinct Associates. In order to effectuate the fraudulent scheme and wrongfully
                       23   convert the funds and property of Plaintiffs, Defendants had to create a
                       24   relationship between the Enterprise Associates. These relationships facilitated and
                       25   enabled the theft and fraud.
                       26         189. Each associate of the Kaplan Enterprise has an existence separate and
                       27   distinct from its participation in the racketeering activities of the Kaplan
                       28   Enterprise.

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                        1         190. The Kaplan Enterprise has an existence and structure that is separate
                        2   and distinct from the other affairs of its members.
                        3         191. The Enterprise Associates engage in business operations separate and
                        4   distinct form other affairs of its members and separate and apart from their
                        5   activities on behalf of the Kaplan Enterprise.
                        6         192. The Enterprise Associates nevertheless became associated with the
                        7   Kaplan Enterprise and conducted or participated in the affairs of the Kaplan
                        8   Enterprise in addition to their own affairs. The activities engaged in by the
                        9   Enterprise Associates are not, however, ordinary legitimate business activities, and
                       10   in fact were unlawful.
                       11         193. Each of the Enterprise Associates had a different and clearly defined
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                       12   role in the conduct of Kaplan Enterprise. All of the Defendants intended to further
                       13   the fraud against Plaintiffs and agreed to participate in it:
                       14                      Todd Kaplan, the leader of the Kaplan Enterprise, is the
                       15                       founder and chief executive officer of Vertical Companies,
                       16                       CEO of NCAMBA9, and Managing Member of Iron Angel II,
                       17                       LLC. Kaplan engaged in numerous misrepresentations and
                       18                       fraudulent acts, as detailed herein. These include Kaplan’s
                       19                       participation in the fraud related to the Iron Angel lease and the
                       20                       attempts to foreclose Ms. Shulman from the Sisters and
                       21                       Wellsprings properties. Kaplan also persuaded Ms. Shulman to
                       22                       loan Vertical approximately $320,000—the remainder of her
                       23                       life savings—to pursue joint initiatives under the Cultivation
                       24                       Agreement, while at the same time diverting the funds to use
                       25                       for his own benefit and failing to meet obligations under the
                       26                       Cultivation Agreement. When he was unwilling or unable to
                       27                       repay the loan in full, Kaplan sought to persuade Ms. Shulman
                       28                       to convert the loan into an investment in Vertical, and when she

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                        1                    declined he grew verbally and emotionally abusive and refused
                        2                    to abide by the terms of their contract. Kaplan similarly tried to
                        3                    pressure several others into making investments in Vertical.
                        4                    Kaplan presided over weekly Monday morning meetings of key
                        5                    members of the Kaplan Enterprise, where, on information and
                        6                    belief, such members discussed Vertical’s strategy, including
                        7                    methods for enticing unsuspecting investors into purchasing
                        8                    company “units,” related businesses into partnering with
                        9                    Vertical, and otherwise unsophisticated persons and entities
                       10                    into parting with their financial and real property interests.
                       11                   Vertical is a multistate limited liability corporation, with
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                       12                    operations in at least California, Kentucky, and Arizona, and
                       13                    international operations in Costa Rica. Kaplan owns a majority
                       14                    of Vertical, and Vertical is used to carry out the Kaplan
                       15                    Enterprise’s purpose and is a primary vehicle for defrauding
                       16                    affiliates and investors.
                       17                   Vertical CR (Costa Rica) is an entity that sought to takeover
                       18                    Costa Rica Alchemy, an association studying and lobbying for
                       19                    medical cannabis in Costa Rica and providing cannabis oil to
                       20                    patients. Upon information and belief Vertical CR facilitated
                       21                    cash payments to affiliates in Costa Rica in a manner designed
                       22                    to avoid Financial Crimes Enforcement Network (FinCEN)
                       23                    Report of International Transportation of Currency or
                       24                    Monetary Instruments.
                       25                   Vertical Wellness, Inc. is an affiliate of Vertical and is a
                       26                    recipient of ill-gotten gains from the Kaplan Enterprise and acts
                       27                    as a constructive trustee of funds that rightfully belong to
                       28                    Plaintiffs.

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                        1                   Charles Houghton was in-house counsel and now a regulatory
                        2                    advisor for Vertical. He assisted the Kaplan Enterprise by
                        3                    providing advice on legal and regulatory issues. He engaged in
                        4                    fraud by gaining Plaintiffs’ trust by leading them to believe that
                        5                    he was their attorney and inducing them to sign a lease based
                        6                    on material misrepresentations of fact. Houghton specifically
                        7                    told Ms. Shulman that the lease for Iron Angel was for
                        8                    licensing requirements, leading her to believe that it would only
                        9                    be treated as a formality, but not enforced on its terms, when in
                       10                    fact the lease was not necessary for any county or state
                       11                    licensing requirements and was later used as a basis of the
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                       12                    Kaplan Enterprise’s attempt to force Ms. Shulman off of Iron
                       13                    Angel. Houghton also steered used his position to defraud
                       14                    Ms. Shulman by directing all licenses to Kaplan and otherwise
                       15                    manipulating the licensing process to Kaplan’s benefit and
                       16                    Ms. Shulman’s detriment. Houghton also directed that
                       17                    operations stop on Sisters even though there was no legitimate
                       18                    purpose for doing so, and he aided his manipulation of the
                       19                    Sisters property by taking over all discussions of
                       20                    Ms. Shulman’s lease on the property. Houghton was also
                       21                    instrumental in implementing Kaplan’s scheme to steal the
                       22                    Wellsprings property and cannabis business from
                       23                    Ms. Shulman. Houghton regularly attended the Monday
                       24                    morning meetings of the Kaplan Enterprise.
                       25                   Matt Kaplan is Todd Kaplan’s son. Matt was instrumental in
                       26                    carrying out the Kaplan Enterprise’s plans, following
                       27                    Todd Kaplan’s lead and instructions. He is the director of
                       28                    operations of Vertical. He was brought in to the Iron Angel

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                        1                    property operations near the end of 2017 and acted as the
                        2                    director of operations for the cannabis cultivation operations at
                        3                    the Iron Angel and Wellsprings. Matt Kaplan participated in
                        4                    the fraudulent scheme against Ms. Shulman by helping to push
                        5                    Ms. Shulman out of the business operations. In 2018, Matt
                        6                    Kaplan stopped sharing financial information about the
                        7                    business with Ms. Shulman, as was required under the
                        8                    Cultivation Agreement. Matt Kaplan further directed
                        9                    employees not to share information with Ms. Shulman. Matt
                       10                    Kaplan frequently misrepresented to investors that Vertical
                       11                    owned the Wellsprings Property. Matt physically assaulted
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                       12                    Ms. Shulman’s son, Randall. Matt Kaplan shouted obscenities
                       13                    at Ms. Shulman and told her she was “stupid” and “greedy,”
                       14                    and he hoped she rots in the house on Wellsprings. He also
                       15                    helped vandalize Ms. Shulman’s property, including as recently
                       16                    as April 2019, destroying the fence around her home. Matt
                       17                    Kaplan, at least initially, regularly attended the Monday
                       18                    morning meetings of the Kaplan Enterprise.
                       19                   Drew Milburn, the chief operating officer of Vertical
                       20                    Companies, was the middle-man and gate-keeper between
                       21                    Ms. Shulman and Todd Kaplan. He managed the Kaplan
                       22                    Enterprise operations. During the negotiations of the
                       23                    Cultivation Agreement, Kaplan represented to Ms. Shulman
                       24                    that Drew Milburn would be brought in to the Iron Angel
                       25                    property to manage the operations there. Instead, Milburn
                       26                    brought in young workers, including Matt Kaplan, with little or
                       27                    no experience in the cannabis industry or agriculture. Milburn
                       28                    oversaw a 2018 harvest at Iron Angel that produced a high

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                        1                    volume of low-quality product with the goal of operating Iron
                        2                    Angel at the lowest possible cost to strip Ms. Shulman of any
                        3                    profits. Milburn was involved in the financial matters related to
                        4                    sales from Iron Angel. Kaplan also enlisted Milburn to help
                        5                    strong-arm Ms. Shulman into taking the “generous” November
                        6                    2018 offer to exchange her 50 percent interest in Wellsprings
                        7                    for one percent in Vertical. Milburn regularly attended the
                        8                    Monday morning meetings of the Kaplan Enterprise.
                        9                   Courtney Dorne, the president of Vertical brands, introduced
                       10                    Ms. Shulman to Todd Kaplan. She was integral to inducing
                       11                    Ms. Shulman to enter into a business relationship with Vertical.
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                       12                    From the very beginning, Ms. Dorne used the reminder of her
                       13                    childhood friendship with Ms. Shulman’s daughter-in-law to
                       14                    lure Ms. Shulman into a deal with Kaplan. She misrepresented
                       15                    the status of Vertical and what it was capable of offering
                       16                    Ms. Shulman. When Kaplan was unhappy, it was Ms. Dorne
                       17                    who reached out to the Shulmans, under the guise of friendship
                       18                    and trust, and encouraged Ms. Shulman to comply with
                       19                    Kaplan’s demands—or else. Ms. Dorne visited Iron Angel in
                       20                    January 2019, stating that she intended to help resolve the
                       21                    conflict that was then arising between the parties. Though she
                       22                    denied having any knowledge of the problems between
                       23                    Ms. Shulman and Kaplan and his employees, after she heard
                       24                    Ms. Shulman’s account of the problems they were experiencing
                       25                    with Kaplan, Vertical, and Vertical employees, she stopped
                       26                    communicating with Ms. Shulman. Ms. Dorne, like Matt
                       27                    Kaplan, was tasked with providing tours to investors and
                       28                    misrepresenting ownership of the property as that of Vertical.

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                        1                    To this day, Ms. Dorne has pictures of Iron Angel and
                        2                    Wellsprings on her publicly-accessible social media accounts
                        3                    and claims to own them. Ms. Dorne regularly attended the
                        4                    Monday morning meetings of the Kaplan Enterprise.
                        5                   Smoke Wallin, the president of Vertical and the president and
                        6                    chief executive officer of Vertical Wellness, joined Vertical in
                        7                    January 2018. Wallin is the face of the Kaplan Enterprise and,
                        8                    in step with Kaplan’s demands, runs the company. Wallin was
                        9                    and remains heavily involved in fundraising for Vertical. On
                       10                    multiple occasions, Wallin joined potential investors on the
                       11                    Iron Angel and Wellsprings properties and often represented to
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                       12                    the investors that Vertical owned the properties. Wallin was
                       13                    also responsible for branding of Iron Angel products, but
                       14                    repeatedly delayed and obstructed working with Ms. Shulman,
                       15                    instead prioritizing Vertical’s own brands and profit potential.
                       16                    Wallin regularly attended the Monday morning meetings of the
                       17                    Kaplan Enterprise.
                       18                   Robert Scott is the brother and close confidant of Todd Kaplan.
                       19                    He is the chief technology officer of Vertical and has been
                       20                    described as the “brains behind the brawn” at Vertical. Robert
                       21                    Scott was present during the June 23 visit to Iron Angel and
                       22                    Ms. Shulman’s June 26 visit to the Agoura Hills office where
                       23                    Kaplan misrepresented the virtues of partnering with Vertical.
                       24                    Robert Scott was included in numerous communications
                       25                    between Todd Kaplan and Ms. Shulman, including fraudulent
                       26                    emails regarding the Iron Angel lease that Defendants claimed
                       27                    was necessary for licensing requirements and emails regarding
                       28                    the feigned attempts in late 2018 to negotiate a revised deal.

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                        1                    Robert Scott also offered Ms. Shulman false assurances that
                        2                    she would be compensated and misled Ms. Shulman about the
                        3                    status of the Needles facility. He regularly attended the
                        4                    Monday morning meetings of the Kaplan Enterprise.
                        5                   Elyse Kaplan, Vertical’s corporate counsel, assisted in the legal
                        6                    aspects of the cannabis business. She worked to obtain the state
                        7                    and county licenses but did not take the appropriate steps to
                        8                    have the licenses split as required by the Cultivation
                        9                    Agreement, despite repeated reminders from Brandon Shulman
                       10                    to do so, nor did she do so in a timely or complete manner.
                       11                    Elyse Kaplan was responsible for addressing and resolving
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                       12                    Notices of Violations on the Iron Angel and Wellsprings
                       13                    properties but did not do so. Elyse Kaplan further set up
                       14                    accounts with regulatory authorities but declined to give
                       15                    Ms. Shulman the access to which she was entitled.
                       16                   Jeff Silver, formerly the Chief Financial Officer and now a
                       17                    strategic advisor to Vertical, was the self-declared “sole person
                       18                    to coordinate all the financial aspects,” of the cannabis
                       19                    cultivation operation at Iron Angel and Wellsprings. Silver
                       20                    admitted to Brandon Shulman that Vertical keeps two sets of
                       21                    books to avoid reporting all cash income. He furthered the
                       22                    fraud by providing Plaintiffs with materially false financial
                       23                    information.
                       24                   Iron Angel II, LLC, is a limited liability corporation established
                       25                    by Kaplan and Houghton in order to carry out various of the
                       26                    Kapan Enterprise’s schemes, including the scheme to defraud
                       27                    Ms. Shulman and oust her from Iron Angel.
                       28


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                        1                      NCAMBA9 is a corporation established by Kaplan in order to
                        2                       help carry out various of the Kaplan Enterprise’s schemes.
                        3                       NCAMBA9 served as the operator under the Cultivation
                        4                       Agreement until those duties were delegated to Kaplan and
                        5                       Vertical.
                        6         194. In these ways and others, each Defendant directly or indirectly
                        7   participated in, managed aspects of, facilitated, or otherwise took some part in
                        8   directing the unlawful activities comprising Kaplan Enterprise’s affairs.
                        9         195. The cooperation exhibited by the Enterprise Associates of Kaplan
                       10   Enterprise fell outside the bounds of Defendants’ normal commercial relationships
                       11   and was undertaken to advance the corrupt practices of Kaplan Enterprise.
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                       12         196. Continuous Existence. The Kaplan Enterprise has had an ongoing
                       13   and continuous existence sufficient to permit the Enterprise Associates to follow
                       14   its fraudulent pursuits. The Enterprise Associates associated in fact to engage in a
                       15   pattern of fraud against the Plaintiffs while concealing the true nature of their
                       16   intentions and purpose, on an ongoing rather than ad hoc basis. None of the
                       17   Enterprise Associates acted independently or in competition with one another, or
                       18   otherwise in a manner contrary to Kaplan Enterprise’s purpose.
                       19         197. The Kaplan Enterprise has displayed a continuity of membership
                       20   during the times relevant to this Complaint, during which time the Enterprise
                       21   Associates acted continuously in their respective roles in the Kaplan Enterprise.
                       22         198. During the times relevant to this Complaint, each Enterprise
                       23   Associate was aware of the scheme to defraud the Plaintiffs and was a knowing
                       24   and willing participant in that scheme.
                       25         199. Interstate Commerce. Kaplan Enterprise engages in and its activities
                       26   affected interstate and foreign commerce as it conducts business in multiple states
                       27   within the United States and with foreign countries.
                       28


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                        1                 Pattern of Racketeering Activity and Predicate Acts
                        2         200. All of the Enterprise Associates’ predicate acts of racketeering set
                        3   forth herein were so continuous so as to form a pattern of racketeering activity as
                        4   defined by 18 U.S.C. §1961(5) in that: (a) Enterprise Associates engaged in
                        5   multiple predicate acts of racketeering activity, i.e. indictable violations of
                        6   18 U.S.C. § 1341 (mail fraud) and 18 U.S.C. § 1343 (wire fraud), from at least
                        7   2017 through the present; (b) the conduct has become the Enterprise Associates’
                        8   and Kaplan Enterprise’s regular way of conducting business; and (c) is continuing
                        9   and threatens to continue in the future.
                       10         201. Defendants used interstate mails and wires to defraud Plaintiffs and
                       11   others through a scheme by which Defendants sought to portray to the world and
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                       12   potential investors and affiliates what appears to be an established, legitimate,
                       13   credible, experienced, sophisticated, well-staffed, well-financed vertically
                       14   integrated cannabis organization with significant assets, a proven track record, the
                       15   financial means and ability to conduct a large-scale, leading-edge cannabis
                       16   operation including cannabis cultivation. With this façade of credibility and
                       17   through extreme emotional manipulation, Defendants induced Ms. Shulman to
                       18   take various actions, including entering into the Cultivation Agreement and the
                       19   Wellsprings Agreement, assigning rights to Wellsprings to Kaplan, signing a lease
                       20   based on fraudulent statements, and loaning capital to the business that Defendants
                       21   had no intention of fully repaying. Defendants later resorted to threats, bullying,
                       22   intimidation tactics, and duress in order to pressure Plaintiffs into foregoing their
                       23   rights. Ms. Shulman was injured by the fraudulent scheme that was furthered by
                       24   Defendants’ mail and wire fraud.
                       25         202. Defendants engaged in a similar pattern with other affiliates of
                       26   Vertical, as alleged herein.
                       27         203. The Enterprise Associates and Kaplan Enterprise’s scheme to defraud
                       28   Plaintiffs was furthered by the Enterprise Associates’ use of mail and private or

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                        1   commercial interstate carriers. Among the many acts of mail fraud are the
                        2   following representative examples:
                        3     Sample of Use of the Interstate mail and private or commercial interstate
                                              carriers in Violation of 18 U.S.C. §1341
                        4
                                Date                 Carrier                 Description From/to
                        5
                            On or          Interstate Mail—USPS           Payroll checks
                                                                                   From Alan
                        6   before                                        for numerous
                                                                                   Bramson on
                            December                                      employeesbehalf of MIH to
                        7   12, 2017                                               the Iron Angel
                                                                                   Property for
                        8                                                          several employees
                        9
                            On or          Interstate Mail—USPS  Check for         From Jeff Silver
                            before                               $63,366.88 to     on behalf of MIH,
                       10
                            January 1,                           cover mortgage    to Zion
                            2018                                 on Iron Angel     Agricultural Bank
                       11
                                                                 Property          on behalf of
                                                                                   Ms. Shulman.
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                       12   On or          Interstate Mail—USPS, Check to cover    From Alan
                            before         tracking number       rent payment on Bramson on
                       13   January 12,    947011020088163160403 the Sisters’      behalf of MIH, to
                            2018                                 Property          [Devine Mercy]
                       14                                                          on behalf of
                                                                                   [Ms. Shulman]
                       15
                            On or after    Interstate Mail—USPS  Checks for        From Alan
                       16   February                             $1,159.30 and     Bramson on
                            16, 2018                             $986.84, totaling behalf of MIH, to
                       17                                        $2146.14 to pay Westcoast
                                                                 invoice from      Industries on
                       18                                        contractor        behalf of
                                                                                   Ms. Shulman
                       19   On or after    Interstate Mail--USPS Money Order for From Jeff Silver
                            April 11,                            $11,507 to        on behalf of MIH,
                       20   2018                                 reimburse         to Brandon
                                                                 Brandon           Shulman.
                       21                                        Shulman for
                                                                 operation
                       22                                        expenses
                                                                 incurred on his
                       23                                        credit card.
                       24   Numerous other uses of interstate mail occurred, including the recurring use of the
                       25   United States Postal Service and UPS for delivery of payroll checks to the Iron
                       26   Angel Property for employees and Ms. Shulman and Brandon Shulman. Each use
                       27   by Defendants of the United States mails, in furtherance of and to execute the
                       28   scheme, constitutes a separate mail fraud offense and is thus an act of racketeering

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                        1   pursuant to 18 U.S.C. §1961(1).
                        2         204. The Enterprise Associates and Kaplan Enterprise’s scheme to defraud
                        3   the Plaintiffs was furthered by the Enterprise Associates’ use of the Interstate
                        4   Wires. Through the course of the parties’ business relationship, Defendants wired
                        5   approximately $111,000 into Rabobank debit account number XXXXXXX92,
                        6   held in the name of Eddy Street Management, LLC (an LLC owned by Kaplan)
                        7   and Francine Shulman, which was used by Ms. Shulman and Brandon Shulman for
                        8   operational expenses incurred in the cannabis cultivation operation and to
                        9   reimburse Ms. Shulman and Brandon Shulman for operational expense charges
                       10   placed on their personal credit cards. Defendants wired approximately $284,790
                       11   into Rabobank account number XXXXXXX26, held in the name of Eddy Street
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                       12   Management, LLC, to which Ms. Shulman and Brandon Shulman accessed and
                       13   used for payroll expenses. Among the many acts of wire fraud are the following
                       14   representative examples:
                       15       Sample of Use of the Interstate Wires in Violation of 18 U.S.C. § 1343
                       16         Date               Method           Description            From/to
                       17   8/30/2017           Interstate Wire    $10,000 for       From Alan Bramson
                                                                   payroll to        on behalf of MIH, to
                       18                                          Vertical          Ms. Shulman’s Bank
                                                                   Employees.        of America account
                       19                                                            number *****27, held
                                                                                     in the name Iron Angel
                       20                                                            Ranch and Retreat,
                                                                                     LLC,
                       21   10/5/2017           Interstate Wire    $42,000 for       From Alan Bramson
                       22
                                                                   seasonal funding, on behalf of MIH into
                                                                   used to cover     Rabobank account
                       23
                                                                   payroll.          number *******26
                            On or before        Interstate Wire    $10,000 for       From Alan Bramson
                       24   12/15/2017                             operational       on behalf of MIH, to
                                                                   expenses and      Rabobank debit
                       25                                          reimbursement to account number
                                                                   Ms. Shulman and *******92
                       26                                          Brandon
                                                                   Shulman.
                       27

                       28


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                        1   Each use by the Enterprise Associates of interstate wires was made in furtherance
                        2   of and to execute the scheme, constitutes a separate wire fraud offense, and is thus
                        3   an act of racketeering pursuant to 18 U.S.C. § 1961(1).
                        4          205. Defendants have engaged in similar patterns of fraudulent conduct
                        5   against similarly situated, small business owners who conduct cannabis cultivation
                        6   operations, as alleged above. On information and belief, Defendants have engaged
                        7   in similar patterns of fraudulent conduct with respect to individuals and entities not
                        8   yet identified herein.
                        9          206. Defendants are a group of individuals who operated the Kaplan
                       10   Enterprise.
                       11          207. Defendants were associated with or employed by Vertical from at
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                       12   least 2017 through the filing of this Complaint.
                       13          208. Commencing in 2017 and continuing through the filing of this
                       14   Complaint, Defendants conducted and/or participated in the conduct of Kaplan
                       15   Enterprise’s affairs through a pattern of criminal racketeering activity.
                       16          209. Defendants have engaged in a pattern of repeated racketeering
                       17   activity.
                       18          210. All of the Defendants’ predicate acts of racketeering set forth herein
                       19   were so related as to establish a pattern of racketeering activity as that term is
                       20   defined in 18 U.S.C. § 1961(5), as they had the same or similar purposes; i.e., to
                       21   defraud Ms. Shulman, and to convert, steal, and divert the Shulman’s property,
                       22   assets, and entitlement to profits to their own benefit and use. They also involved
                       23   the same or similar participants and methods of commission and had similar
                       24   results, impacting the same or similar victims, namely the Plaintiffs.
                       25          211. As a direct and proximate result of Defendants’ violations of
                       26   18 U.S.C. § 1962(c), Plaintiffs have been injured in their business and property,
                       27   because their moneys, profits, and property have been wrongly diverted to and
                       28   converted by Defendants.

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                        1         212. By reason of the violation of 18 U.S.C. § 1962(c), Plaintiffs are
                        2   entitled to treble damages.
                        3         213. In bringing this action, Plaintiffs have and will incur attorney’ fees
                        4   and are entitled to an award of reasonable attorneys’ fees under 18 U.S.C.
                        5   § 1964(c).
                        6                                      COUNT II
                        7   Violation of the Federal Racketeer Influenced and Corrupt Organizations Act
                                                  (18 U.S.C. §§ 1962(d) and 1964(c))
                        8                       (All Plaintiffs Against All Defendants)
                        9         214. Plaintiffs repeat and reallege each of the allegations set forth in the
                       10   preceding paragraphs and in Counts III, IV, and V.
                       11         215. Each of the defendants conspired with one another within the
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                       12   meaning of 18 U.S.C. § 1962(d) to violate 18 U.S.C. § 1962(c); that is to conduct
                       13   or participate, directly or indirectly, in the conduct of the enterprise’s affairs
                       14   through a pattern of racketeering activity within the meaning of 18 U.S.C. §§ 1961
                       15   (1)(B), 1961(5), and 1962(c), as alleged more fully herein.
                       16         216. Defendants agreed to participate in an endeavor which, if completed,
                       17   would constitute a violation of 18 U.S.C. § 1962(c).
                       18         217. Defendants have knowingly and willfully agreed and conspired
                       19   among themselves to violate 18 U.S.C. § 1962(c) by engaging in the pattern of
                       20   racketeering activity set forth herein, in violation of 18 U.S.C. § 1962(d).
                       21         218. As a direct and proximate result of Defendants’ violations of
                       22   18 U.S.C. § 1962(d), Plaintiffs have been injured in their business or property
                       23   because their monies, profits, and property have been wrongfully diverted to and
                       24   converted by Defendants.
                       25         219. By reason of the violation of 18 U.S.C. § 1962(d), Plaintiffs are
                       26   entitled to treble damages.
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                        1         220. In bringing this action, Plaintiffs have and will incur attorney’ fees
                        2   and are entitled to an award of reasonable attorneys’ fees under 18 U.S.C.
                        3   § 1964(c).
                        4                                       COUNT III
                                                  Fraud — Intentional Misrepresentation
                        5                (All Plaintiffs Against Todd Kaplan, Charles Houghton,
                        6                              Courtney Dorne, and Vertical)

                        7         221. Plaintiffs repeat and reallege each of the allegations set forth in the
                        8   preceding paragraphs.
                        9         Intentional Misrepresentations by Todd Kaplan
                       10         222. During the negotiation of the Cultivation Agreement and the
                       11   agreements regarding the Wellsprings Property, Kaplan, acting in his capacity as
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                       12   an agent and employees of Vertical or the Kaplan Enterprise, represented
                       13   numerous material falsehoods to Ms. Shulman. For example:
                       14                a.    On or about June 23, 2017, in Vertical’s Agoura Hills office,
                       15                      Kaplan told Ms. Shulman and others that he was innocent of
                       16                      any charge of past criminal conduct;
                       17                b.    On or about June 23, 2017, in Vertical’s Agoura Hills office,
                       18                      Kaplan told Ms. Shulman that he and Vertical had extensive
                       19                      expertise in the cannabis industry, with particular expertise in
                       20                      cannabis licensing and regulatory schemes;
                       21                c.    On or about June 23, 2017, in Vertical’s Agoura Hills office,
                       22                      Kaplan told Ms. Shulman that he managed a dispensary in
                       23                      Studio City, California called Cloneville and that he would use
                       24                      this position to place product from Iron Angel Ranch there;
                       25                d.    On or about June 23, 2017, in Vertical’s Agoura Hills office,
                       26                      Kaplan told Ms. Shulman that Vertical already had significant
                       27                      investor funding so Vertical was able and ready to spend
                       28                      significant capital on the Iron Angel cannabis cultivation

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                        1                      operation.
                        2               e.     On or about July 21, 2017, Kaplan told Ms. Shulman that he
                        3                      intended to and had the financial means available to close on
                        4                      the Wellsprings Property;
                        5               f.     On or about June 3, 2018, Kaplan told Ms. Shulman that a
                        6                      group from Mexico City had agreed to a $150 million
                        7                      investment.
                        8               g.     On or about June 3, 2018 Kaplan told Ms. Shulman that the
                        9                      money was stuck in the bank in Florida, that Kaplan could see
                       10                      the money in the account but that the bank would not release it.
                       11               h.     On May 4, 2018, Kaplan wrote to Ms. Shulman that “everyone
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                       12                      keeps saying [the money] is coming.” This refers to the money
                       13                      that Kaplan had misrepresented was coming from investors in
                       14                      Mexico City.
                       15         223. Kaplan’s representations were false when he made them.
                       16         224. Kaplan knew that the representations were false when he made them.
                       17         225. Kaplan intended that Ms. Shulman rely on the representations to her
                       18   detriment including inducing her to enter a business relationship with him,
                       19   foregoing business opportunities with others, and signing agreements giving
                       20   Kaplan rights to Ms. Shulman’s property and assets.
                       21         226. Ms. Shulman reasonably relied on Kaplan’s representations.
                       22   Ms. Shulman reasonably trusted Kaplan’s statements, in part due to his extensive
                       23   emotional manipulation of her.
                       24         227. Plaintiffs were harmed by these misrepresentations, as set forth
                       25   above. Ms. Shulman’s reliance on Kaplan’s representations was a substantial
                       26   factor in causing such harm.
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                        1         Intentional Misrepresentations by Charles Houghton
                        2         228. During the process of applying for licenses for cultivation of cannabis
                        3   on Iron Angel, Houghton, acting in his capacity as an agent and/or employee of
                        4   Vertical or the Kaplan Enterprise, intentionally made material misrepresentations
                        5   to Ms. Shulman. For example, on or about January 14, 2018, Houghton
                        6   represented in an email to Ms. Shulman that the Lease for the Iron Angel Property
                        7   was necessary “for licensing purposes.” Defendants Drew Milburn, Todd Kaplan,
                        8   Jeff Silver, and Robert Scott were copied.
                        9         229. This representation was false when he made it.
                       10         230. Houghton knew that the representation was false when he made it.
                       11         231. By misrepresenting the nature of the lease and purporting it to be an
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                       12   inconsequential document and merely a formality necessary for obtaining the
                       13   requisite licensing for the cannabis cultivation operation on Iron Angel and for
                       14   Kaplan to fulfill his obligations under the Cultivation Agreement, and by leaving
                       15   Ms. Shulman with the impression that the Lease would not be performed or
                       16   enforced by either party, Houghton intended to induce Ms. Shulman to rely on the
                       17   misrepresentation by executing the lease, giving Kaplan’s LLC, Iron Angel II,
                       18   rights to Ms. Shulman’s property.
                       19         232. On or about January 18, 2018, Ms. Shulman, in reasonable reliance
                       20   on Defendants’ fraudulent affirmations and misrepresentations, and without intent
                       21   to be bound in any way that deviated from the Cultivation Agreement, executed
                       22   the lease.
                       23         233. The parties did not discuss the key terms in the lease, which
                       24   Houghton dismissed as unimportant since the parties would not actually perform
                       25   under the lease, and Houghton did not send the lease to Ms. Shulman’s separate
                       26   attorney.
                       27

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                        1         234. At the time Defendants made the representations set forth in this
                        2   Complaint, Ms. Shulman had no reason to believe that the representations were
                        3   untrue or that Defendants had any intention of enforcing the lease.
                        4         235. Ms. Shulman reasonably trusted Houghton’s misrepresentations
                        5   because of her reasonable belief that he was representing her interests in an
                        6   attorney-client relationship.
                        7         236. As a direct and proximate result of Houghton’s intentional fraud and
                        8   misrepresentations, Plaintiffs suffered damages as set forth above, including, but
                        9   not limited to, Defendants’ trespass and damage to Iron Angel.
                       10         237. Ms. Shulman’ reliance on Houghton’s representations was a
                       11   substantial factor in causing the harm.
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                       12         Intentional Misrepresentations by Courtney Dorne
                       13         238. Prior to and during the negotiation of the Cultivation Agreement and
                       14   the agreements regarding Wellsprings, Ms. Dorne, acting in her capacity as an
                       15   agent and employee of Vertical or the Kaplan Enterprise, represented numerous
                       16   material falsehoods to Ms. Shulman. For example:
                       17                a) On or about June 6, 2017, in a telephone conversation, Ms. Dorne
                       18                   represented that she was working with a financially stable
                       19                   company with existing indoor cultivation, manufacturing, brand
                       20                   partners, and dispensaries.
                       21                b) On or about June 6, 2017, in a telephone conversation, Ms. Dorne
                       22                   represented that Vertical had significant experience in the cannabis
                       23                   industry and in-house counsel with regulatory expertise.
                       24                c) On or about June 29, 2017, in a telephone conversation,
                       25                   Ms. Dorne represented to Ms. Shulman that Vertical was in the
                       26                   process of purchasing a one million square foot indoor grow space
                       27                   in Monterey, California.
                       28


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                        1           239. Ms. Dorne’s representations were false when she made them (alleged
                        2   on information and belief with respect to the purchase of the Monterey facility).
                        3           240. Ms. Dorne knew that the representations were false when she made
                        4   them.
                        5           241. Ms. Dorne intended that Ms. Shulman rely on the representations to
                        6   her detriment, including inducing her to enter a business relationship with Kaplan,
                        7   foregoing business opportunities with others, and signing agreements giving
                        8   Kaplan rights to Ms. Shulman’s property and assets.
                        9           242. Ms. Shulman reasonably relied on Ms. Dorne’s representations.
                       10   Ms. Shulman reasonably trusted Ms. Dorne’s misrepresentations because of the
                       11   longstanding personal relationship between Ms. Dorne and Ms. Shulman’s
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                       12   daughter-in-law and because of Ms. Dorne’s extensive emotional manipulation of
                       13   Ms. Shulman.
                       14           243. Plaintiffs were harmed by Ms. Dorne’s misrepresentations, as set
                       15   forth above. Ms. Shulman’s reliance on Ms. Dorne’s representations was a
                       16   substantial factor in causing such harm.
                       17                                        COUNT IV
                       18
                                                           Fraud — Concealment
                                         (All Plaintiffs Against Todd Kaplan, Charles Houghton,
                       19                              Courtney Dorne, and Vertical)

                       20           244. Plaintiffs repeat and reallege each of the allegations set forth in the
                       21   preceding paragraphs.
                       22           Todd Kaplan’s Concealments
                       23           245. During the negotiations of the Cultivation Agreement and throughout
                       24   the pendency of the Parties’ business relationship, Kaplan, acting in his capacity as
                       25   agent and/or employee of Vertical or the Kaplan Enterprise, intentionally failed to
                       26   disclose certain facts to Ms. Shulman, including but not limited to:
                       27                 a.     That he had sworn to a federal judge that he was guilty of
                       28                        attempted tax evasion and admitted in open court to each of the

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                        1                    elements of the crime, and that Mr. Kaplan’s criminal attorney
                        2                    had, on behalf of Mr. Kaplan, praised the professionalism of
                        3                    the prosecutor;
                        4               b.   That his “felony conviction involve[ed] fraud, deceit, or
                        5                    embezzlement,” which the State of California considers
                        6                    “substantially related to the qualifications, functions, or duties”
                        7                    of cannabis cultivation and “may be a basis for denying [a]
                        8                    license.” 3 Cal. Code Reg. sec. 8113.
                        9               c.   That Vertical was a startup and dependent on investors, and
                       10                    that the represented “investors” were actually lenders;
                       11               d.   That Kaplan had no significant cannabis industry or regulatory
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                       12                    expertise;
                       13               e.   That Kaplan lacked sufficient funds to operate the business at
                       14                    Iron Angel, Sisters, or Wellsprings;
                       15               f.   That Kaplan lacked sufficient funds to meet his obligations
                       16                    under the Cultivation Agreement or any other agreements made
                       17                    by the parties;
                       18               g.   That Kaplan was obtaining funds from Dr. Davidson and others
                       19                    to finance the business with Ms. Shulman.
                       20               h.   That Kaplan lacked sufficient funds to close on the purchase of
                       21                    Wellsprings.
                       22               i.   That Kaplan had been locked out of the Cloneville dispensary
                       23                    and had been sued by its owner for fraud and breach of contract
                       24                    and faced allegations that he had entered into the agreement
                       25                    with the owner of the dispensary with the ulterior motive of
                       26                    taking over his business.
                       27               j.   That the Lease would be used to claim a right to the Iron Angel
                       28                    Property, notwithstanding the Cultivation Agreement.

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                        1                k.     That Vertical intended to make inside sales at below market
                        2                       prices to deprive Ms. Shulman of profit and obtain the profit at
                        3                       other points in Vertical’s distribution operation.
                        4         246. Kaplan had a duty to disclose these facts, because (1) they materially
                        5   qualify other facts that he did disclose, (2) they were accessible only to him and
                        6   not reasonably accessible to Ms. Shulman, (3) he actively concealed the facts, and
                        7   (4) he had a relationship with Ms. Shulman that Kaplan actively sought to foster
                        8   through emotional manipulation.
                        9         247. Ms. Shulman did not know of the concealed facts.
                       10         248. Kaplan intended to deceive Ms. Shulman by concealing the facts.
                       11         249. Had those facts been disclosed, Ms. Shulman reasonably would have
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                       12   behaved differently.
                       13         250. Ms. Shulman and her companies were harmed as alleged above.
                       14         251. Kaplan’s concealment was a substantial factor in causing such harm.
                       15         Charles Houghton’s Concealments
                       16         252. Houghton, acting in his capacity as agent and/or employee of Vertical
                       17   or the Kaplan Enterprise, concealed material facts from Ms. Shulman, not telling
                       18   her that, rather than the lease on Iron Angel being used merely for purposes of the
                       19   licensing process, it was the intent of Defendants to enforce the terms of the lease
                       20   to deprive Ms. Shulman of access to her land.
                       21         253. Houghton concealed this fact, intending to induce Ms. Shulman into
                       22   executing the lease.
                       23         254. Had Houghton disclosed the fact that the Iron Angel lease was not
                       24   just for licensing purposes, but that Defendants intended to enforce its terms,
                       25   Ms. Shulman would not have signed it.
                       26         255. Houghton had a duty to disclose these facts because (1) he was acting
                       27   as her attorney and had a fiduciary relationship or otherwise attempted to foster a
                       28   relationship of trust, (2) the facts he concealed materially qualify other facts that

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                        1   he disclosed, (3) the concealed facts were accessible only to him and not
                        2   reasonably accessible to Ms. Shulman, and (4) he actively concealed the facts.
                        3         256. As a direct and proximate result of Houghton’s concealment,
                        4   Ms. Shulman and her companies suffered damages, as alleged above.
                        5         257. Ms. Shulman’ reliance on Houghton’s concealments was a substantial
                        6   factor in causing the harm.
                        7         Courtney Dorne’s Concealments
                        8         258. Ms. Dorne, acting in her capacity as agent and/or employee of
                        9   Vertical or the Kaplan Enterprise, concealed material facts from Ms. Shulman. She
                       10   did not tell Ms. Shulman that Vertical was without the financial and business
                       11   resources and expertise necessary to run a successful cannabis business. She did
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                       12   not tell Ms. Shulman that Vertical was misleading potential investors and brand
                       13   partners to believe that Vertical solely owned Iron Angel and Wellsprings and the
                       14   rights to the lucrative cannabis business on those properties.
                       15         259. Ms. Dorne concealed these facts intending to induce Ms. Shulman
                       16   into trusting Defendants and assigning her property and financial interests to them.
                       17         260. Had Ms. Dorne disclosed these facts to her, Ms. Shulman would not
                       18   have entered into any agreements with Kaplan or Vertical.
                       19         261. Ms. Dorne had a duty to disclose these facts because (1) they
                       20   materially qualify other facts that she did disclose, (2) they were accessible only to
                       21   her and not reasonably accessible to Ms. Shulman, (3) she actively concealed the
                       22   facts, and (4) she had a relationship of trust with Ms. Shulman that Ms. Dorne
                       23   actively sought to foster through emotional manipulation.
                       24         262. Ms. Shulman did not know of the concealed facts.
                       25         263. Ms. Dorne intended to deceive Ms. Shulman by concealing the facts.
                       26         264. Had those facts been disclosed, Ms. Shulman reasonably would have
                       27   behaved differently.
                       28         265. Ms. Shulman and her companies were harmed as alleged above.

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                         1           266. Ms. Dorne’s concealment was a substantial factor in causing such
                         2   harm.
                         3                                        COUNT V
                                                         Negligent Misrepresentation
                         4                (All Plaintiffs Against Todd Kaplan, Charles Houghton,
                         5                              Courtney Dorne, and Vertical)

                         6           267. Plaintiffs repeat and reallege each of the allegations set forth in the
                         7   preceding paragraphs.
                         8           Negligent Misrepresentations by Todd Kaplan
                         9           268. During the negotiation of the Cultivation Agreement and the
                        10   agreements regarding the Wellsprings Property, Kaplan, acting in his capacity as
                        11   an agent and employees of Vertical or the Kaplan Enterprise, represented
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                        12   numerous material falsehoods to Ms. Shulman. For example:
                        13                 a.     On or about June 23, 2017, in Vertical’s Agoura Hills office,
                        14                        Kaplan told Ms. Shulman and others that he was innocent of
                        15                        any charge of past criminal conduct.
                        16                 b.     On or about June 23, 2017, in Vertical’s Agoura Hills office,
                        17                        Kaplan told Ms. Shulman that he and Vertical had extensive
                        18                        expertise in the cannabis industry, with particular expertise in
                        19                        cannabis licensing and regulatory schemes.
                        20                 c.     On or about June 23, 2017, in Vertical’s Agoura Hills office,
                        21                        Kaplan told Ms. Shulman that he managed a dispensary in
                        22                        Studio City, California called Cloneville and that he would use
                        23                        this position to place product from Iron Angel Ranch there.
                        24                 d.     On or about June 23, 2017, in Vertical’s Agoura Hills office,
                        25                        Kaplan told Ms. Shulman that Vertical already had significant
                        26                        investor funding so Vertical was able and ready to spend
                        27                        significant capital on the Iron Angel cannabis cultivation
                        28                        operation.

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                         1                e.    On or about July 21, 2017, Kaplan told Ms. Shulman that he
                         2                      intended to and had the financial means available to close on
                         3                      the Wellsprings Property.
                         4                f.    On or about June 3, 2018, Kaplan told Ms. Shulman that a
                         5                      group from Mexico City had agreed to a $150 million
                         6                      investment.
                         7                g.    On or about June 3, 2018, Kaplan told Ms. Shulman that the
                         8                      money was stuck in the bank in Florida, that Kaplan could see
                         9                      the money in the account but that the bank would not release it.
                        10                h.    On May 4, 2018, Kaplan wrote to Ms. Shulman that “everyone
                        11                      keeps saying [the money] is coming.”
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                        12         269. Kaplan’s representations were false when he made them.
                        13         270. Kaplan had no reasonable grounds for believing the representations
                        14   were true when he made them.
                        15         271. Kaplan intended that Ms. Shulman rely on these representations to her
                        16   detriment including inducing her to enter a business relationship with him,
                        17   foregoing business opportunities with others, and signing agreements giving
                        18   Kaplan rights to Ms. Shulman’s property and assets.
                        19         272. Ms. Shulman reasonably relied on Kaplan’s representations.
                        20   Ms. Shulman reasonably trusted Kaplan’s statements, in part due to his extensive
                        21   emotional manipulation of her.
                        22         273. Plaintiffs were harmed by these misrepresentations, as set forth
                        23   above. Ms. Shulman’s reliance on Kaplan’s representations was a substantial
                        24   factor in causing their harm.
                        25         Negligent Misrepresentations by Charles Houghton
                        26         274. During the process of applying for licenses for cultivation of cannabis
                        27   on Iron Angel, Houghton, acting in his capacity as an agent and/or employee of
                        28   Vertical or the Kaplan Enterprise, intentionally made material misrepresentations

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                         1   to Ms. Shulman. For example, on or about January 14, 2018, Houghton
                         2   represented in an email to Ms. Shulman that the Lease for the Iron Angel Property
                         3   was necessary “for licensing purposes.” Defendants Drew Milburn, Todd Kaplan,
                         4   Jeff Silver, and Robert Scott were copied.
                         5         275. This representation was false when he made it.
                         6         276. Houghton had no reasonable grounds for believing the representation
                         7   when he made it.
                         8         277. By misrepresenting the nature of the Lease Agreement and purporting
                         9   it to be an inconsequential document and merely a formality necessary for
                        10   obtaining the requisite licensing for the cannabis cultivation operation on Iron
                        11   Angel and for Kaplan to fulfill his obligations under the Cultivation Agreement,
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                        12   and by leaving Ms. Shulman with the impression that the Lease would not be
                        13   performed or enforced by either party, Houghton reasonably induced Ms. Shulman
                        14   to rely on the misrepresentation by executing the Lease Agreement giving
                        15   Kaplan’s LLC, Iron Angel II, rights to Ms. Shulman property.
                        16         278. On or about January 18, 2018, Ms. Shulman, in reasonable reliance
                        17   on Defendants’ fraudulent affirmations and misrepresentations, and without intent
                        18   to be bound in any way that deviated from the parties existing Cultivation
                        19   Agreement, executed the Lease Agreement.
                        20         279.   The parties did not discuss the key terms in the lease, which
                        21   Houghton dismissed as unimportant since the parties would not actually perform
                        22   under the lease, and Houghton did not send the lease to Ms. Shulman’s separate
                        23   attorney.
                        24         280. At the time Houghton made the representations set forth in this
                        25   Complaint, Ms. Shulman had no reason to believe that the representations were
                        26   untrue or that Defendants had any intention of enforcing the lease.
                        27

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                         1         281. Ms. Shulman reasonably trusted Houghton’s misrepresentations
                         2   because of her reasonable belief that he was representing her interests in an
                         3   attorney-client relationship.
                         4         282. As a direct and proximate result of Houghton’s misrepresentations,
                         5   Plaintiffs suffered damages as set forth above, including, but not limited to,
                         6   Defendants’ trespass and damage to Iron Angel.
                         7         283. Ms. Shulman’s reliance on Houghton’s representations was a
                         8   substantial factor in causing the harm.
                         9         Negligent Misrepresentations by Courtney Dorne
                        10         284. Prior to and during the negotiation of the Cultivation Agreement and
                        11   the agreements regarding Wellsprings, Ms. Dorne, acting in her capacity as an
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                        12   agent and employee of Vertical or the Kaplan Enterprise, represented numerous
                        13   material falsehoods to Ms. Shulman. For example:
                        14                d) On or about June 6, 2017, in a telephone conversation, Ms. Dorne
                        15                   represented that she was working with a financially stable
                        16                   company with existing indoor cultivation, manufacturing, brand
                        17                   partners, and dispensaries.
                        18                e) On or about June 6, 2017, in a telephone conversation, Ms. Dorne
                        19                   represented that Vertical had significant experience in the cannabis
                        20                   industry and in-house counsel with regulatory expertise.
                        21                f) On or about June 29, 2017, in a telephone conversation,
                        22                   Ms. Dorne represented to Ms. Shulman that Vertical was in the
                        23                   process of purchasing a one million square foot indoor grow space
                        24                   in Monterey, California.
                        25         285. Ms. Dorne’s representations were false when she made them (alleged
                        26   on information and belief with respect to the purchase of the Monterey facility).
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                         1         286. At the time Ms. Dorne made the representations set forth in this
                         2   Complaint, Ms. Shulman had no reason to believe that the representations were
                         3   untrue.
                         4         287. Ms. Shulman reasonably trusted Ms. Dorne’s misrepresentations
                         5   because of her reasonable belief that Ms. Dorne valued her longstanding personal
                         6   relationship with the Shulman family and had promised to “navigate the waters
                         7   together” with the Shulmans.
                         8         288. As a direct and proximate result of Ms. Dorne’s misrepresentations,
                         9   Plaintiffs suffered damages as set forth above.
                        10         289. Ms. Shulman’s reliance on Ms. Dorne’s representations was a
                        11   substantial factor in causing the harm.
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                        12                                       COUNT VI
                        13                      Breach of Contract — Cultivation Agreement
                                       (All Plaintiffs Against Todd Kaplan, NCAMBA9, and Vertical)
                        14

                        15         290. Plaintiffs repeat and reallege each of the allegations set forth in the
                        16   preceding paragraphs.
                        17         291. NCAMBA9, Inc., on the one hand, and Ms. Shulman as trustee for
                        18   the Shulman Family Trust, 3F, Inc., and Emerald Sky on the other hand, entered
                        19   into the Cultivation Agreement.
                        20         292. Plaintiffs did all, or substantially all, of the signiﬁcant things that the
                        21   Cultivation Agreement required them to do.
                        22         293. Vertical (as NCAMBA9’s “management company”) was required to:
                        23   a) pay all Operational Expenses, as that term is defined in the Cultivation
                        24   Agreement; b) keep and maintain detailed expense and accounting records of all
                        25   expenses and revenue stemming from its activities so it could track and report
                        26   revenue and Net Income; c) provide to the Collectives quarterly Profit and Loss
                        27   statements and related financial information of NCAMBA9’s operations; d) make
                        28   payments to the Collectives quarterly; e) permit the Collectives to audit the books

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                         1   and records of NCAMBA9 to confirm that all payments had been properly
                         2   calculated and paid; f) use Best Efforts to manage the Cultivation Operations in
                         3   the most efficient and effective manner possible under the circumstances; g) take
                         4   all steps necessary or prudent on behalf of The Shulman Trust and the Collectives
                         5   to ensure all Cultivation Operations on the properties were conducted in strict
                         6   accordance with applicable California law and any County ordinance, rules or
                         7   regulation; and h) obtain from The Shulman Trust pre-approval for actions
                         8   requiring a building, zoning land use or other permit.
                         9         294. Vertical failed to a) pay all Operational Expenses, as that term is
                        10   defined in the Cultivation Agreement; b) keep and maintain detailed expense and
                        11   accounting records of all expenses and revenue stemming from its activities so it
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                        12   can track and report revenue and Net Income; c) provide to the Collectives
                        13   quarterly Profit and Loss statements and related financial information of Vertical’s
                        14   operations; d) make payments to the Collectives quarterly; e) permit the
                        15   Collectives to audit the books and records of Vertical to confirm that all payments
                        16   have been properly calculated and paid; improperly disclosed Confidential
                        17   Information; f) use Best Efforts to manage the Cultivation Operations in the most
                        18   efficient and effective manner possible under the circumstances; g) take all steps
                        19   necessary or prudent on behalf of The Shulman Trust and the Collectives to ensure
                        20   all Cultivation Operations on the properties are conducted in strict accordance with
                        21   applicable California law and any County ordinance, rule or regulation; and
                        22   h) obtain from The Shulman Trust pre-approval for actions requiring building,
                        23   zoning land use or other permits.
                        24         295. Ms. Shulman was harmed as alleged above.
                        25         296. Vertical’s breach of contract was a substantial factor in causing
                        26   Ms. Shulman harm.
                        27         297. As a direct and proximate result of Defendants’ material breaches of
                        28   the Cultivation Agreement, Ms. Shulman was harmed as alleged above.

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                         1
                                                            COUNT VII
                         2                Breach of Oral Contract — Wellsprings Agreement
                         3          (Ms. Shulman Against Todd Kaplan, NCAMBA9, and Vertical)

                         4         298. Plaintiffs repeat and reallege each of the allegations set forth in the
                         5   preceding paragraphs.
                         6         299. Iron Angel II, Kaplan, and Vertical entered into an oral contract with
                         7   Ms. Shulman whereby Defendants agreed to: a) pay all Wellsprings operational
                         8   expenses; b) keep and maintain detailed expense and accounting records of all
                         9   Wellsprings expenses and revenue stemming from its activities so it can track and
                        10   report revenue and Net Income; c) provide to Ms. Shulman quarterly Profit and
                        11   Loss statements and related financial information of Wellsprings operations;
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                        12   d) make payments to Ms. Shulman quarterly; e) permit Ms. Shulman to audit the
                        13   Wellsprings books and records to confirm that all payments had been properly
                        14   calculated and paid; f) use Best Efforts to manage the Wellsprings Ranch
                        15   Cultivation Operations in the most efficient and effective manner possible under
                        16   the circumstances; g) take all steps necessary or prudent on Ms. Shulman’s behalf
                        17   to ensure all Cultivation Operations on Wellspring were conducted in strict
                        18   accordance with applicable California law and any County ordinance, rules and
                        19   regulations; and h) obtain from Ms. Shulman pre-approval for actions requiring a
                        20   building, zoning land use or other permit on Wellspring.
                        21         300. The oral agreement is supported by numerous communications
                        22   among the parties, including messages describing cultivation efforts on
                        23   Wellsprings, communications from Mr. Silver with Wellsprings expense detail, a
                        24   December 14, 2018, letter from Kaplan describing his and Ms. Shulman’s
                        25   acquisition of rights to Wellsprings, and a January 4, 2019, message from
                        26   Smoke Wallin confirming that Wellsprings was part of the “original deal.” The
                        27   Wellsprings Agreement also is evidenced by Kaplan’s partial payments toward the
                        28   purchase of Wellsprings, his and Houghton’s communications regarding the

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                         1   renegotiation of the original Wellsprings Purchase Agreement and lease, the
                         2   November 2017 profit sharing agreement with the Luglis, Vertical’s attempt to
                         3   manage operations on the property, and its having cultivated and sold product
                         4   from Wellsprings.
                         5         301. Defendants breached the oral contract with Ms. Shulman by failing to
                         6   a) pay all Operational Expenses; b) keep and maintain detailed expense and
                         7   accounting records of all expenses and revenue stemming from its activities so it
                         8   can track and report revenue and Net Income; c) provide to Ms. Shulman quarterly
                         9   Profit and Loss statements and related financial information of Vertical’s
                        10   operations; d) make payments to Ms. Shulman quarterly; e) permit Ms. Shulman to
                        11   audit Vertical’s books and records to confirm that all payments had been properly
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                        12   calculated and paid; f) use Best Efforts to manage the Cultivation Operations in
                        13   the most efficient and effective manner possible under the circumstances; g) take
                        14   all steps necessary or prudent on Ms. Shulman’s behalf to ensure all Cultivation
                        15   Operations on the properties are conducted in strict accordance with applicable
                        16   California law and any County ordinance, rule or regulation; and h) obtain from
                        17   Ms. Shulman pre-approval for actions requiring building, zoning land use or other
                        18   permits.
                        19         302. As a direct and proximate cause of Defendants’ breaches,
                        20   Ms. Shulman has been harmed ’as alleged above.
                        21                                COUNT VIII
                        22
                                         Breach of Oral Contract — Branding Agreement
                               (Ms. Shulman and Iron Angel, LLC, Against Todd Kaplan, and Vertical)
                        23

                        24         303. Plaintiffs repeat and reallege each of the allegations set forth in the
                        25   preceding paragraphs.
                        26         304. On or around July 19, 2017, Ms. Shulman and Iron Angel, on the one
                        27   hand, and Kaplan and Vertical, on the other, entered into an oral contract whereby
                        28   Defendants agreed to launch one or more brands, including specifically “Iron

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                         1   Angel,” as well as other brands Ms. Shulman identified by a) “seeding” insertions
                         2   about Iron Angel into new product reviews and podcasts focusing on women,
                         3   seniors and wellness; b) creating a website, promotional, social media and a media
                         4   kit focused on Iron Angel; c) creating packaging for single pre-roll and vape pen;
                         5   d) creating promotional items, such as tee shirts, caps and stickers; and
                         6   e) developing the Iron Angel logo.
                         7            305. Defendants also agreed to fund the branding efforts of a designer and,
                         8   to that end, hired two employees to help Ms. Shulman develop the Iron Angel
                         9   brand.
                        10            306. In exchange, Ms. Shulman agreed to a) be the “face” of the Iron
                        11   Angel brand and b) permit the Iron Angel brand to be used in connection with the
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                        12   cultivation operations on Iron Angel and Wellsprings pursuant to the Cultivation
                        13   Agreement and Wellsprings Agreement.
                        14            307. On information and belief, Ms. Shulman signed a written branding
                        15   agreement, but Defendants failed to provide her with a copy. Nonetheless, the
                        16   agreement is evidenced by numerous communications between Ms. Shulman and
                        17   various Vertical employees and agents, as alleged above.
                        18            308. Ms. Shulman did all or substantially all of the significant things that
                        19   the contract required her to do.
                        20            309. Defendants breached the oral contract by failing to create for
                        21   Ms. Shulman the branding elements described above, and by taking the brand
                        22   trademark for Vertical’s own use, thereby misappropriating Ms. Shulman’s “Iron
                        23   Angel” mark.
                        24            310. As a direct and proximate result of Defendants’ material breaches of
                        25   the oral agreement, Plaintiffs have been damaged as alleged above.
                        26

                        27

                        28


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                         1                                     COUNT IX
                                              Breach of Implied Covenant of Good Faith and
                         2                       Fair Dealing — Cultivation Agreement
                                             (Ms. Shulman Against NCAMBA9 and Vertical)
                         3

                         4         311. Plaintiffs repeat and reallege each of the allegations set forth in the
                         5   preceding paragraphs.
                         6         312. Ms. Shulman and Kaplan entered into a contract whereby the parties
                         7   agreed to jointly operate a cannabis farm on the properties for medical and adult
                         8   recreational use. Kaplan and Vertical agreed to manage cultivation operations,
                         9   with Ms. Shulman’s active engagement, pay operational expenses, and share all
                        10   net profits with Ms. Shulman.
                        11         313. The Cultivation Agreement contained, by operation of law, an
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                        12   implied covenant of good faith and fair dealing that neither party will do anything
                        13   that will injure the rights of the other to receive the benefits of the agreement.
                        14         314. Ms. Shulman did all or substantially all of the significant things that
                        15   the contract required her to do.
                        16         315. All conditions required for Defendants’ performance had occurred. In
                        17   fulfilling their duty to act in good faith under the Cultivation Agreement,
                        18   Defendants were required to act in the venture’s best interest by, at least, using
                        19   best efforts to ensure product was sold at fair market value, that operator licenses
                        20   were procured on behalf of the business, that Ms. Shulman’s interest in the
                        21   business, rights in real property and entitlement to profits were not hindered;
                        22         316. Defendants unfairly interfered with Ms. Shulman’s right to receive
                        23   the beneﬁts of the contract by engaging in self-dealing and intentionally selling
                        24   product at below-market prices to Defendants’ affiliate companies in order to
                        25   generate greater profits and retain them for themselves while preventing Ms.
                        26   Shulman from reaping the benefit of the bargain under the Cultivation Agreement.
                        27         317. Ms. Shulman was harmed as alleged above.
                        28


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                         1                                   COUNT X
                                            Breach of Implied Covenant of Good Faith and
                         2                     Fair Dealing — Wellsprings Agreement
                                     (Ms. Shulman Against Todd Kaplan, NCAMBA9, and Vertical)
                         3

                         4         318. Plaintiffs repeat and reallege each of the allegations set forth in the
                         5   preceding paragraphs.
                         6         319. Ms. Shulman, on the one hand; and Kaplan and Vertical, on the other;
                         7   entered into a contract whereby the parties agreed to jointly operate a cannabis
                         8   farm on Wellsprings Ranch for medical and adult recreational use. Defendants
                         9   agreed to manage cultivation operations, with Ms. Shulman’s active engagement,
                        10   pay operational expenses, and share all net profits with Ms. Shulman;
                        11         320. The Wellsprings agreement contained, by operation of law, an
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                        12   implied covenant of good faith and fair dealing, whereby each party will not do
                        13   anything to unfairly interfere with the right of any other party to receive the
                        14   benefits of the contract.
                        15         321. Ms. Shulman did all, or substantially all of the significant things that
                        16   the contract required her to do.
                        17         322. All conditions required for Defendants’ performance had occurred.
                        18         323. Kaplan unfairly interfered with Ms. Shulman’s right to receive the
                        19   beneﬁts of the contract by engaging in self-dealing and intentionally selling
                        20   product at below-market prices to Defendants’ affiliate companies in order to
                        21   generate greater profits and retain them for himself while preventing Ms. Shulman
                        22   from reaping the benefit of the bargain under the parties’ agreement.
                        23         324.   Ms. Shulman was harmed as alleged above.
                        24                                  COUNT XI
                        25                 Breach of Implied Covenant of Good Faith and
                                               Fair Dealing — Branding Agreement
                        26      (Ms. Shulman and Iron Angel, LLC Against Todd Kaplan and Vertical)
                        27         325. Plaintiffs repeat and reallege each of the allegations set forth in the
                        28   preceding paragraphs.

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                         1         326. Ms. Shulman and Iron Angel, LLC, on the one hand, and Kaplan and
                         2   Vertical, on the other hand, entered into a contract whereby Defendants agreed to
                         3   provide branding services to Ms. Shulman and Iron Angel for purposes of
                         4   promoting and marketing the Iron Angel brand.
                         5         327. The branding agreement contained, by operation of law, an implied
                         6   covenant of good faith and fair dealing, whereby each party will not do anything to
                         7   unfairly interfere with the right of any other party to receive the benefits of the
                         8   contract.
                         9         328. Ms. Shulman and Iron Angel did all, or substantially all of the
                        10   significant things that the contract required them to do.
                        11         329. All conditions required for Kaplan’s and Vertical’s performance had
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                        12   occurred.
                        13         330. Kaplan and Vertical unfairly interfered with Plaintiffs’ right to
                        14   receive the beneﬁts of the contract by a) intentionally delaying efforts to develop
                        15   branding and promotional materials for Ms. Shulman’s and Iron Angel LLC’s use,
                        16   and b) misappropriating the Iron Angel brand for Vertical’s own use in
                        17   promotional and investor materials.
                        18         331. Ms. Shulman and Iron Angel were harmed as alleged above.
                        19
                                                           COUNT XII
                        20                Unfair Competition — Bus. & Prof. Code § 17200
                                (Ms. Shulman Against Todd Kaplan, Iron Angel II, LLC, and Vertical)
                        21

                        22         332. Plaintiffs repeat and reallege each of the allegations set forth in the
                        23   preceding paragraphs.
                        24         333. California Business and Professions Code Section 17200 et seq.
                        25   prohibits any unlawful, unfair, or fraudulent business acts or practices. Section
                        26   17200 imposes strict liability for violations and does not require proof that
                        27   Defendants intended to injure anyone.
                        28


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                         1         334. Defendants’ Unlawful Practices. Section 17200 borrows violations of
                         2   other laws and treats those transgressions, when committed as business activity, as
                         3   “unlawful” business practices. The unlawful practices prohibited by section 17200
                         4   are any practices forbidden by law, be it civil or criminal, federal, state, or
                         5   municipal, statutory, regulatory, or court-made. Defendants have engaged in
                         6   numerous unlawful business practices, as alleged herein, including submitting
                         7   fraudulent affidavits to the County of Santa Barbara in order to procure operator
                         8   licenses, infringing Ms. Shulman’s rights in the Iron Angel trademark, breaching
                         9   the parties’ agreements related to cultivation on Iron Angel, Sisters, and
                        10   Wellsprings; engaging in fraudulent behavior designed to mislead Ms. Shulman
                        11   into believing the business venture was for everyone’s benefit and concealing
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                        12   material facts from them about Kaplan’s felony plea and their efforts to retain
                        13   financial profits for the benefit of Kaplan’s other business entities, such as Vertical
                        14   and Iron Angel II; coaxing Ms. Shulman into sharing proprietary and confidential
                        15   information about cultivation processes and then misappropriating, without just
                        16   compensation, the same for Defendants’ own use; and for violations of Welfare &
                        17   Institutions Code Section 15610.30 for financial elder abuse, violations of the
                        18   Federal RICO Act, as alleged above.
                        19         335. Defendants have falsely represented that Defendants’ products and
                        20   services are the same as Plaintiffs’ products and services, which are familiar to
                        21   many California consumers. By these misrepresentations, Defendants have
                        22   deceived consumers into believing that Defendants or their products and services
                        23   are, or are affiliated with, Plaintiffs and their products and services. In doing so,
                        24   Defendants have traded on the goodwill of Plaintiffs’ Iron Angel name and
                        25   trademark to compete unfairly against Plaintiffs’ goods and services.
                        26         336. Defendants’ Unfair Practices. At all times relevant, Defendants
                        27   engaged in unfair business practices, as alleged herein. Their conduct offends
                        28   established public policy and is immoral, unethical, oppressive, unscrupulous, and

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                         1   substantially injurious. Defendants and Ms. Shulman were engaged in a business
                         2   founded on the idea that Kaplan and Ms. Shulman would benefit equally from its
                         3   operations. As business partners, Defendants owed Ms. Shulman a duty to act in
                         4   the best interests of the business venture. Instead, Defendants’ efforts, throughout
                         5   the relationship, were aimed at separating Ms. Shulman from her pre-established
                         6   and ongoing financial and property rights in Iron Angel, Sisters, and Wellsprings.
                         7         337. Taking advantage of Ms. Shulman’s relative lack of sophistication
                         8   with regard to legal matters, Defendants routinely misled Ms. Shulman about
                         9   Kaplan and his business operations, including Vertical’s lack of stability and
                        10   resources to carry out Kaplan’s promises under the Cultivation and Wellsprings
                        11   Agreements, ownership of “state-of-the art” facilities that were little more than
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                        12   unused buildings, business dealings with numerous partners that had zero backing
                        13   or substance, and the status of their own business (including keeping two sets of
                        14   financials so as to hide actual revenue and production numbers from
                        15   Ms. Shulman).
                        16         338. Defendants also prepared legal instruments for Ms. Shulman and
                        17   induced her to sign them based on misrepresentations. Defendants regularly misled
                        18   Ms. Shulman as to the true meaning of such legal documents and hid from her the
                        19   intended consequences of those materials. For instance, Kaplan and Houghton
                        20   prepared the Iron Angel lease claiming it was necessary for regulatory approval,
                        21   when instead it purported to give Kaplan long-term rights to possess and use Iron
                        22   Angel. Houghton also had Ms. Shulman prepare a number of affidavits supporting
                        23   her legal nonconforming use of the properties, implying that he would obtain
                        24   licenses in her name when, in fact, Houghton pursued licenses only for Kaplan’s
                        25   company, Iron Angel II, LLC. Houghton and Kaplan prepared, and instructed
                        26   Ms. Shulman to sign, an assignment of rights in Wellsprings, giving Kaplan an
                        27   undivided joint interest in the property, which Kaplan used to a) claim he was
                        28


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                         1   rightfully in possession of Wellsprings and b) attempt to extract millions of dollars
                         2   from Ms. Shulman.
                         3         339. Defendants encouraged Ms. Shulman to leave her home on Iron
                         4   Angel to take up residence at Wellsprings so they could convert her home to a
                         5   processing center. But Defendants failed to complete the processing center and, in
                         6   the process, completely disassembled the residence to the point that it is no more
                         7   than walls and a dilapidated roof. When Defendants subsequently defaulted on the
                         8   Wellsprings Agreement, Ms. Shulman was forced to return to the home that was
                         9   then in shambles. The home no longer had a kitchen or bathroom, and
                        10   Ms. Shulman was forced to rent a hotel room (so she could shower) and to place a
                        11   temporary toilet on Iron Angel.
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                        12         340. By engaging in these acts, and others alleged herein, Defendants
                        13   showed no regard for Ms. Shulman’s business or for her welfare or dignity.
                        14   Defendants’ behavior is particularly egregious because they have an established
                        15   practice of preying on the elderly to strip them of their property for Defendants’
                        16   own gain while suggesting they are “family” and wish to establish a long-term
                        17   relationship for their mutual benefit. Ms. Shulman has been engaged in the
                        18   cultivation business (whether produce or cannabis) for more than 20 years. Prior to
                        19   partnering with Defendants, Ms. Shulman was successful and in compliance with
                        20   all local and state laws, rules and regulations. She had cultivated important
                        21   relationships with local vendors, County employees, and clients. Defendants’
                        22   conduct has injured Ms. Shulman’s reputation in the community and stripped her
                        23   of important and demonstrably lucrative property rights.
                        24         341. Defendants’ Fraudulent Practices. At all times relevant, Defendants
                        25   engaged in the fraudulent business activities described herein.
                        26         342. After negotiating the Cultivation Agreement with Ms. Shulman,
                        27   Kaplan fraudulently induced Ms. Shulman to sign the Iron Angel lease and the
                        28   Amendment to the Purchase Sale Agreement regarding Wellsprings. Kaplan then

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                         1   persuaded Ms. Shulman to loan approximately $320,000—the remainder of her
                         2   life savings—to pursue joint initiatives under the Cultivation Agreement, while at
                         3   the same time diverting the funds to use for his own benefit and failing to meet
                         4   obligations under the Cultivation Agreement. When he was unwilling or unable to
                         5   repay the loan in full, Kaplan sought to persuade Ms. Shulman to convert the loan
                         6   into an investment in Vertical.
                         7         343. In order to attract more investors and infuse more capital in Vertical,
                         8   Defendants frequently misrepresented to investors that Vertical owns Iron Angel
                         9   and Wellsprings. Vertical does not, and never has, owned these properties, but, on
                        10   information and belief, misled third parties into believing Vertical has expansive
                        11   farming land available in order to persuade third parties to invest in Vertical,
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                        12   thereby stripping profits from Ms. Shulman.
                        13         344. Defendants misled Ms. Shulman into believing that the Iron Angel
                        14   lease was required solely for licensing purposes and was merely a formality, when
                        15   in fact the lease was not necessary for any county or state licensing requirements
                        16   and was later used as a basis for Defendants to bar Ms. Shulman from her cannabis
                        17   operation on Iron Angel.
                        18         345. Defendants’ former Chief Financial Officer admitted to Brandon
                        19   Shulman that Vertical keeps two sets of books to avoid reporting all cash income.
                        20   The CFO furthered Defendants’ fraud by providing Plaintiffs with materially false
                        21   financial information, in an effort to reduce the amount of profits payable under
                        22   the parties’ agreements and to divert profits to Kaplan’s other business affiliates.
                        23         346. Defendants’ acts of unlawful, unfair, and fraudulent competition have
                        24   proximately caused Ms. Shulman to suffer injury in fact and loss of money and
                        25   property (including as a result of expenses that Ms. Shulman has incurred, and
                        26   continue to incur, in their efforts to prevent and deter Defendants from engaging in
                        27   unlawful conduct) in an amount to be proven at trial.
                        28


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                         1         347. As a result of Kaplan’s unlawful, unfair, and fraudulent conduct
                         2   performed in furtherance of the Defendants’ concerted scheme, conspiracy, and
                         3   enterprise, Defendants have been unjustly enriched in an amount that as yet is
                         4   unascertained, which will be determined according to proof at trial, but which
                         5   includes their ill-gotten receipt from Ms. Shulman.
                         6         348. Ms. Shulman has suffered “injury in fact” within the meaning of
                         7   Section 17204 of the UCL as a result of the Kaplan and Vertical’s actions.
                         8   Ms. Shulman has suffered distinct and palpable injury as a result of the misconduct
                         9   that is (a) concrete and particularized, and (b) is actual and imminent, not
                        10   conjectural or hypothetical, including but not limited to the loss of cultivation and
                        11   processor operator’s licenses and her 50 percent profit share as a result of Kaplan’s
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                        12   below-market sales to his affiliates.
                        13         349. Under Section 17203 of the UCL, Ms. Shulman is entitled to
                        14   equitable relief in the form of an accounting, restitution, and disgorgement of all
                        15   ill-gotten gains, earnings, profits, and benefits obtained by Kaplan and Vertical.
                        16         350. Pursuant to California Business and Professions Code Section 17205,
                        17   Ms. Shulman’s remedies under Business and Professions Code Sections 17200 et
                        18   seq. are cumulative with remedies under all other statutory and common law
                        19   remedies available in California.
                        20         351. Pursuant to Section 17206.1, Ms. Shulman, who was at least 65 at all
                        21   relevant times, is entitled to additional penalties for each act of unfair competition
                        22   perpetrated against her.
                        23
                                                             COUNT XIII
                        24                    False Advertising in Violation of California
                                              Business & Professions Code § 17500, et seq.
                        25             (Ms. Shulman and Iron Angel, LLC, Against Todd Kaplan,
                                                   Iron Angel II, LLC, and Vertical)
                        26

                        27         352. Plaintiffs repeat and reallege each of the allegations set forth in the
                        28   preceding paragraphs.

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                         1          353. Defendants’ marketing materials suggest that they own the Iron Angel
                         2   mark and that they own the Wellsprings and Iron Angel properties. Defendants’
                         3   marketing claims, which are distributed and presented to investors, are false and/or
                         4   misleading statements of fact that Defendants know to be false and/or misleading.
                         5          354. The representations are untrue, have actually deceived, have the
                         6   tendency to deceive, and/or are likely to deceive consumers.
                         7          355. Defendants’ misrepresentations have been with the intent to usurp
                         8   Plaintiffs’ goodwill in an effort to compete unfairly against, among others,
                         9   Plaintiffs.
                        10          356. Defendants’ aforesaid misrepresentations constitute false advertising
                        11   in violation of California Business and Professions Code §§ 17500 and 17505.
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                        12          357. Defendants’ acts greatly and irreparably damage and will continue to
                        13   damage Plaintiffs unless restrained by this Court. Plaintiffs are without an
                        14   adequate remedy at law.
                        15
                                                            COUNT XIV
                        16        Unfair Competition in Violation of Section 43(a) of the Lanham Act,
                                            15 U.S.C. § 1125(a) Trademark Infringement
                        17            (Ms. Shulman and Iron Angel, LLC, Against Todd Kaplan,
                                                  Iron Angel II, LLC, and Vertical)
                        18

                        19          358. Plaintiffs repeat and reallege each of the allegations set forth in the
                        20   preceding paragraphs.
                        21          359. Defendants’ aforesaid use of the Iron Angel name and mark, and
                        22   deceptive marketing and advertising materials, falsely represent that Defendants
                        23   are affiliated, connected, or associated with, or sponsored or approved by Plaintiffs
                        24   in violation of Section 42(a)(1)(A) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A).
                        25          360. Defendants’ aforesaid use of the Iron Angel name and mark, and
                        26   deceptive marketing and advertising materials, falsely represent the nature,
                        27   character, and/or qualities of their goods, services, and commercial activities in
                        28   violation of Section 43(a)(1)(B) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(B).

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                         1          361. Defendants knew, or should have known, that the Iron Angel name
                         2   and mark belong to Plaintiffs and that any suggestion that Defendants are
                         3   affiliated, connected, or associated with, or sponsored or approved by Plaintiffs
                         4   violates Section 42(a)(1)(A) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A) and
                         5   Section 43(a)(1)(B) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(B).
                         6          362. Defendants’ acts greatly and irreparably damage and will continue to
                         7   damage Plaintiffs unless restrained by the Court; wherefore, Plaintiffs are without
                         8   an adequate remedy at law.
                         9
                                                               COUNT XV
                        10          False Advertising in Violation of Section 43(a) of the Lanham Act,
                                                           15 U.S.C. § 1125(a)
                        11             (Ms. Shulman and Iron Angel, LLC, Against Todd Kaplan,
                                                       Iron Angel II, and Vertical)
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                        12

                        13          363. Plaintiffs repeat and reallege each of the allegations set forth in the
                        14   preceding paragraphs.
                        15          364. Defendants’ claims in their marketing materials and communications
                        16   with investors and brand partners that the Iron Angel and Wellsprings properties
                        17   and the Iron Angel mark belong to Vertical are false and/or misleading statements
                        18   of fact.
                        19          365. These claims have actually deceived, have the tendency to deceive,
                        20   and/or are likely to deceive consumers.
                        21          366. The resulting deception caused by the claims is material, in that the
                        22   claims are likely to influence the purchasing decisions of purchasers of the goods
                        23   and services that are sold by Plaintiffs and Defendants.
                        24          367. Defendants’ claims are willful and have been made with the intent to
                        25   usurp Plaintiffs’ goodwill in an effort to compete unfairly against Plaintiffs.
                        26          368. Defendants knew, or should have known, that the Iron Angel mark
                        27   belongs to Plaintiffs and that any suggestion that Defendants own it is false and
                        28   misleading.

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                         1         369. Defendants knew, or should have known, that the Iron Angel and
                         2   Wellsprings properties belong to Plaintiffs and that any suggestion that Defendants
                         3   own them violates Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).
                         4         370. Defendants’ aforesaid claims constitute false advertising in violation
                         5   of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).
                         6         371. Defendants’ acts greatly and irreparably damage and will continue to
                         7   damage Plaintiffs unless restrained by this Court. Plaintiffs are without an
                         8   adequate remedy at law.
                         9                                  COUNT XVI
                        10
                                      Unfair Competition in Violation of California Common Law
                                      (Ms. Shulman and Iron Angel, LLC, Against Todd Kaplan,
                        11                       Iron Angel II, LLC, and Vertical)
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                        12         372. Plaintiffs repeat and reallege each of the allegations set forth in the
                        13   preceding paragraphs.
                        14         373. Defendants’ acts constitute unfair competition in violation of the
                        15   common law of the State of California.
                        16         374. Defendants intentionally have traded upon and unfairly benefited
                        17   from Plaintiff’s valuable goodwill, reputation, and marketing in order to compete
                        18   unfairly with Plaintiffs and have been unjustly enriched thereby.
                        19         375. Defendants have misappropriated for themselves the commercial
                        20   value of the Iron Angel name and mark in conscious disregard of Plaintiffs’ rights
                        21   and have greatly impaired the value of Plaintiffs’ goodwill in the name and mark
                        22   among American consumers.
                        23         376. Defendants knew, or should have known, that the Iron Angel name
                        24   and mark belong to Plaintiffs and that any suggestion that Defendants own them is
                        25   false and misleading.
                        26         377. In conducting such acts, Defendants are guilty of oppression, fraud
                        27   and/or malice, as defined in Cal. Civ. Code § 3294.
                        28


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                         1         378. Defendants’ acts greatly and irreparably damage and will continue to
                         2   damage Plaintiffs unless restrained by this Court. Plaintiffs are without an
                         3   adequate remedy at law.
                         4
                                                              COUNT XVII
                         5                 Intentional Interference with Contractual Relations
                                            (Ms. Shulman Against Todd Kaplan and Vertical)
                         6

                         7         379. Plaintiffs repeat and reallege each of the allegations set forth in the
                         8   preceding paragraphs.
                         9         380. The Wellsprings Purchase Agreement and its subsequent
                        10   November 20, 2017, amendment together constituted a valid and enforceable
                        11   contract between Francine Shulman and The Lugli Family Trust.
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                        12         381. Kaplan had knowledge of the existence and terms of the Wellsprings
                        13   Purchase Agreement, as amended, as well as the parties’ respective obligations
                        14   thereunder.
                        15         382. Kaplan intentionally interfered with the Wellsprings Purchase
                        16   Agreement, as amended, between Ms. Shulman and the Lugli Family Trust.
                        17         383. Kaplan engaged in an orchestrated series of intentional and bad faith
                        18   acts, which were not privileged and were undertaken by improper means for illicit
                        19   and even illegal motives, in order to induce a breach or disruption of the
                        20   contractual relationship between Ms. Shulman and the Lugli Trust. Specifically,
                        21   after the Wellsprings Purchase Agreement, and the November 2017 Amendment
                        22   had been signed, Kaplan engaged in efforts to take title to the property and exclude
                        23   Ms. Shulman. As part of the parties’ Cultivation Agreement and Wellsprings
                        24   Agreement, Kaplan and Vertical agreed to pay the venture’s operational expenses,
                        25   which included lease and mortgage payments. Kaplan made some payments but
                        26   ultimately defaulted on the parties’ agreement, rendering Ms. Shulman in default
                        27   on the Wellsprings Purchase Agreement, as amended. The Luglis evicted
                        28   Ms. Shulman and terminated the Wellsprings Purchase Agreement, stripping

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                         1   Ms. Shulman of her right to purchase Wellsprings Ranch and to expand her
                         2   business.
                         3         384. As a direct and proximate result of Kaplan’s misconduct,
                         4   Ms. Shulman has suffered harm as alleged above.
                         5
                                                             COUNT XVIII
                         6           Intentional Interference with Prospective Economic Advantage
                                            (Ms. Shulman Against Todd Kaplan and Vertical)
                         7

                         8         385. Plaintiffs repeat and reallege each of the allegations set forth in the
                         9   preceding paragraphs.
                        10         386. Plaintiff and the Lugli Family Trust were in an economic relationship
                        11   that would have resulted in an economic beneﬁt to Ms. Shulman. Prior to engaging
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                        12   with Kaplan, Ms. Shulman had negotiated with the Luglis to purchase 402 acres of
                        13   real property on which Ms. Shulman could expand her cannabis cultivation farm.
                        14         387. Kaplan and Vertical knew of the relationship, because Ms. Shulman
                        15   had, prior to executing the Wellsprings Purchase Agreement, invited Kaplan to
                        16   invest in Wellsprings with her.
                        17         388. After the Wellsprings Purchase Agreement had been signed, Kaplan
                        18   engaged in efforts to take title to the property and exclude Ms. Shulman. As part of
                        19   the parties’ Cultivation Agreement and Wellsprings Agreement, Kaplan and Iron
                        20   Angel II agreed to pay operational expenses, which included lease and mortgage
                        21   payments. Kaplan initially made payments to the Luglis but failed to pay the
                        22   balance due. By February 2019, Kaplan and Vertical defaulted on the parties’
                        23   agreement, rendering Ms. Shulman in default on the Wellsprings Purchase
                        24   Agreement, as amended. The Luglis evicted Ms. Shulman and terminated the
                        25   Wellsprings Purchase Agreement, stripping Ms. Shulman of her right to purchase
                        26   Wellsprings Ranch where she had been living and intended to expand her
                        27   business.
                        28


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                         1          389. By engaging in this conduct, Kaplan and Vertical intended to disrupt
                         2   the relationship or knew that disruption of the relationship was certain or
                         3   substantially certain to occur.
                         4          390. The relationship was, in fact, disrupted.
                         5          391. Ms. Shulman was harmed as alleged above.
                         6          392. Kaplan and Vertical’s conduct was a substantial factor in causing
                         7   Ms. Shulman’s harm.
                         8                                  COUNT XIX
                         9
                                             Intentional Infliction of Emotional Distress
                                   (Ms. Shulman Against Todd Kaplan, Matt Kaplan, Drew Milburn,
                        10                   Robert Scott, Courtney Dorne, and Vertical)

                        11          393. Plaintiffs repeat and reallege each of the allegations set forth in the
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                        12   preceding paragraphs.
                        13          394. Defendants’ conduct caused Ms. Shulman to suffer severe emotional
                        14   distress.
                        15          395. Defendants’ conduct was outrageous, as alleged herein.
                        16          396. Defendants acted with reckless disregard of the probability that
                        17   Ms. Shulman would suffer emotional distress, knowing that Ms. Shulman had
                        18   dedicated her life (and invested her life savings) into making the cannabis
                        19   cultivation business successful.
                        20          397. Ms. Shulman suffered severe emotional distress as a result of
                        21   Defendants’ actions. Ms. Shulman’s distress has manifested itself in a variety of
                        22   physical and emotional ways, including: 1) sleepless nights induced by Vertical’s
                        23   acts of aggression (e.g., threatening to “bury” her in litigation, screaming at her,
                        24   and attempting to drive her off the road) and fraudulent activity described herein,
                        25   as well as by the physical presence of Vertical employees sent to intimidate her
                        26   around the clock by arriving on her property in masks, parking through the night
                        27   by her house (where she lives alone), playing loud music in the middle of the
                        28   night, and causing her dogs to bark in order to frighten her and prevent her from

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                         1   sleeping; 2) severe anxiety brought on by uncertainty and fear instilled by Vertical
                         2   and its executives’ actions; 3) living in isolation and unable to visit her
                         3   grandchildren, participate in significant family events, or to maintain relationships
                         4   with friends and family; 4) days of nausea, migraines (where she never had
                         5   headaches before), and uncharacteristic mood swings; and 5) humiliation and
                         6   emotional suffering in and among her peers and community. Ms. Shulman, once a
                         7   successful, gregarious businesswoman and now house-bound and reclusive, has
                         8   overwhelming doubts of self-worth, which have left her living in deep despair.
                         9         398. Defendants’ conduct was a substantial factor in causing
                        10   Ms. Shulman’s severe emotional distress.
                        11
                                                            COUNT XX
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                        12       Elder Financial Abuse Pursuant to Cal. Welf. & Inst. Code § 15610.30
                                (Ms. Shulman Against Todd Kaplan, Iron Angel II, LLC, and Vertical)
                        13

                        14         399. Plaintiffs repeat and reallege each of the allegations set forth in the
                        15   preceding paragraphs.
                        16         400. Kaplan and Iron Angel II have violated the Elder Abuse and
                        17   Dependent Adult Protection Act by taking financial advantage of Ms. Shulman.
                        18   The purpose of the Elder Abuse Act is to protect a particularly vulnerable portion
                        19   of the population from gross mistreatment in various forms, including protecting
                        20   the elderly from financial abuse. Ms. Shulman is entitled not to be abused or
                        21   defrauded.
                        22         401. Through the acts described herein, Kaplan took, misappropriated and
                        23   maliciously retained possession of Ms. Shulman’s property, including her 50
                        24   percent share in net income from the crops on the Ranches, prospective business
                        25   opportunities flowing from the business arrangement, her real property interest in
                        26   Wellsprings Ranch, and the goodwill she earned in the Iron Angel mark, and
                        27   caused substantial damage to the Iron Angel and Wellsprings properties and the
                        28   cannabis operations on those properties. Kaplan and others also induced

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                         1   Ms. Shulman to sign the Iron Angel lease based on fraudulent misrepresentations.
                         2   Defendants also failed to uphold their end of the bargain with respect to
                         3   operational expenses, causing Ms. Shulman to invest her life savings in keeping
                         4   the business afloat, but not paying her back.
                         5         402. The actions of Kaplan and others, as alleged herein and above, are an
                         6   unconscionable and despicable fraud upon Ms. Shulman. Kaplan took advantage
                         7   of Ms. Shulman’s advanced age, health, and emotional vulnerability.
                         8         403. Ms. Shulman was at least 65 years of age or older at the time she
                         9   signed the Iron Angel lease and the Amended Purchase and Sale Agreement for
                        10   the Wellsprings Ranch, as amended in November 2017.
                        11         404. Defendants wrongfully have refused to surrender possession or the
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                        12   right to possession of Iron Angel, have caused physical damage to the property and
                        13   cannabis plants, and have used the alleged lease agreement as their last effort to
                        14   continue to wrongfully retain alleged rights to Ms. Shulman’s real property while
                        15   simultaneously damaging Iron Angel and the plants growing thereon.
                        16         405. The conduct, as described and alleged herein, constitutes financial
                        17   abuse as defined in Welfare & Institutions Code Section 15610.30.
                        18         406. Defendants are guilty of recklessness, oppression, fraud, and malice
                        19   in the commission of the financial abuse of Ms. Shulman, as described and alleged
                        20   herein.
                        21         407. Under the Welfare & Institutions Code Section 15657.5, Defendants
                        22   are liable for Ms. Shulman’s reasonable attorney fees and costs. Additionally,
                        23   under California Civil Code Section 3294, Ms. Shulman is entitled to punitive or
                        24   exemplary damages against Defendants.
                        25         408. By committing the above acts, Defendants violated the California
                        26   Elder Abuse and Dependent Abuse Civil Protection Act by taking financial
                        27   advantage of Ms. Shulman with the intent to defraud and/or commit undue
                        28   influence against her in her vulnerable state.

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                         1         409. In doing the acts alleged herein, Defendants acted with oppression,
                         2   fraud, and malice as set forth in Civil Code Section 3294. Ms. Shulman is entitled
                         3   to an award of punitive damages to make an example of and to punish Defendants
                         4   in addition to damages and other relief requested in this Complaint for an amount
                         5   to be proven at the time of trial.
                         6         410. Defendants’ conduct was a substantial factor in causing
                         7   Ms. Shulman’s harm.
                         8                                    COUNT XXI
                         9
                                             Assistance of Elder Financial Abuse Pursuant to
                                                    Cal. Welf. & Inst. Code §15610.30
                        10                      (Ms. Shulman Against Charles Houghton)

                        11         411. Plaintiffs repeat and reallege each of the allegations set forth in the
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                        12   preceding paragraphs.
                        13         412. Houghton has violated the Elder Abuse and Dependent Adult
                        14   Protection Act by assisting Kaplan’s and Iron Angel II’s taking financial
                        15   advantage of Ms. Shulman. The purpose of the Elder Abuse Act is to protect a
                        16   particularly vulnerable portion of the population from gross mistreatment in
                        17   various forms, including protecting the elderly from financial abuse. Ms. Shulman
                        18   is entitled not to be abused or defrauded.
                        19         413. Through the acts described herein, Houghton assisted Kaplan and
                        20   Iron Angel II in appropriating and retaining Ms. Shulman’s property, including her
                        21   50 percent share in net income from the crops cultivated on the properties,
                        22   prospective business opportunities flowing from the business venture, her real
                        23   property interest in Wellsprings, and the goodwill she earned in the Iron Angel
                        24   mark. Houghton also assisted Kaplan in inducing Ms. Shulman to sign the Iron
                        25   Angel lease based on fraudulent misrepresentations.
                        26         414. Houghton’s actions, and that of others, as alleged herein, are an
                        27   unconscionable and despicable fraud upon Ms. Shulman. Houghton assisted
                        28


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                         1   Kaplan in taking advantage of Ms. Shulman’s advanced age, health, and emotional
                         2   vulnerability.
                         3          415. Ms. Shulman was at least 65 years of age at the time of Kaplan’s and
                         4   Iron Angel II’s conduct.
                         5          416. Houghton assisted Kaplan and Iron Angel II in appropriating
                         6   Ms. Shulman’s property with the intent to defraud and by undue influence.
                         7          417. Ms. Shulman was harmed.
                         8          418. Houghton’s conduct was a substantial factor in causing
                         9   Ms. Shulman’s harm.
                        10          419. The conduct, as described and alleged herein, constitutes financial
                        11   abuse as defined in Welfare & Institutions Code Section 15610.30.
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                        12          420. Under the Welfare & Institutions Code Section 15657.5, Houghton is
                        13   liable for Ms. Shulman’s reasonable attorneys’ fees and costs. Houghton is guilty
                        14   of recklessness, oppression, fraud, and malice in assisting the commission of the
                        15   financial abuse of Ms. Shulman as described and alleged herein. Under California
                        16   Civil Code Section 3294, Ms. Shulman is entitled to punitive or exemplary
                        17   damages against Houghton.
                        18                                     COUNT XXII
                                                    Breach of Fiduciary Duty by Attorney
                        19                        (Ms. Shulman Against Charles Houghton)
                        20          421. Plaintiffs repeat and reallege each of the allegations set forth in the
                        21   preceding paragraphs.
                        22          422. Houghton held himself out to third parties as Ms. Shulman’s attorney
                        23   and led Ms. Shulman to believe he would act in good faith on her behalf.
                        24          423. Houghton breached the duty of an attorney to maintain loyalty and
                        25   zealous advocacy on their behalf and not to engage in activities that posed a
                        26   conflict of interest to his clients.
                        27          424. Ms. Shulman was harmed by Houghton’s conflicts of interest,
                        28   wherein he induced reliance by Ms. Shulman on his professed regulatory expertise

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                         1   and promises to assist the her when, in fact, he sought to assist the
                         2   misappropriation of Ms. Shulman’s financial and property rights for Kaplan’s
                         3   benefit. Houghton led Ms. Shulman to believe that he would obtain operator
                         4   licenses on behalf of Kaplan and Ms. Shulman jointly. He misled Ms. Shulman
                         5   about the types of information he needed to complete the application process,
                         6   including requesting (but failing to use) true and correct affidavits from
                         7   Ms. Shulman regarding the legal nonconforming use of Iron Angel in order to
                         8   expedite the permanent application process, and he misled them to believe the
                         9   application would be denied absent a long-term lease on Iron Angel. Houghton
                        10   took the lead, on Ms. Shulman’s behalf, in drafting legal documents (such as the
                        11   Iron Angel lease) without consultation with her or her other attorney. Houghton
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                        12   was instrumental in inducing Ms. Shulman to give up all of her rights on Sisters.
                        13   Ms. Shulman reasonably believed that Houghton was acting on her behalf, when at
                        14   all times he was acting for Kaplan, Vertical, and other Defendants. In the end,
                        15   Houghton’s work on behalf of Kaplan and Ms. Shulman jointly resulted in
                        16   stripping Ms. Shulman of her licenses to operate on her property (and, instead,
                        17   putting them in Kaplan’s name) and ousting Ms. Shulman from the cannabis
                        18   business on her own property by coercing her to sign a lease that was not needed.
                        19         425. Ms. Shulman was harmed as alleged herein, and Houghton’s conduct
                        20   was a substantial factor in causing Ms. Shulman’s harm.
                        21                                COUNT XXIII
                        22
                                      Malicious Prosecution/Wrongful Use of Civil Proceedings
                                   (Ms. Shulman Against Todd Kaplan, Matt Kaplan, Elyse Kaplan,
                        23                       Iron Angel II, LLC, and Vertical)

                        24         426. Plaintiffs repeat and reallege each of the allegations set forth in the
                        25   preceding paragraphs.
                        26         427. Defendants were actively involved in bringing an unlawful detainer
                        27   and forcible entry proceeding on behalf of Iron Angel II, LLC, against
                        28   Ms. Shulman and other related individuals and entities. The lawsuit was brought in

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                         1   Santa Barbara Superior Court and was styled Iron Angel II, LLC v. Francine
                         2   Shulman, et al., No. 19CV01406. The Kaplans also pursued a temporary
                         3   restraining order and a preliminary injunction at the outset of the proceedings.
                         4         428. Defendants ultimately moved for a dismissal without prejudice
                         5   (expressly reserving their rights to re-initiate the action at any time) as soon as the
                         6   Kaplans, Charles Houghton, and other related individuals were scheduled to be
                         7   deposed. The request for dismissal was made without any reasonable explanation
                         8   and was not made pursuant to a settlement agreement or any other concession by
                         9   Defendants. The Court granted Iron Angel II’s request for dismissal, effective
                        10   May 10, 2019.
                        11         429. The Kaplans similarly pursued a temporary restraining order and a
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                        12   preliminary injunction, but reversed course and withdrew their requests for
                        13   injunctive relief suddenly and without explanation or notice to Ms. Shulman.
                        14         430. No reasonable person in Defendants’ circumstances would have
                        15   believed that there were reasonable grounds to bring the lawsuit against
                        16   Ms. Shulman or the other defendants in that case. Defendants pursued the lawsuit
                        17   and temporary injunctive relief in bad faith and engaged in sanctionable conduct.
                        18         431. The dismissal without explanation and immediately before Todd
                        19   Kaplan, Matt Kaplan, and Charles Houghton were set to be deposed demonstrates
                        20   that there was no legitimate basis for the lawsuit. Defendants acted primarily for a
                        21   purpose other than succeeding on the merits of the claim. Defendants pursued the
                        22   lawsuit and the accompanying proceedings for a temporary restraining order to
                        23   cause damage and harass Ms. Shulman, making good on Kaplan’s promise to
                        24   “bury” her in litigation.
                        25         432. Ms. Shulman was harmed by Defendants’ conduct. As a result of
                        26   their unreasonable and baseless pursuit of litigation, Ms. Shulman incurred
                        27   substantial costs and attorneys’ fees, and the cannabis cultivation operation at
                        28   Iron Angel Ranch incurred substantial damage.

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                         1         433. Defendants’ conduct was a substantial factor in causing
                         2   Ms. Shulman’s harm.
                         3

                         4                                  COUNT XXIV
                                    Rescission of Iron Angel Lease Due to Fraud in the Inducement
                         5           (Ms. Shulman Against Todd Kaplan and Iron Angel II, LLC)
                         6         434. Plaintiffs repeat and reallege each of the allegations set forth in the
                         7   preceding paragraphs.
                         8         435. Civil Code Sections 1688 and 1689 provide generally that a party to a
                         9   contract may rescind a contract.
                        10         436. On or prior to January 14, 2018, in order to induce Ms. Shulman to
                        11   enter into the Iron Angel lease:
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                        12                a.    Houghton represented to Ms. Shulman that the lease was a
                        13                      necessary formality in order for Defendants to obtain licenses
                        14                      on the Iron Angel property, as the Defendants were obligated to
                        15                      do under the Cultivation Agreement.
                        16                b.    Defendants represented that in executing the lease, neither
                        17                      party would be bound by the terms therein and that the
                        18                      Cultivation Agreement would continue to govern.
                        19                c.    Defendants represented that the lease was inconsequential and
                        20                      merely a means of obtaining the requisite licensing to enable
                        21                      the parties to cultivate cannabis on Iron Angel.
                        22         437. Said statements were false and made with knowledge of their falsity.
                        23         438. Houghton misused his position as an attorney to induce Ms. Shulman
                        24   to sign the lease and to believe the veracity of the Defendants’ misrepresentations.
                        25         439. The truth is that the lease was never needed for any county or state
                        26   licensing requirements, and Defendants knew that it was not needed for any such
                        27   purpose.
                        28


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                         1            440. These representations were made with the intent to induce
                         2   Ms. Shulman to sign the lease.
                         3            441. In reasonable reliance on these statements, Ms. Shulman executed the
                         4   lease.
                         5            442. Defendants fully intended to enforce the lease against Ms. Shulman in
                         6   an effort to force Ms. Shulman off of Iron Angel and out of the cannabis
                         7   cultivation operation at Iron Angel, stripping Ms. Shulman of any profits to which
                         8   she is entitled under the Cultivation Agreement.
                         9            443. After the Defendants committed numerous breaches of the
                        10   Cultivation Agreement and shut Ms. Shulman out of any profit arising from the
                        11   cannabis cultivation operation on Iron Angel, Ms. Shulman threatened to terminate
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                        12   the Cultivation Agreement. Only then, in March 2019, did Defendants attempt to
                        13   treat the lease as an enforceable contract by attempting to pay Ms. Shulman the
                        14   first ever rent check.
                        15            444. After Ms. Shulman terminated the Cultivation Agreement, by letter
                        16   on February 25, 2019, Kaplan filed a lawsuit against Ms. Shulman in Santa
                        17   Barbara Superior Court seeking to enforce the lease.
                        18            445. Ms. Shulman had no reason to suspect and did not discover the above
                        19   fraudulent statements and omissions until March 2019 when Kaplan intended to
                        20   try to enforce the lease in an unlawful detainer proceeding in California state court.
                        21            446. Had the true facts been disclosed, Ms. Shulman would not have
                        22   executed the lease giving Defendants possession of Iron Angel. The failure to
                        23   disclose the fact that the Iron Angel lease was not, in fact, required for regulatory
                        24   purposes but was, instead, going to be used to oust Ms. Shulman from her own
                        25   property, is material pursuant to Cal. Corp. sections 25401 and 25110.
                        26            447. Ms. Shulman is therefore entitled to rescind the Iron Angel lease
                        27   pursuant California Civil Code sections 1688, 1689, 1691, and 1692.
                        28


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                         1            448. Ms. Shulman is informed and believe and thereupon alleges that
                         2   Defendants dispute her contention that she is entitled to rescind the Iron Angel
                         3   lease.
                         4                                     COUNT XXV
                                                             Constructive Trust
                         5                         (Ms. Shulman Against Vertical Wellness)
                         6            449. Plaintiffs repeat and reallege each of the allegations set forth in the
                         7   preceding paragraphs.
                         8            450. Vertical Wellness is an affiliate of Vertical and is a recipient of ill-
                         9   gotten gains from the Kaplan Enterprise, as alleged above, and acts as a
                        10   constructive trustee of funds that rightfully belong to Ms. Shulman.
                        11            451. Pursuant to the Cultivation Agreement and the Wellsprings
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                        12   Agreement, Ms. Shulman is the rightful owner of 50 percent of the net income
                        13   generated from cultivation operations on those properties.
                        14            452. On information and belief, Kaplan and Vertical fraudulently siphoned
                        15   the money owed to Ms. Shulman under the Cultivation and Wellsprings
                        16   Agreements and diverted that money to Vertical Wellness for its use.
                        17            453. At all times relevant hereto, Vertical Wellness had knowledge of
                        18   Kaplan’s and Vertical’s breaches of the Cultivation and Wellsprings Agreements
                        19   and fraudulent transfer of money to fund and build Vertical Wellness.
                        20            454. Based on Vertical’s fraudulent acts described above, and use of undue
                        21   influence over Ms. Shulman, and Vertical Wellness’s substantial assistance
                        22   thereto, Vertical Wellness has profited from and has been unjustly enriched by the
                        23   cash diverted to it, which rightfully belongs to Ms. Shulman.
                        24            455. Vertical Wellness currently holds the profits in a constructive trust on
                        25   behalf of the true owner, Ms. Shulman.
                        26            456. Vertical Wellness is not entitled to the profits generated under the
                        27   Cultivation and Wellsprings agreements, and those funds should be disgorged and
                        28   returned to the true owner, Ms. Shulman.

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                         1                                PRAYER FOR RELIEF
                         2         WHEREFORE, Plaintiffs request entry of judgment in their favor and
                         3   against Defendants as follows:
                         4         A.     Actual damages, statutory damages, exemplary damages, punitive
                         5                damages, treble damages, and such other relief as provided by the
                         6                statutes cited herein;
                         7         B.     An accounting of money owed to Ms. Shulman;
                         8         C.     Pre-judgment and post-judgment interest on such monetary relief;
                         9         D.     The costs of bringing this suit, including reasonable attorneys’ fees;
                        10                and
                        11         E.     All other relief to which Plaintiffs may be entitled at law or equity.
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                        12                                     JURY DEMAND
                        13         Plaintiffs demand a jury trial of all issues for which there is a right to trial
                        14   by a jury.
                        15

                        16   Dated: June 20, 2019                    Respectfully submitted,
                        17

                        18
                                                                           /s/ Stuart C. Plunkett
                        19
                                                                     Stuart C. Plunkett
                        20                                           Peter K. Huston
                                                                     Theresa A. Sutton
                        21
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